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     Proposed Co-Counsel for Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)

                                         Debtors. 1             (Jointly Administered)



         DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
          THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
       AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
       DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 23, 2023

 TO: THE HONORABLE JUDGE VINCENT F. PAPALIA UNITED STATES BANKRUPTCY
 COURT FOR THE DISTRICT OF NEW JERSEY:


 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

 this application (this “Application”) for the entry of an order (the “Order”), substantially in the

 form attached hereto as Exhibit A, authorizing the Debtors to retain and employ

 Kirkland & Ellis LLP and Kirkland & Ellis International LLP (collectively, “Kirkland”) as their

 attorneys effective as of the Petition Date (as defined herein). In support of this Application, the

 Debtors submit the declaration of Joshua A. Sussberg, the president of Joshua A. Sussberg, P.C.,

 a partner of Kirkland & Ellis LLP, and a partner of Kirkland & Ellis International LLP

 (the “Sussberg Declaration”), which is attached hereto as Exhibit B and the declaration of

 Holly Etlin, the Chief Restructuring Officer and Chief Financial Officer of Bed Bath & Beyond

 Inc., which is attached hereto as Exhibit C (the “Etlin Declaration”). In further support of this

 Application, the Debtors respectfully state as follows.

                                      Jurisdiction and Venue

        1.      The United States Bankruptcy Court for the District of New Jersey (the “Court”)

 has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core

 proceeding within the meaning of 28 U.S.C. § 157(b)(2) and the Debtors confirm their consent to

 the entry of a final order by the Court in connection with this Application to the extent that it is

 later determined that the Court, absent consent of the parties, cannot enter final orders or judgments

 in connection herewith consistent with Article III of the United States Constitution.

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The bases for the relief requested herein are sections 327(a) and 330 of title 11 of

 the United States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local

 Bankruptcy Rules for the District of New Jersey (the “Local Rules”).



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                                            Background

        4.    On April 23, 2023 (the “Petition Date”), each of the Debtors filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses

 and managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

 the Bankruptcy Code. On April 24, 2023, the Court entered an order [Docket No. 75] authorizing

 the joint administration and procedural consolidation of these chapter 11 cases pursuant to

 Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has been made

 in these chapter 11 cases. On May 5, 2023, the United States Trustee for the District of New Jersey

 (the “U.S. Trustee”) appointed an official committee of unsecured creditors pursuant to section

 1102 of the Bankruptcy Code (the “Committee”) [Docket No. 218].

        5.    A description of the Debtors’ business, the reasons for commencing the chapter 11

 cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are set

 forth in the Declaration of Holly Etlin, Chief Restructuring Officer and Chief Financial Officer of

 Bed Bath & Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First Day Motions,

 filed on April 23, 2023 [Docket No. 10] (the “First Day Declaration”), filed on April 23, 2023, and

 incorporated herein by reference.

                                         Relief Requested

        6.      By this Application, the Debtors seek entry of the Order authorizing the retention

 and employment of Kirkland as their attorneys in accordance with the terms and conditions set

 forth in that certain engagement letter between the Debtors and Kirkland effective as of

 December 22, 2022 (the “Engagement Letter”), a copy of which is attached hereto as Exhibit 1 to

 the Order and incorporated herein by reference.




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                                           Kirkland’s Qualifications

         7.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

 extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

 business reorganizations under chapter 11 of the Bankruptcy Code.

         8.       Kirkland has been actively involved in major chapter 11 cases and has represented

 debtors in many cases in this District and Circuit, including, among others: In re BlockFi Inc.,

 No. 22-19361 (MBK) (Bankr. D.N.J. Feb. 1, 2023); In re Carestream Health, Inc. No. 22-10778

 (JKS) (Bankr. D. Del. Oct. 7, 2022); In re Riverbed Technology, Inc., No. 21-11503 (CTG)

 (Bankr. D. Del. Dec. 8, 2021); In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. Jul.

 15, 2021); In re Highpoint Res. Corp., No. 21-10565 (CSS) (Bankr. D. Del. Apr. 13, 2021);

 In re RGN-Grp. Holdings, LLC, No. 20-11961 (BLS) (Bankr. D. Del. Nov. 4, 2020); In re Town

 Sports Int’l, LLC, No. 20-12168 (CSS) (Bankr. D. Del. Oct. 29, 2020); In re APC Auto. Techs.

 Intermediate Holdings, LLC, No. 20-11466 (CSS) (Bankr. D. Del. June 23, 2020); In re Extraction

 Oil & Gas, Inc., No. 20-11548 (CSS) (Bankr. D. Del. June 16, 2020); In re Akorn, Inc., No. 20-

 11177 (KBO) (Bankr. D. Del. June 11, 2020). 2

         9.       In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

 has become familiar with the Debtors’ business and many of the potential legal issues that may

 arise in the context of these chapter 11 cases. The Debtors believe that Kirkland is both

 well-qualified and uniquely able to represent the Debtors in these chapter 11 cases in an efficient

 and timely manner.




 2   Because of the voluminous nature of the orders cited in this Application, they are not attached to this Application.
     Copies of these orders are available upon request to Kirkland.


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                                   Services to be Provided

        10.   Subject to further order of the Court, and consistent with the Engagement Letter,

 the Debtors request the retention and employment of Kirkland to render the following legal

 services:

              a.     advising the Debtors with respect to their powers and duties as debtors in
                     possession in the continued management and operation of their businesses
                     and properties;

              b.     advising and consulting on the conduct of these chapter 11 cases, including
                     all of the legal and administrative requirements of operating in chapter 11;

              c.     attending meetings and negotiating with representatives of creditors and
                     other parties in interest;

              d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                     including prosecuting actions on the Debtors’ behalf, defending any action
                     commenced against the Debtors, and representing the Debtors in
                     negotiations concerning litigation in which the Debtors are involved,
                     including objections to claims filed against the Debtors’ estates;

              e.     preparing pleadings in connection with these chapter 11 cases, including
                     motions, applications, answers, orders, reports, and papers necessary or
                     otherwise beneficial to the administration of the Debtors’ estates;

              f.     representing the Debtors in connection with obtaining authority to continue
                     using cash collateral and postpetition financing;

              g.     advising the Debtors in connection with any potential sale of assets;

              h.     appearing before the Court and any appellate courts to represent the interests
                     of the Debtors’ estates;

              i.     advising the Debtors regarding tax matters;

              j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                     and obtain approval of a disclosure statement and confirmation of a chapter
                     11 plan and all documents related thereto; and

              k.     performing all other necessary legal services for the Debtors in connection
                     with the prosecution of these chapter 11 cases, including: (i) analyzing the
                     Debtors’ leases and contracts and the assumption and assignment or
                     rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                     assets; and (iii) advising the Debtors on corporate and litigation matters.


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         11.     Cole Schotz’s role in these chapter 11 cases is to serve as New Jersey counsel, with

 extensive experience and expertise in bankruptcy cases in this district. In that capacity, Cole

 Schotz will provide the Debtors with advice regarding the local rules, practice and procedures of

 the United States Bankruptcy Court for the District of New Jersey, and Third Circuit law.

 Additionally, Cole Schotz will provide legal advice and services on any matter on which Kirkland

 may have a conflict or as requested based on Cole Schotz’s specialization.

                                         Professional Compensation

         12.      Kirkland intends to apply for compensation for professional services rendered on

 an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

 subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

 the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

 cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

 restructuring matters, as well as similar complex corporate, securities, and litigation matters

 whether in court or otherwise, regardless of whether a fee application is required. These rates and

 the rate structure reflect that such restructuring and other complex matters typically are national in

 scope and involve great complexity, high stakes, and severe time pressures.

         13.      Kirkland operates in a national marketplace for legal services in which rates are

 driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

 firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

         14.      Kirkland’s current hourly rates for matters related to these chapter 11 cases range

 as follows: 3


 3   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
     currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable

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                                 Billing Category 4                    U.S. Range
                                       Partners                       $1,195-$2,245
                                     Of Counsel                        $820-$2,125
                                     Associates                        $685-$1,395
                                 Paraprofessionals                      $295-$575

         15.       Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

 the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

 rates vary with the experience and seniority of the individuals assigned. These hourly rates are

 subject to periodic adjustments to reflect economic and other conditions. 5

         16.       Kirkland represented the Debtors during the approximately nine-month period

 before the Petition Date, using the hourly rates listed above and in the Sussberg Declaration.

 Moreover, these hourly rates are consistent with the rates that Kirkland charges other comparable

 chapter 11 clients, regardless of the location of the chapter 11 case.

         17.       The rate structure provided by Kirkland is appropriate and not significantly

 different from (a) the rates that Kirkland charges for other similar types of representations or




     conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
     the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
     an individual leaves or joins Kirkland, if any such individual’s billing rate falls outside the ranges disclosed above,
     Kirkland does not intend to update the ranges for such circumstances.
 4   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
     that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
     to fees billed by such attorneys. Any contract attorneys or non-attorneys who are employed by the Debtors in
     connection with work performed by Kirkland will be subject to conflict checks and disclosures in accordance
     with the requirements of the Bankruptcy Code.
 5   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
     paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
     basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
     paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
     used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
     Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
     the Order, Kirkland will provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official
     committee before implementing any periodic increases, and shall file any such notice with the Court.


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 (b) the rates that other comparable counsel would charge to do work substantially similar to the

 work Kirkland will perform in these chapter 11 cases.

        18.     It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

 non-overhead expenses incurred in connection with the client’s case that would not have been

 incurred except for representation of that particular client. It is also Kirkland’s policy to charge

 its clients only the amount actually incurred by Kirkland in connection with such items. Examples

 of such expenses include postage, overnight mail, courier delivery, transportation, overtime

 expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

        19.     To ensure compliance with all applicable deadlines in these chapter 11 cases, from

 time to time Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these

 services pursuant to the Engagement Letter, which permits Kirkland to bill the Debtors for

 overtime secretarial charges that arise out of business necessity.            In addition, Kirkland

 professionals also may charge their overtime meals and overtime transportation to the Debtors

 consistent with prepetition practices.

        20.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

 its offices in the United States. Notwithstanding the foregoing and consistent with the Local Rules,

 Kirkland will charge no more than $0.10 per page for standard duplication services in these chapter

 11 cases. Kirkland does not charge its clients for incoming facsimile transmissions. Kirkland has

 negotiated a discounted rate for Westlaw computer-assisted legal research. Computer-assisted

 legal research is used whenever the researcher determines that using Westlaw is more cost effective

 than using traditional (non-computer assisted legal research) techniques.

                     Compensation Received by Kirkland from the Debtors

        21.     Per the terms of the Engagement Letter, on December 22, 2022, the Debtors paid

 $1 million to Kirkland, which, as stated in the Engagement Letter, constituted an “advance
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 payment retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and

 Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the

 Debtors paid to Kirkland additional advance payment retainer totaling $15,214,213.73 in the

 aggregate. As stated in the Engagement Letter, any advance payment retainer is earned by

 Kirkland upon receipt, any advance payment retainer becomes the property of Kirkland upon

 receipt, the Debtors no longer have a property interest in any advance payment retainer upon

 Kirkland’s receipt, any advance payment retainer will be placed in Kirkland’s general account and

 will not be held in a client trust account, and the Debtors will not earn any interest on any advance

 payment retainer. 6

         22.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has neither shared nor agreed to

 share (a) any compensation it has received or may receive with another party or person, other than

 with the partners, associates, and contract attorneys associated with Kirkland or (b) any

 compensation another person or party has received or may receive.

         23.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

 services rendered before the Petition Date. Although certain expenses and fees may have been

 incurred but not yet applied to Kirkland’s advance payment retainer, the amount of Kirkland’s

 advance payment retainer always exceeded any amounts listed or to be listed on statements

 describing services rendered and expenses incurred (on a “rates times hours” and “dates of

 expenses incurred” basis) prior to the Petition Date.




 6   The Engagement Letter permits Kirkland to retain any prepetition advance payment retainer held by Kirkland as
     of the Petition Date rather than applying such prepetition advance payment retainer to pay postpetition fees and
     expenses. In light of the facts and circumstances of these chapter 11 cases, Kirkland will retain any prepetition
     advance payment retainer held by Kirkland as of the Petition Date and will not apply any such amounts to
     postpetition fees and expenses.


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                                   Kirkland’s Disinterestedness

        24.     To the best of the Debtors’ knowledge and as disclosed herein and in the Sussberg

 Declaration, (a) Kirkland is a “disinterested person” within the meaning of section 101(14) of the

 Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or

 represent an interest adverse to the Debtors’ estates and (b) Kirkland has no connection to the

 Debtors, their creditors, or other parties in interest, except as may be disclosed in the Sussberg

 Declaration.

        25.     Kirkland will review its files periodically during the pendency of these chapter 11

 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

 relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

 identify such further developments and will promptly file a supplemental declaration, as required

 by Bankruptcy Rule 2014(a).

                                       Supporting Authority

        26.     The Debtors seek retention of Kirkland as their attorneys pursuant to section 327(a)

 of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

                [M]ay employ one or more attorneys, accountants, appraisers,
                auctioneers, or other professional persons, that do not hold or
                represent an interest adverse to the estate, and that are disinterested
                persons, to represent or assist the [debtor] in carrying out the
                [debtor]’s duties under this title.

 11 U.S.C. § 327(a).

        27.     Bankruptcy Rule 2014(a) requires that an application for retention include:

                [S]pecific facts showing the necessity for the employment, the name
                of the [firm] to be employed, the reasons for the selection, the
                professional services to be rendered, any proposed arrangement for
                compensation, and, to the best of the applicant’s knowledge, all of
                the [firm’s] connections with the debtor, creditors, any other party
                in interest, their respective attorneys and accountants, the United


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                States trustee, or any person employed in the office of the United
                States trustee.

 Fed. R. Bankr. P. 2014.

        28.     The Debtors submit that for all the reasons stated above and in the Sussberg

 Declaration, the retention and employment of Kirkland as counsel to the Debtors is warranted.

 Further, as stated in the Sussberg Declaration, Kirkland is a “disinterested person” within the

 meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

 Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

 has no connection to the Debtors, their creditors, or other parties in interest, except as may be

 disclosed in the Sussberg Declaration.

                                                Notice

        29.     The Debtors have provided notice of this Application to the following parties or

 their respective counsel: (a) the U.S. Trustee; (b) the Committee; (c) the Debtors’ 30 largest

 unsecured creditors (on a consolidated basis); (d) the agents under the Debtors’ prepetition secured

 facilities and counsel thereto; (e) the DIP Agent counsel thereto; (f) Davis Polk & Wardwell, LLP,

 and Greenberg Traurig, LLP, in their capacity as counsel to the Prepetition ABL Agent; (g) the

 indenture trustee to the Debtors’ Senior Unsecured Notes; (h) the United States Attorney’s Office

 for the District of New Jersey; (i) the Internal Revenue Service; (j) the U.S. Securities and

 Exchange Commission; (k) the attorneys general in the states where the Debtors conduct their

 business operations; (l) the monitor in the CCAA proceeding and counsel thereto; (m) the Debtors’

 Canadian Counsel; and (n) any party that has requested notice pursuant to Bankruptcy Rule 2002.

 A copy of this Application is also available on the website of the Debtors’ notice and claims agent

 at https://restructuring.ra.kroll.com/bbby. In light of the nature of the relief requested, the Debtors

 submit that no other or further notice is required.


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                                         No Prior Request

        30.     No prior request for the relief sought in this Application has been made to this Court

 or any other court.



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        WHEREFORE, the Debtors respectfully request that the Court enter the Order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

 granting such other relief as is just and proper.

  Dated: May 20, 2023                                     /s/ Holly Etlin
         Newark, New Jersey                               Holly Etlin
                                                          Bed Bath & Beyond Inc.
                                                          Chief Restructuring Officer and Chief
                                                          Financial Officer




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                                   Exhibit A

                                Proposed Order
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     KIRKLAND & ELLIS INTERNATIONAL LLP
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     Proposed Co-Counsel for Debtors and Debtors in Possession


     In re:                                                             Chapter 11

     BED BATH & BEYOND INC., et al.,                                    Case No. 23-13359 (VFP)

              Debtors. 1                                                (Jointly Administered)


                    ORDER AUTHORIZING THE RETENTION
               AND EMPLOYMENT OF KIRKLAND & ELLIS LLP AND
         KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
       DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 23, 2023




 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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      The relief set forth on the following pages, numbered four (4) through eight (8), is

 ORDERED.
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 Debtors:                  BED BATH & BEYOND INC., et al.
 Case No.                  23-13359-VFP
 Caption of Order:         Order Authorizing the Retention and Employment of Kirkland & Ellis LLP
                           and Kirkland & Ellis International LLP as Attorneys for the Debtors and
                           Debtors in Possession Effective as of April 23, 2023

         Upon the Debtors’ Application for Entry of an Order Authorizing the Retention and

 Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the

 Debtors and Debtors in Possession Effective as of April 23, 2023 (the “Application”), 2 of the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”) for the entry of an

 order (the “Order”) authorizing the Debtors to retain and employ Kirkland & Ellis LLP and

 Kirkland & Ellis International LLP (collectively, “Kirkland”) as their attorneys effective as of the

 Petition Date, pursuant to sections 327(a) and 330 of title 11 of the United States Code (the

 “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the District

 of New Jersey (the “Local Rules”); and the Court having reviewed the Application, the Declaration

 of Joshua A. Sussberg, the president of Joshua A. Sussberg, P.C., a partner of Kirkland & Ellis

 LLP, and a partner of Kirkland & Ellis International LLP (the “Sussberg Declaration”), and the

 declaration of Holly Etlin, the Chief Restructuring Officer and Chief Financial Officer of Bed Bath

 & Beyond Inc. (the “Etlin Declaration”); and the Court having found that the Court has jurisdiction

 over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that the

 Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found

 that venue of this proceeding and the Application in this district is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409; and the Court having found based on the representations made in the

 Application and in the Sussberg Declaration that (a) Kirkland does not hold or represent an interest




 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.


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 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      Order Authorizing the Retention and Employment of Kirkland & Ellis LLP
                        and Kirkland & Ellis International LLP as Attorneys for the Debtors and
                        Debtors in Possession Effective as of April 23, 2023

 adverse to the Debtors’ estates and (b) Kirkland is a “disinterested person” as defined in section

 101(14) of the Bankruptcy Code and as required by section 327(a) of the Bankruptcy Code; and

 the Court having found that the relief requested in the Application is in the best interests of the

 Debtors’ estates; and the Court having found that the Debtors provided adequate and appropriate

 notice of the Application under the circumstances and that no other or further notice is required;

 and the Court having reviewed the Application and having heard statements in support of the

 Application at a hearing held before the Court (the “Hearing”); and the Court having determined

 that the legal and factual bases set forth in the Application and at the Hearing establish just cause

 for the relief granted herein; and any objections to the relief requested herein having been

 withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

 therefor, IT IS HEREBY ORDERED THAT:

        1.      The Application is granted to the extent set forth herein.

        2.      The Debtors are authorized to retain and employ Kirkland as their attorneys

 effective as of the Petition Date in accordance with the terms and conditions set forth in the

 Application and in the Engagement Letter attached hereto as Exhibit 1.

        3.      Kirkland is authorized to provide the Debtors with the professional services as

 described in the Application and the Engagement Letter. Specifically, but without limitation,

 Kirkland will render the following legal services:

                a.      advising the Debtors with respect to their powers and duties as debtors in
                        possession in the continued management and operation of their businesses
                        and properties;




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               b.     advising and consulting on their conduct during these chapter 11 cases,
                      including all of the legal and administrative requirements of operating in
                      chapter 11;

               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;

               j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                      and obtain approval of a disclosure statement and confirmation of a chapter
                      11 plan and all documents related thereto; and

               k.     performing all other necessary legal services for the Debtors in connection
                      with the prosecution of these chapter 11 cases, including: (i) analyzing the
                      Debtors’ leases and contracts and the assumption and assignment or
                      rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                      assets; and (iii) advising the Debtors on corporate and litigation matters.

        4.     Kirkland shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the


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 Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

 Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

 information and additional disclosures as set forth in the Guidelines for Reviewing Applications

 for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

 Larger Chapter 11 Cases Effective as of November 1, 2013 (the “Revised UST Guidelines”), both

 in connection with the Application and the interim and final fee applications to be filed by Kirkland

 in these chapter 11 cases.

           5.   Kirkland is authorized without further order of the Court to apply amounts from the

 prepetition advance payment retainer to compensate and reimburse Kirkland for fees or expenses

 incurred on or prior to the Petition Date consistent with its ordinary course billing practice. At the

 conclusion of Kirkland’s engagement by the Debtors, if the amount of any advance payment

 retainer held by Kirkland is in excess of the amount of Kirkland’s outstanding and estimated fees,

 expenses, and costs, Kirkland will pay to the Debtors the amount by which any advance payment

 retainer exceeds such fees, expenses, and costs, in each case in accordance with the Engagement

 Letter.

           6.   Notwithstanding anything to the contrary in the Application, the Engagement

 Letter, or the Declarations attached to the Application, the reimbursement provisions allowing the

 reimbursement of fees and expenses incurred in connection with participating in, preparing for, or

 responding to any action, claim, suit, or proceeding brought by or against any party that relates to

 the legal services provided under the Engagement Letter and fees for defending any objection to




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 Kirkland’s fee applications under the Bankruptcy Code are not approved pending further order of

 the Court.

          7.    Kirkland shall not charge a markup to the Debtors with respect to fees billed by

 contract attorneys who are hired by Kirkland to provide services to the Debtors and shall ensure

 that any such contract attorneys are subject to conflict checks and disclosures in accordance with

 the requirements of the Bankruptcy Code and Bankruptcy Rules.

          8.    In order to avoid any duplication of effort and provide services to the Debtors in

 the most efficient and cost-effective manner, Kirkland shall coordinate with Cole Schotz and any

 additional firms the Debtors retain regarding their respective responsibilities in these chapter 11

 cases.

          9.    Kirkland shall provide ten-business-days’ notice to the Debtors, the U.S. Trustee,

 and any official committee before any increases in the rates set forth in the Application or the

 Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

 retains all rights to object to any rate increase on all grounds, including the reasonableness standard

 set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

 increase pursuant to section 330 of the Bankruptcy Code.

          10.   No agreement or understanding exists between Kirkland and any other person,

 other than as permitted by Bankruptcy Code section 504, to share compensation received for

 services rendered in connection with these chapter 11 cases, nor shall Kirkland share or agree to

 share compensation received for services rendered in connection with these chapter 11 cases with

 any other person other than as permitted by Bankruptcy Code section 504.


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        11.     The Debtors and Kirkland are authorized to take all actions necessary to effectuate

 the relief granted pursuant to this Order in accordance with the Application.

        12.     Notice of the Application as provided therein is deemed to be good and sufficient

 notice of such Application, and the requirements of the Local Rules are satisfied by the contents

 of the Application.

        13.     To the extent the Application, the Sussberg Declaration, the Etlin Declaration, or

 the Engagement Letter is inconsistent with this Order, the terms of this Order shall govern.

        14.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the

 Application or otherwise waived.

        15.     The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

        16.     The Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.




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                                   Exhibit 1

                               Engagement Letter
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                                                           601 Lexington Avenue
                                                            New York, NY 10022
                Josh Sussberg, P.C.                            United States
               To Call Writer Directly:                                                               Facsimile:
                  +1 212 446 4829                            +1 212 446 4800                       +1 212 446 4900
           joshua.sussberg@kirkland.com
                                                            www.kirkland.com



                                                         December 22, 2022

              Sue Gove
              Director, President & Chief Executive Officer
              Bed Bath & Beyond Inc.
              650 Liberty Avenue
              Union, New Jersey 07083

                               Re:        Retention to Provide Legal Services

              Dear Ms. Gove:

                      We are very pleased that you have asked us to represent Bed Bath & Beyond Inc. and its
              wholly owned subsidiaries, including those listed in an addendum to this letter (collectively,
              “Client”) in connection with a potential restructuring. Please note, the Firm’s representation is
              only of Client; the Firm does not and will not represent any direct or indirect shareholder, director,
              officer, partner, employee, affiliate, or joint venturer of Client or of any other entity.

                      General Terms. This retention letter (this “Agreement”) sets forth the terms of Client’s
              retention of Kirkland & Ellis LLP (and its affiliated entity Kirkland & Ellis International LLP
              (collectively, the “Firm”)) to provide legal services and constitutes an agreement between the Firm
              and Client (the “Parties”). This Agreement (notwithstanding any guidelines for outside counsel
              that Client may provide to the Firm) sets forth the Parties’ entire agreement for rendering
              professional services for the current matter, as well as for all other existing or future matters
              (collectively, the “Engagement”), except where the Parties otherwise agree in writing.

                     Fees. The Firm will bill Client for fees incurred at its regular hourly rates and in quarterly
              increments of an hour (or in smaller time increments as otherwise required by a court). The Firm
              reserves the right to adjust the Firm’s billing rates from time to time in the ordinary course of the
              Firm’s representation of Client.

                     Although the Firm will attempt to estimate fees to assist Client in Client’s planning if
              requested, such estimates are subject to change and are not binding unless otherwise expressly and
              unequivocally stated in writing.

                      Expenses. Expenses related to providing services shall be included in the Firm’s
              statements as disbursements advanced by the Firm on Client’s behalf. Such expenses include
              photocopying, printing, scanning, witness fees, travel expenses, filing and recording fees, certain
              secretarial overtime, and other overtime expenses, postage, express mail, and messenger charges,
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              deposition costs, computerized legal research charges, and other computer services, and
              miscellaneous other charges. Client shall pay directly (and is solely responsible for) certain larger
              costs, such as consultant or expert witness fees and expenses, and outside suppliers’ or contractors’
              charges, unless otherwise agreed by the Parties. By executing this Agreement below, Client agrees
              to pay for all charges in accordance with the Firm’s schedule of charges, a copy of which is
              attached hereto at Schedule 1, as revised from time to time.

                      Billing Procedures. The Firm’s statements of fees and expenses are typically delivered
              monthly, but the Firm reserves the right to alter the timing of delivering its statements depending
              on circumstances. Client may have the statement in any reasonable format it chooses, but the Firm
              will select an initial format for the statement unless Client otherwise requests in writing.
              Depending on the circumstances, however, estimated or summary statements may be provided,
              with time and expense details to follow thereafter.

                      Retainer. Client agrees to provide to the Firm an “advance payment retainer,” as defined
              in Rule 1.15(c) of the Illinois Rules of Professional Conduct, Dowling v. Chicago Options Assoc.,
              Inc., 875 N.E.2d 1012, 1018 (Ill. 2007), and In re Caesars Entm’t Operating Co., Inc.,
              No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited therein), in the amount of
              $1,000,000. In addition, Client agrees to provide one or more additional advance payment
              retainers upon request by the Firm so that the amount of any advance payment retainers remains
              at or above the Firm’s estimated fees and expenses. The Firm may apply the advance payment
              retainers to any outstanding fees as services are rendered and to expenses as they are incurred.
              Client understands and acknowledges that any advance payment retainers are earned by the Firm
              upon receipt, any advance payment retainers become the property of the Firm upon receipt, Client
              no longer has a property interest in any advance payment retainers upon the Firm’s receipt, any
              advance payment retainers will be placed in the Firm’s general account and will not be held in a
              client trust account, and Client will not earn any interest on any advance payment retainers;
              provided, however, that solely to the extent required under applicable law, at the conclusion of the
              Engagement, if the amount of any advance payment retainers held by the Firm is in excess of the
              amount of the Firm’s outstanding and estimated fees, expenses, and costs, the Firm will pay to
              Client the amount by which any advance payment retainers exceed such fees, expenses, and
              costs. Client further understands and acknowledges that the use of advance payment retainers is
              an integral condition of the Engagement, and is necessary to ensure that: Client continues to have
              access to the Firm’s services; the Firm is compensated for its representation of Client; the Firm is
              not a pre-petition creditor in the event of a Restructuring Case; and that in light of the foregoing,
              the provision of the advance payment retainers is in Client’s best interests. The fact that Client
              has provided the Firm with an advance payment retainer does not affect Client’s right to terminate
              the client-lawyer relationship.

                      Please be advised that there is another type of retainer known as a “security retainer,” as
              defined in Dowling v. Chicago Options Assoc., 875 N.E.2d at 1018, and In re Caesars Entm’t
              Operating Co., Inc., No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited
              therein). A security retainer remains the property of the client until the lawyer applies it to charges
              for services that are actually rendered and expenses that are incurred. Any unearned funds are then
              returned to the client. In other circumstances not present here, the Firm would consider a security
              retainer and Client’s funds would be held in the Firm’s segregated client trust account until applied
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              to pay fees and expenses. Funds in a security retainer, however, can be subject to claims of Client’s
              creditors and, if taken by creditors, may leave Client unable to pay for ongoing legal services,
              which may result in the Firm being unable to continue the Engagement. Moreover, a security
              retainer creates clawback risks for the Firm in the event of an insolvency proceeding. The choice
              of the type of retainer to be used is Client’s choice alone, but for the Engagement and for the
              reasons set forth above, the Firm is unwilling to represent Client in the Engagement without using
              the advance payment retainer.

                      Termination. The Engagement may be terminated by either Party at any time by written
              notice by or to Client. The Engagement will end at the earliest of (a) Client’s termination of the
              Engagement, (b) the Firm’s withdrawal, and (c) the substantial completion of the Firm’s
              substantive work. If permission for withdrawal is required by a court, the Firm shall apply
              promptly for such permission, and termination shall coincide with the court order for withdrawal.
              If this Agreement or the Firm’s services are terminated for any reason, such termination shall be
              effective only to terminate the Firm’s services prospectively and all the other terms of this
              Agreement shall survive any such termination.

                      Upon cessation of the Firm’s active involvement in a particular matter (even if the Firm
              continues active involvement in other matters on Client’s behalf), the Firm will have no further
              duty to inform Client of future developments or changes in law as may be relevant to such matter.
              Further, unless the Parties mutually agree in writing to the contrary, the Firm will have no
              obligation to monitor renewal or notice dates or similar deadlines that may arise from the matters
              for which the Firm had been retained.

                      Cell Phone and E-Mail Communication. The Firm hereby informs Client and Client
              hereby acknowledges that the Firm’s attorneys sometimes communicate with their clients and their
              clients’ professionals and agents by cell telephone, that such communications are capable of being
              intercepted by others and therefore may be deemed no longer protected by the attorney-client
              privilege, and that Client must inform the Firm if Client does not wish the Firm to discuss
              privileged matters on cell telephones with Client or Client’s professionals or agents.

                      The Firm hereby informs Client and Client hereby acknowledges that the Firm’s attorneys
              sometimes communicate with their clients and their clients’ professionals and agents by
              unencrypted e-mail, that such communications are capable of being intercepted by others and
              therefore may be deemed no longer protected by the attorney-client privilege, and that Client must
              inform the Firm if Client wishes to institute a system to encode all e-mail between the Firm and
              Client or Client’s professionals or agents.

                       File Retention. All records and files will be retained and disposed of in compliance with
              the Firm’s policy in effect from time to time. Subject to future changes, it is the Firm’s current
              policy generally not to retain records relating to a matter for more than five years. Upon Client’s
              prior written request, the Firm will return client records that are Client’s property to Client prior
              to their destruction. Although we will return your records (i.e., your client file) to you at any time
              upon your written request, you agree that your client file will not include our Firm’s internal files
              including administrative materials, internal communications, and drafts. It is not administratively
              feasible for the Firm to advise Client of the closing of a matter or the disposal of records. The
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              Firm recommends, therefore, that Client maintain Client’s own files for reference or submit a
              written request for Client’s client files promptly upon conclusion of a matter. Notwithstanding
              anything to the contrary herein, Client acknowledges and agrees that any applicable privilege of
              Client (including any attorney-client and work product privilege or any duty of confidentiality)
              (collectively, the “Privileges”) belongs to Client alone and not to any successor entity (including
              without limitation the Client after a change in control or other similar restructuring or non-
              restructuring transaction (including without limitation a reorganized Client after the effective date
              of a plan of reorganization), whether through merger, asset or equity sale, business combination,
              or otherwise, irrespective of whether such transaction occurs in a Restructuring Case or on an out-
              of-court basis (in each case, a “Transaction”)). Client hereby waives any right, title, and interest
              of such successor entity to all information, data, documents, or communications in any format
              covered by the Privileges that is in the possession of the Firm (“Firm Materials”), to the extent that
              such successor entity had any right, title, and interest to such Firm Materials. For the avoidance
              of doubt, Client agrees and acknowledges that after a Transaction, such successor entity shall have
              no right to claim or waive the Privileges or request the return of any such Firm Materials; instead,
              such Firm Materials shall remain in the Firm’s sole possession and control for its exclusive use,
              and the Firm will (a) not waive any Privileges or disclose the Firm Materials, (b) take all reasonable
              steps to ensure that the Privileges survive and remain in full force and effect, and (c) assert the
              Privileges to prevent disclosure of any Firm Materials.

                     Data Protection. You further agree that, if you provide us with personal data, you have
              complied with applicable data protection legislation and that we may process such personal data
              in accordance with our Data Transfer and Privacy Policy at www.kirkland.com. We process your
              personal data in order to (i) carry out work for you; (ii) share the data with third parties such as
              expert witnesses and other professional advisers if our work requires; (iii) comply with applicable
              laws and regulations and (iv) provide you with information relating to our Firm and its services.

                      Conflicts of Interest. As is customary for a law firm of the Firm’s size, there are numerous
              business entities, with which Client currently has relationships, that the Firm has represented or
              currently represents in matters unrelated to Client.

                       Further, in undertaking the representation of Client, the Firm wants to be fair not only to
              Client’s interests but also to those of the Firm’s other clients. Because Client is engaged in
              activities (and may in the future engage in additional activities) in which its interests may diverge
              from those of the Firm’s other clients, the possibility exists that one of the Firm’s current or future
              clients may take positions adverse to Client (including litigation or other dispute resolution
              mechanisms) in a matter in which such other client may have retained the Firm or one of Client’s
              adversaries may retain the Firm in a matter adverse to another entity or person.

                      In the event a present conflict of interest exists between Client and the Firm’s other clients
              or in the event one arises in the future, Client agrees to waive any such conflict of interest or other
              objection that would preclude the Firm’s representation of another client (a) in other current or
              future matters substantially unrelated to the Engagement or (b) other than during a Restructuring
              Case (as defined below), in other matters related to Client (such representation an “Allowed
              Adverse Representation”). By way of example, such Allowed Adverse Representations might take
              the form of, among other contexts: litigation (including arbitration, mediation and other forms of
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              dispute resolution); transactional work (including consensual and non-consensual merger,
              acquisition, and takeover situations, financings, and commercial agreements); counseling
              (including advising direct adversaries and competitors); and restructuring (including bankruptcy,
              insolvency, financial distress, recapitalization, equity and debt workouts, and other transactions or
              adversarial adjudicative proceedings related to any of the foregoing and similar matters).

                      Client also agrees that it will not, for itself or any other entity or person, assert that either
              (i) the Firm’s representation of Client or any of Client’s affiliates in any past, present, or future
              matter or (ii) the Firm’s actual or possible possession of confidential information belonging to
              Client or any of Client’s affiliates is a basis to disqualify the Firm from representing another entity
              or person in any Allowed Adverse Representation. Client further agrees that any Allowed Adverse
              Representation does not breach any duty that the Firm owes to Client or any of Client’s affiliates.
              Client also agrees that the Firm’s representation in the Engagement is solely of Client and that no
              member or other entity or person related to it (such as a shareholder, parent, subsidiary, affiliate,
              director, officer, partner, employee, or joint venturer) has the status of a client for conflict of
              interest purposes.

                      In addition, if a waiver of a conflict of interest necessary to allow the Firm to represent
              another client in a matter that is not substantially related to the Engagement is not effective for any
              reason, Client agrees that the Firm may withdraw from the Engagement. Should that occur, Client
              will not, for itself or any other entity or person, seek to preclude such termination of services or
              assert that either (a) the Firm’s representation of Client or any of Client’s affiliates in any past,
              present, or future matter or (b) the Firm’s actual or possible possession of confidential information
              belonging to Client or any of Client’s affiliates is a basis to disqualify the Firm from representing
              such other client or acting on such adverse matter.

                     It is important that you review this letter carefully and consider all of the advantages and
              disadvantages of waiving certain conflicts of interests that would otherwise bar the Firm from
              representing parties with interests adverse to you during the time in which the Firm is representing
              you. You also understand that because this waiver includes future issues and future clients that
              are unknown and unknowable at this time, it is impossible to provide you with any more details
              about those prospective clients and matters. Thus, in choosing to execute this waiver, you have
              recognized the inherent uncertainty about the array of potential matters and clients the Firm might
              take on in matters that are adverse to you but have nonetheless decided it is in your interest to
              waive conflicts of interest regarding the Allowed Adverse Representations and waive rights to
              prohibit the Firm’s potential withdrawal should a conflict waiver prove ineffectual.

                      The Firm informs Client that certain entities owned by current or former Firm attorneys
              and senior staff (“attorney investment entities”) have investments in funds or companies that may,
              directly or indirectly, be affiliated with Client, hold investments in Client’s debt or equity
              securities, may be adverse to Client, or conduct commercial transactions with Client (each, a
              “Passive Holding”). The attorney investment entities are passive and have no management or
              other control rights in such funds or companies. The Firm notes that other persons may in the
              future assert that a Passive Holding creates, in certain circumstances, a conflict between the Firm’s
              exercise of its independent professional judgment in rendering advice to Client and the financial
              interest of Firm attorneys participating in the attorney investment entities, and such other persons
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              might seek to limit Client’s ability to use the Firm to advise Client on a particular matter. While
              the Firm cannot control what a person might assert or seek, the Firm believes that the Firm’s
              judgment will not be compromised by virtue of any Passive Holding. Please let us know if Client
              has any questions or concerns regarding the Passive Holdings. By executing this letter, Client
              acknowledges the Firm’s disclosure of the foregoing.

                     Insurance. As required under California Business and Professions Code § 6148, Client is
              hereby advised that the Firm maintains errors and omissions insurance coverage that will be
              applicable to the services to be rendered by the Firm on Client’s behalf as described in this
              Agreement.

                      Restructuring Cases. If it becomes necessary for Client to commence a restructuring case
              under chapter 11 of the U.S. Bankruptcy Code (a “Restructuring Case”), the Firm’s ongoing
              employment by Client will be subject to the approval of the court with jurisdiction over the
              petition. If necessary, the Firm will take steps necessary to prepare the disclosure materials
              required in connection with the Firm’s retention as lead restructuring counsel. In the near term,
              the Firm will begin conflicts checks on potentially interested parties as provided by Client.

                      If necessary, the Firm will prepare a preliminary draft of a schedule describing the Firm’s
              relationships with certain interested parties (the “Disclosure Schedule”). The Firm will give Client
              a draft of the Disclosure Schedule once it is available. Although the Firm believes that these
              relationships do not constitute actual conflicts of interest, these relationships must be described
              and disclosed in Client’s application to the court to retain the Firm.

                      If in the Firm’s determination a conflict of interest arises in Client’s Restructuring Case
              requiring separate conflicts counsel, then Client will be required to use separate conflicts counsel
              in those matters.

                      No Guarantee of Success. It is impossible to provide any promise or guarantee about the
              outcome of Client’s matters. Nothing in this Agreement or any statement by Firm staff or attorneys
              constitutes a promise or guarantee. Any comments about the outcome of Client’s matter are simply
              expressions of judgment and are not binding on the Firm.

                     Consent to Use of Information. In connection with future materials that, for marketing
              purposes, describe facets of the Firm’s law practice and recite examples of matters the Firm
              handles on behalf of clients, Client agrees that, if those materials avoid disclosing Client’s
              confidences and secrets as defined by applicable ethical rules, they may identify Client as a client,
              may contain factual synopses of Client’s matters, and may indicate generally the results achieved.

                       Reimbursement of Fees and Expenses. Client agrees to promptly reimburse the Firm for
              all internal or external fees and expenses, including the amount of the Firm’s attorney and paralegal
              time at normal billing rates, as incurred by the Firm in connection with participating in, preparing
              for, or responding to any action, claim, objection, suit, or proceeding brought by or against any
              third-party that relates to the legal services provided by the Firm under this Agreement. Without
              limiting the scope of the foregoing, and by way of example only, this paragraph extends to all such
              fees and expenses incurred by the Firm: in responding to document subpoenas, and preparing for
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              and testifying at depositions and trials; and with respect to the filing, preparation, prosecution or
              defense of any applications by the Firm for approval of fees and expenses in a judicial, arbitral, or
              similar proceeding. Further, Client understands, acknowledges, and agrees that in connection with
              a Restructuring Case, if Client has not objected to the payment of a Firm invoice or to a Firm fee
              and expense application, has in fact paid such invoice, or has approved such fee and expense
              application, then Client waives its right (and the right of any successor entity as a result of a
              Transaction or otherwise) to subsequently object to the payment of fees and expenses covered by
              such invoice or fee application.

                       LLP. Kirkland & Ellis LLP is a limited liability partnership organized under the laws of
              Illinois, and Kirkland & Ellis International LLP is a limited liability partnership organized under
              the laws of Delaware. Pursuant to those statutory provisions, an obligation incurred by a limited
              liability partnership, whether arising in tort, contract or otherwise, is solely the obligation of the
              limited liability partnership, and partners are not personally liable, directly or indirectly, by way
              of indemnification, contribution, assessment or otherwise, for such obligation solely by reason of
              being or so acting as a partner.

                     Governing Law. This Agreement shall be governed by, and construed in accordance with,
              the laws of the State of Illinois, without giving effect to the conflicts of law principles thereof.

                      Miscellaneous. This Agreement sets forth the Parties’ entire agreement for rendering
              professional services. It can be amended or modified only in writing and not orally or by course
              of conduct. Each Party signing below is jointly and severally responsible for all obligations due
              to the Firm and represents that each has full authority to execute this Agreement so that it is
              binding. This Agreement may be signed in one or more counterparts and binds each Party
              countersigning below, whether or not any other proposed signatory ever executes it. If any
              provision of this Agreement or the application thereof is held invalid or unenforceable, the
              invalidity or unenforceability shall not affect other provisions or applications of this Agreement
              which can be given effect without such provisions or application, and to this end the provisions of
              this Agreement are declared to be severable. Any agreement or waiver contained herein by Client
              extends to any assignee or successor in interest to Client, including without limitation the
              reorganized Client upon and after the effective date of a plan of reorganization in a Restructuring
              Case.

                      This Agreement is the product of arm’s-length negotiations between sophisticated parties,
              and Client acknowledges that it is experienced with respect to the retention of legal counsel.
              Therefore, the Parties acknowledge and agree that any otherwise applicable rule of contract
              construction or interpretation which provides that ambiguities shall be construed against the drafter
              (and all similar rules of contract construction or interpretation) shall not apply to this Agreement.
              The Parties further acknowledge that the Firm is not advising Client with respect to this Agreement
              because the Firm would have a conflict of interest in doing so, and that Client has consulted (or
              had the opportunity to consult) with legal counsel of its own choosing. Client further
              acknowledges that Client has entered into this Agreement and agreed to all of its terms and
              conditions voluntarily and fully-informed, based on adequate information and Client’s own
              independent judgment. The Parties further acknowledge that they intend for this Agreement to be
              effective and fully enforceable upon its execution and to be relied upon by the Parties.
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                     Please confirm your agreement with the arrangements described in this letter by signing
              the enclosed copy of this letter in the space provided below and returning it to us. Please
              understand that, if we do not receive a signed copy of this letter within twenty-one days, we will
              withdraw from representing you in this Engagement.

                                                              Very truly yours,

                                                              KIRKLAND & ELLIS LLP

                                                              By:
                                                                    Printed Name: Joshua A. Sussberg, P.C.
                                                                    Title: Partner

                         Agreed and accepted this 22nd day of December, 2022

                                                              BED BATH & BEYOND INC., on behalf of itself
                                                              and its subsidiaries

                                                              By:
                                                              Name: Sue Gove
                                                              Title: President & Chief Executive Officer
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                                                   ADDENDUM: List of Client Subsidiaries

                         Bed Bath & Beyond Canada L.P.

                         BUY BUY BABY, INC.

                         Decorist, LLC

                         Harmon Stores, Inc.

                         BED BATH & BEYOND OF CALIFORNIA LIMITED LIABILITY COMPANY

                         BBB CANADA LP INC.

                         BBB Canada Ltd.

                         BBB Value Services Inc.

                         BBBY Management Corporation

                         BBBYCF LLC

                         BBBYTF LLC

                         bed ‘n bath Stores Inc.

                         BWAO LLC

                         CHEF C HOLDINGS LLC

                         LIBERTY PROCUREMENT CO. INC.

                         Alamo Bed Bath & Beyond Inc.

                         Bed Bath & Beyond of

                         Annapolis Inc.

                         Bed Bath & Beyond of Arundel Inc.

                         Bed Bath & Beyond of Baton Rouge Inc.

                         Bed Bath & Beyond of

                         Birmingham Inc.

                         Bed Bath & Beyond of Bridgewater Inc.
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                         Bed Bath & Beyond of Davenport Inc.

                         Bed Bath & Beyond of Gallery Place, L.L.C.

                         Bed Bath & Beyond of East Hanover Inc.

                         Bed Bath & Beyond of Edgewater Inc.

                         Bed Bath & Beyond of Falls Church Inc.

                         Bed Bath & Beyond of Fashion Center Inc.

                         Bed Bath & Beyond of Frederick Inc.

                         Bed Bath & Beyond of

                         Gaithersburg Inc.

                         Bed Bath & Beyond of Knoxville Inc.

                         Bed Bath & Beyond of Lexington Inc.

                         Bed Bath & Beyond of Lincoln

                         Park Inc.

                         Bed Bath & Beyond of Louisville, Inc.

                         Bed Bath & Beyond of Mandeville Inc.

                         Bed Bath & Beyond of Opry Inc.

                         Bed Bath & Beyond of Overland Park Inc.

                         Bed Bath & Beyond of Palm Desert Inc.

                         Bed Bath & Beyond of Paradise Valley Inc.

                         Bed Bath & Beyond of Pittsford

                         Inc.

                         Bed Bath & Beyond of Portland Inc.

                         Bed Bath & Beyond of Rockford

                         Inc.
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                         Bed Bath & Beyond of Saint Louis Inc.

                         Bed Bath & Beyond of Towson Inc.

                         Bed Bath & Beyond of Virginia

                         Beach Inc.

                         Bed Bath & Beyond of Waldorf Inc.

                         Bed Bath & Beyond of Woodbridge Inc.

                         Buy Buy Baby of Rockville, Inc.

                         Buy Buy Baby of Springfield, Inc.

                         Buy Buy Baby of Totowa, Inc.

                         Deerbrook Bed Bath & Beyond

                         Inc.

                         Harmon of Brentwood Inc.

                         Harmon of Caldwell Inc.

                         Harmon of Carlstadt Inc.

                         Harmon of Franklin Inc.

                         Harmon of Greenbrook II Inc.

                         Harmon of Hackensack Inc.

                         Harmon of Hanover Inc.

                         Harmon of Hartsdale Inc.

                         Harmon of Manalapan Inc.

                         Harmon of Massapequa Inc.

                         Harmon of Melville Inc.

                         Harmon of New Rochelle Inc.

                         Harmon of Newton Inc.
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                         Harmon of Old Bridge Inc.

                         Harmon of Plainview Inc.

                         Harmon of Raritan Inc.

                         Harmon of Rockaway Inc.

                         Harmon of Shrewsbury Inc.

                         Harmon of Totowa Inc.

                         Harmon of Wayne Inc.

                         Harmon of Westfield Inc.

                         Harmon of Yonkers Inc.

                         San Antonio Bed Bath &

                         Beyond Inc.

                         Springfield Buy Buy Baby, Inc.

                         BBB Mexico LLC

                         Bed Bath & Beyond of Manhattan Inc.

                         Bed Bath & Beyond of Norman Inc.

                         Harmon of Roxbury Inc.

                         Of A Kind, Inc.

                         One Kings Lane LLC
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              KIRKLAND & ELLIS LLP

              CLIENT-REIMBURSABLE EXPENSES AND OTHER CHARGES

              Effective 01/01/2022

              The following outlines Kirkland & Ellis LLP’s (“K&E LLP”) policies and standard charges for
              various services performed by K&E LLP and/or by other third parties on behalf of the client
              which are often ancillary to our legal services. Services provided by in-house K&E LLP
              personnel are for the convenience of our clients. Given that these services are often ancillary to
              our legal services, in certain instances it may be appropriate and/or more cost efficient for these
              services to be outsourced to a third-party vendor. If services are provided beyond those outlined
              below, pricing will be based on K&E LLP’s approximate cost and/or comparable market pricing.

                         •   Duplicating, Reprographics and Printing: The following list details K&E LLP’s
                             charges for duplicating, reprographics and printing services:

                                   Black and White Copy or Print (all sizes of paper):
                                       • $0.16 per impression for all U.S. offices
                                       • €0.10 per impression in Munich
                                       • £0.15 per impression in London
                                       • HK$1.50 per impression in Hong Kong
                                       • RMB1.00 per impression in Beijing and Shanghai
                                   Color Copy or Print (all sizes of paper):
                                       • $0.55 per impression
                                   Scanned Images:
                                       • $0.16 per page for black and white or color scans
                                   Other Services:
                                       • CD/DVD Duplicating or Mastering - $7/$10 per CD/DVD
                                       • Binding - $0.70 per binding
                                       • Large or specialized binders - $13/$27
                                       • Tabs - $0.13 per item
                                       • OCR/File Conversion - $0.03 per page
                                       • Large Format Printing - $1.00 per sq. ft.

                         •   Secretarial and Word Processing: Clients are not charged for secretarial and
                             word processing activities incurred on their matters during standard business hours.

                         •   Overtime Charges: Clients will be charged for overtime costs for secretarial and
                             document services work if either (i) the client has specifically requested the after-
                             hours work or (ii) the nature of the work being done for the client necessitates out-
                             of-hours overtime and such work could not have been done during normal working
                             hours. If these conditions are satisfied, costs for related overtime meals and
                             transportation also will be charged.




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                         •   Travel Expenses: We charge clients our out-of-pocket costs for travel expenses
                             including associated travel agency fees. We charge coach fares (business class for
                             international flights) unless the client has approved business-class, first-class or an
                             upgrade. K&E LLP personnel are instructed to incur only reasonable airfare, hotel
                             and meal expenses. K&E LLP negotiates, uses, and passes along volume discount
                             hotel and air rates whenever practicable. However, certain retrospective rebates
                             may not be passed along.

                         •   Catering Charges: Clients will be charged for any in-house catering service
                             provided in connection with client matters.

                         •   Communication Expenses: We do not charge clients for telephone calls or faxes
                             made from K&E LLP’s offices with the exception of third-party conference calls
                             and videoconferences.

                             Charges incurred for conference calls, videoconferences, cellular telephones, and
                             calls made from other third-party locations will be charged to the client at the
                             actual cost incurred. Further, other telecommunication expenses incurred at third-
                             party locations (e.g., phone lines at trial sites, Internet access, etc.) will be charged
                             to the client at the actual cost incurred.

                         •   Overnight Delivery/Postage: We charge clients for the actual cost of overnight
                             and special delivery (e.g., Express Mail, FedEx, and DHL), and U.S. postage for
                             materials mailed on the client’s behalf. K&E LLP negotiates, uses, and passes
                             along volume discount rates whenever practicable.

                         •   Messengers:     We charge clients for the actual cost of a third party vendor
                             messenger.

                         •   Library Research Services: Library Research staff provides research and
                             document retrieval services at the request of attorneys, and clients are charged per
                             hour for these services. Any expenses incurred in connection with the request, such
                             as outside retrieval service or online research charges, are passed on to the client at
                             cost, including any applicable discounts.

                         •   Online Research Charges: K&E LLP charges for costs incurred in using third-
                             party online research services in connection with a client matter. K&E LLP
                             negotiates and uses discounts or special rates for online research services whenever
                             possible and practicable and passes through the full benefit of any savings to the
                             client based on actual usage.

                         •   Inter-Library Loan Services: Our standard client charge for inter-library loan
                             services when a K&E LLP library employee borrows a book from an outside source
                             is $25 per title. There is no client charge for borrowing books from K&E LLP
                             libraries in other cities or from outside collections when the title is part of the K&E
                             LLP collection but unavailable.


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                         •   Off-Site Legal Files Storage: Clients are not charged for off-site storage of files
                             unless the storage charge is approved in advance.

                         •   Electronic Data Storage: K&E LLP will not charge clients for costs to store
                             electronic data and files on K&E LLP’s systems if the data stored does not exceed
                             100 gigabytes (GB). If the data stored for a specific client exceeds 100GB, K&E
                             LLP will charge clients $6.00 per month/per GB for all network data stored until
                             the data is either returned to the client or properly disposed of. For e-discovery data
                             on the Relativity platform, K&E LLP will also charge clients $6.00 per month/per
                             GB until the data is either returned to the client or properly disposed of.

                         •   Calendar Court Services: Our standard charge is $25 for a court filing and other
                             court services or transactions.

                         •   Supplies: There is no client charge for standard office supplies. Clients are
                             charged for special items (e.g., a minute book, exhibit tabs/indexes/dividers,
                             binding, etc.) and then at K&E LLP’s actual cost.

                         •   Contract Attorneys and Contract Non-Attorney Billers: If there is a need to
                             utilize a contract attorney or contract non-attorney on a client engagement, clients
                             will be charged a standard hourly rate for these billers unless other specific billing
                             arrangements are agreed between K&E LLP and client.

                         •   Expert Witnesses, Experts of Other Types, and Other Third Party
                             Consultants: If there is a need to utilize an expert witness, expert of other type, or
                             other third party consultant such as accountants, investment bankers, academicians,
                             other attorneys, etc. on a client engagement, clients will be requested to retain or
                             pay these individuals directly unless specific billing arrangements are agreed
                             between K&E LLP and client.

                         •   Third Party Expenditures: Third party expenditures (e.g., corporate document
                             and lien searches, lease of office space at Trial location, IT equipment rental, SEC
                             and regulatory filings, etc.) incurred on behalf of a client, will be passed through to
                             the client at actual cost. If the invoice exceeds $50,000, it is K&E LLP’s policy
                             that wherever possible such charges will be directly billed to the client. In those
                             circumstances where this is not possible, K&E LLP will seek reimbursement from
                             our client prior to paying the vendor.

              Unless otherwise noted, charges billed in foreign currencies are determined annually based on
              current U.S. charges at an appropriate exchange rate.




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                                   Exhibit B

                              Sussberg Declaration
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 BED BATH & BEYOND INC., et al.,                              Case No. 23-13359 (VFP)

                                    Debtors. 1                (Jointly Administered)


                            DECLARATION OF
             JOSHUA A. SUSSBERG IN SUPPORT OF THE DEBTORS’
            APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
        THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
     AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 23, 2023

          I, Joshua A. Sussberg, being duly sworn, state the following under penalty of perjury:

          1.       I am the president of Joshua A. Sussberg, P.C., a partner of the law firm of Kirkland

 & Ellis LLP, located at 601 Lexington Avenue, New York, New York 10022, and a partner of

 Kirkland      &    Ellis     International,     LLP      (together      with     Kirkland      &     Ellis     LLP,
                               2
 collectively, “Kirkland”). I am one of the lead attorneys from Kirkland working on the above-

 captioned chapter 11 cases. I am a member in good standing of the Bar of the State of New York,

 and I have been admitted to practice in the United States Court of Appeals for the Fifth Circuit,

 the United States District Court for the Northern District of Illinois, and the United States District

 Court for the Southern District of New York. There are no disciplinary proceedings pending

 against me.


 1   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
     Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
     Cases is 650 Liberty Avenue, Union, New Jersey 07083.
 2   Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Application.
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         2.       I submit this declaration (the “Declaration”) in support of the Debtors’ Application

 for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

 Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

 Effective as of April 23, 2023. (the “Application”). 3 Except as otherwise noted, I have personal

 knowledge of the matters set forth herein.

                                           Kirkland’s Qualifications

         4.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

 extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

 business reorganizations under chapter 11 of the Bankruptcy Code.

         5.       Kirkland has been actively involved in major chapter 11 cases and has represented

 debtors in many cases in this District and Circuit, including, among others: In re BlockFi Inc.,

 No. 22-19361 (MBK) (Bankr. D.N.J. Feb. 1, 2023); In re Carestream Health, Inc. No. 22-10778

 (JKS) (Bankr. D. Del. Oct. 7, 2022); In re Riverbed Technology, Inc., No. 21-11503 (CTG)

 (Bankr. D. Del. Dec. 8, 2021); In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. Jul.

 15, 2021); In re Highpoint Res. Corp., No. 21-10565 (CSS) (Bankr. D. Del. Apr. 13, 2021);

 In re RGN-Grp. Holdings, LLC, No. 20-11961 (BLS) (Bankr. D. Del. Nov. 4, 2020); In re Town

 Sports Int’l, LLC, No. 20-12168 (CSS) (Bankr. D. Del. Oct. 29, 2020); In re APC Auto. Techs.

 Intermediate Holdings, LLC, No. 20-11466 (CSS) (Bankr. D. Del. June 23, 2020); In re Extraction

 Oil & Gas, Inc., No. 20-11548 (CSS) (Bankr. D. Del. June 16, 2020); In re Akorn, Inc., No. 20-

 11177 (KBO) (Bankr. D. Del. June 11, 2020). 4



 3   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
 4   Because of the voluminous nature of the orders cited in this Declaration, they are not attached to this Declaration.
     Copies of these orders are available upon request to Kirkland.

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        6.      In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

 has become familiar with the Debtors’ business and many of the potential legal issues that may

 arise in the context of these chapter 11 cases. I believe that Kirkland is both well-qualified and

 uniquely able to represent the Debtors in these chapter 11 cases in an efficient and timely manner.

                                      Services to Be Provided

        7.      Subject to further order of the Court and that certain engagement letter dated

 December 22, 2022 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to the

 Order, the Debtors retained Kirkland to render, without limitation, the following legal services:

                a.     advising the Debtors with respect to their powers and duties as debtor in
                       possession in the continued management and operation of their businesses
                       and properties;

                b.     advising and consulting on the conduct of these chapter 11 cases, including
                       all of the legal and administrative requirements of operating in chapter 11;

                c.     attending meetings and negotiating with representatives of creditors and
                       other parties in interest;

                d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                       including prosecuting actions on the Debtors’ behalf, defending any action
                       commenced against the Debtors, and representing the Debtors in
                       negotiations concerning litigation in which the Debtors are involved,
                       including objections to claims filed against the Debtors’ estates;

                e.     preparing pleadings in connection with these chapter 11 cases, including
                       motions, applications, answers, orders, reports, and papers necessary or
                       otherwise beneficial to the administration of the Debtors’ estates;

                f.     representing the Debtors in connection with obtaining authority to continue
                       using cash collateral and postpetition financing;

                g.     advising the Debtors in connection with any potential sale of assets;

                h.     appearing before the Court and any appellate courts to represent the interests
                       of the Debtors’ estates;

                i.     advising the Debtors regarding tax matters;



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                j.      taking any necessary action on behalf of the Debtors to negotiate, prepare,
                        and obtain approval of a disclosure statement and confirmation of a chapter
                        11 plan and all documents related thereto; and

                k.      performing all other necessary legal services for the Debtors in connection
                        with the prosecution of these chapter 11 cases, including: (i) analyzing the
                        Debtors’ leases and contracts and the assumption and assignment or
                        rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                        assets; and (iii) advising the Debtors on corporate and litigation matters.

        8.      By separate application, the Debtors have also asked the Court to approve the

 retention of Cole Schotz as bankruptcy co-counsel to the Debtors. In order to avoid any duplication

 of effort and provide services to the Debtors in the most efficient and cost-effective manner,

 Kirkland will coordinate with Cole Schotz and any other firms the Debtors retain regarding their

 respective responsibilities in these chapter 11 cases.

        9.      Cole Schotz is primarily responsible for the following:

                a.      overseeing investigations as directed by the Debtors’ independent directors;

                b.      advising the Debtors regarding the disposition of leasehold interests,
                        including advising with respect to lease negotiations, terminations, and
                        assumptions and rejections;

                c.      providing the Debtors with advice, based on their extensive experience
                        practicing in the District of New Jersey, regarding the Debtors’ rights,
                        powers, and duties as debtors in possession in continuing to operate and
                        manage their assets and business;

                d.      providing legal advice and services regarding local rules, practices and
                        procedures including Third Circuit law;

                e.      providing certain services in connection with the administration of the
                        chapter 11 cases including, without limitation, preparing agendas, hearing
                        notices, and hearing binders of documents and pleadings;

                f.      reviewing and commenting on proposed drafts of pleadings to be filed with
                        the Court;

                g.      appearing in Court and at any meeting with the United States Trustee and
                        any meeting of creditors;


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                  h.       providing legal advice and services on any matter on which Kirkland may
                           have a conflict or as needed based on specialization;

                  i.       performing all other legal services for and on behalf of the Debtors which
                           may be necessary or appropriate in the administration of their chapter 11
                           cases and fulfillment of their duties as debtors in possession; and

                  j.       responding to creditor and party-in-interest inquiries directed to Cole
                           Schotz.

                                         Professional Compensation

         10.      Kirkland intends to apply for compensation for professional services rendered on

 an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

 subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

 the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

 cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

 debtor representations, and are comparable to the hourly rates and corresponding rate structure that

 Kirkland uses for complex corporate, securities, and litigation matters whether in court or

 otherwise, regardless of whether a fee application is required. These rates and the rate structure

 reflect that such restructuring and other complex matters typically are national in scope and involve

 great complexity, high stakes, and severe time pressures.

         11.      Kirkland operates in a national marketplace for legal services in which rates are

 driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

 firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

         12.      Kirkland’s current hourly rates for matters related to these chapter 11 cases range

 as follows: 5


 5   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
     currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
                                                         5
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                                 Billing Category 6                   U.S. Range
                                       Partners                      $1,195-$2,245
                                     Of Counsel                       $820-$2,125
                                     Associates                       $685-$1,395
                                 Paraprofessionals                     $295-$575

         13.       Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

 the work of its attorneys and paralegals and to cover fixed and routine expenses. Hourly rates vary

 with the experience and seniority of the individuals assigned. These hourly rates are subject to

 periodic adjustments to reflect economic and other conditions. 7

         14.       It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

 non-overhead expenses incurred in connection with the client’s case that would not have been

 incurred except for representation of that particular client. It is also Kirkland’s policy to charge

 its clients only the amount actually incurred by Kirkland in connection with such items. Examples

 of such expenses include postage, overnight mail, courier delivery, transportation, overtime

 expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.




     conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
     the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
     an individual leaves or joins Kirkland, and if any such individual’s billing rate falls outside the ranges disclosed
     above, Kirkland does not intend to update the ranges for such circumstances.
 6   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
     that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
     to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
     Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in
     accordance with the requirements of the Bankruptcy Code.
 7   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
     paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
     basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
     paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
     used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
     Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
     the Order, Kirkland will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official
     committee before implementing any periodic increases, and shall file such notice with the Court.

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        15.     To ensure compliance with all applicable deadlines in these chapter 11 cases,

 Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these services

 pursuant to the Engagement Letter between Kirkland and the Debtors, which permits Kirkland to

 bill the Debtors for overtime secretarial charges that arise out of business necessity. In addition,

 Kirkland professionals also may charge their overtime meals and overtime transportation to the

 Debtors consistent with prepetition practices.

        16.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

 its offices in the United States. Notwithstanding the foregoing and consistent with the Local Rules,

 Kirkland will charge no more than $0.10 per page for standard duplication services in these

 chapter 11 cases. Kirkland does not charge its clients for incoming facsimile transmissions.

 Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal research.

 Computer-assisted legal research is used whenever the researcher determines that using Westlaw

 is more cost effective than using traditional (non-computer assisted legal research) techniques.

                     Compensation Received by Kirkland from the Debtors

        17.     Per the terms of the Engagement Letter, on December 22, 2022, the Debtors paid

 $1 million to Kirkland, which, as stated in the Engagement Letter, constituted an “advance

 payment retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and

 Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the

 Debtors paid to Kirkland additional advance payment retainer totaling $15,214,213.73 in the

 aggregate. As stated in the Engagement Letter, any advance payment retainer is earned by

 Kirkland upon receipt, any advance payment retainer becomes the property of Kirkland upon

 receipt, the Debtors no longer have a property interest in any advance payment retainer upon

 Kirkland’s receipt, any advance payment retainer will be placed in Kirkland’s general account and

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 will not be held in a client trust account, and the Debtors will not earn any interest on any advance

 payment retainer. 8

         18.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

 services rendered before the Petition Date. Although certain expenses and fees may have been

 incurred, but not yet applied to Kirkland’s advance payment retainer, Kirkland’s total advance

 payment retainer always exceeded any amounts listed or to be listed on statements describing

 services rendered and expenses incurred (on a “rates times hours” and “dates of expenses incurred”

 basis) prior to the Petition Date.

         19.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has not shared nor agreed to share

 (a) any compensation it has received or may receive with another party or person, other than with

 the partners, associates, and contract attorneys associated with Kirkland or (b) any compensation

 another person or party has received or may receive.

                             Statement Regarding U.S. Trustee Guidelines

         20.      Kirkland shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

 Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

 Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

 information and additional disclosures as set forth in the Guidelines for Reviewing Applications

 for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in


 8   The Engagement Letter permits Kirkland to retain any prepetition advance payment retainer held by Kirkland as
     of the Petition Date rather than applying such prepetition advance payment retainer to pay postpetition fees and
     expenses. In light of the facts and circumstances of these chapter 11 cases, Kirkland will retain any prepetition
     advance payment retainer held by Kirkland as of the Petition Date and will not apply any such amounts to
     postpetition fees and expenses.

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 Larger Chapter 11 Cases Effective As of November 1, 2013 (the “Revised UST Guidelines”), both

 in connection with this Application and the interim and final fee applications to be filed by

 Kirkland in these chapter 11 cases.

                   Attorney Statement Pursuant to Revised UST Guidelines

        21.            The following is provided in response to the request for additional

 information set forth in Paragraph D.1. of the Revised UST Guidelines:

                a. Question: Did Kirkland agree to any variations from, or alternatives to,
                   Kirkland’s standard billing arrangements for this engagement?

                   Answer: No. Kirkland and the Debtors have not agreed to any variations from,
                   or alternatives to, Kirkland’s standard billing arrangements for this
                   engagement. The rate structure provided by Kirkland is appropriate and is not
                   significantly different from (a) the rates that Kirkland charges for other
                   non-bankruptcy representations or (b) the rates of other comparably skilled
                   professionals.

                b. Question: Do any of the Kirkland professionals in this engagement vary their
                   rate based on the geographic location of the Debtors’ chapter 11 cases?

                   Answer: No. The hourly rates used by Kirkland in representing the Debtors are
                   consistent with the rates that Kirkland charges other comparable chapter 11
                   clients, regardless of the location of the chapter 11 case.

                c. Question: If Kirkland has represented the Debtors in the 12 months prepetition,
                   disclose Kirkland’s billing rates and material financial terms for the prepetition
                   engagement, including any adjustments during the 12 months prepetition. If
                   Kirkland’s billing rates and material financial terms have changed postpetition,
                   explain the difference and the reasons for the difference.




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                        Answer: Kirkland’s current hourly rates for services rendered on behalf of the
                        Debtors range as follows: 9

                                  Billing Category                   U.S. Range
                                       Partners                     $1,195-$2,245
                                     Of Counsel                      $820-$2,125
                                      Associates                     $685-$1,395
                                  Paraprofessionals                   $295-$575


                        Kirkland represented the Debtors during the period from August 2022 to
                        December 31, 2022, using the hourly rates listed below:

                                  Billing Category                   U.S. Range
                                       Partners                     $1,135-$1,995
                                     Of Counsel                      $805-$1,845
                                      Associates                     $650-$1,245
                                  Paraprofessionals                   $265-$495



                   d. Question: Have the Debtors approved Kirkland’s budget and staffing plan,
                      and, if so, for what budget period?

                        Answer: Yes. More specifically, pursuant to the DIP Order, 10 professionals
                        proposed to be retained by the Debtors are required to provide weekly estimates
                        of fees and expenses incurred in these chapter 11 cases.

                                          Kirkland’s Disinterestedness

          22.      In connection with its proposed retention by the Debtors in these chapter 11 cases,

 Kirkland undertook to determine whether it had any conflicts or other relationships that might

 cause it not to be disinterested or to hold or represent an interest adverse to the Debtors.

 Specifically, Kirkland obtained from the Debtors and their representatives the names of individuals


 9    While the rate ranges provided for in this Application may change if an individual leaves or joins Kirkland, and
      if any such individual’s billing rate falls outside the ranges disclosed above, Kirkland does not intend to update
      the ranges for such circumstances.
 10   “DIP Order” means the Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)
      Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Granting
      Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting
      Related Relief. [Docket No. 76].

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 and entities that may be parties in interest in these chapter 11 cases (the “Potential Parties in

 Interest”) and such parties are listed on Schedule 1 hereto. Kirkland has searched its electronic

 database for its connections to the entities listed on Schedule 1 hereto. In addition, after Kirkland

 identified all client connections with the parties in interest over a specified time period, Kirkland

 circulated a survey email to all Kirkland attorneys who billed 10 or more hours to such clients

 during the prior six years. Further, beyond the individual emails, Kirkland sent a daily report of

 new matters firm wide. All Kirkland attorneys are responsible for reviewing the daily report of

 new matters and raising any potential concerns with respect to new representations. Kirkland did

 not receive any answers in the affirmative to these emails. Additionally, to the extent that I have

 been able to ascertain that Kirkland has been retained within the last three years to represent any

 of the Potential Parties in Interest (or their affiliates, as the case may be) in matters unrelated to

 these cases, such facts are disclosed on Schedule 2 attached hereto.

          23.       Kirkland and certain of its partners and associates may have in the past represented,

 may currently represent, and likely in the future will represent, entities that may be parties in

 interest in these chapter 11 cases in connection with matters unrelated (except as otherwise

 disclosed herein) to the Debtors and these chapter 11 cases. Kirkland has searched its electronic

 database for its connections to the entities listed on Schedule 1 attached hereto. The information

 listed on Schedule 1 may have changed without our knowledge and may change during the

 pendency of these chapter 11 cases. Accordingly, Kirkland will update this Declaration as

 necessary and when Kirkland becomes aware of additional material information. The following

 is a list of the categories that Kirkland has searched: 11


 11   Kirkland’s inclusion of parties in the following Schedules is solely to illustrate Kirkland’s conflict search process
      and is not an admission that any party has a valid claim against the Debtors or that any party properly belongs in
      the schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.

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  Schedule        Category
  1(a)            Debtor
  1(b)            Non-Debtor Affiliate
  1(c)            Director/Officer
  1(d)            Equity Shareholder
  1(e)            Bondholder
  1(f)            Debtor Professional
  1(g)            Depository Banks
  1(h)            Freight Provider
  1(i)            Guarantor
  1(j)            Insurance Provider
  1(k)            Interested Party
  1(l)            Landlord
  1(m)            Lender Advisor
  1(n)            Letter of Credit Beneficiary
  1(o)            Letter of Credit Provider
  1(p)            Litigation
  1(q)            Office of the United States Trustee and Judge
  1(r)            Ordinary Course Professional
  1(s)            Secured Lender
  1(t)            Trade
  1(u)            UCC Lien
  1(v)            Unsecured Noteholder
  1(w)            Utility Provider


          24.      To the best of my knowledge, (a) Kirkland is a “disinterested person” within the

 meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

 Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

 (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest, except

 as may be disclosed in this Declaration.

          25.      Listed on Schedule 2 to this Declaration are the results of Kirkland’s conflicts

 searches of the above-listed entities. 12 For the avoidance of doubt, Kirkland will not commence a


 12   As referenced in Schedule 2, the term “current client” means an entity listed as a client in Kirkland’s conflicts
      search system to whom time was posted in the 12 months preceding the Petition Date. As referenced in
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 cause of action in these chapter 11 cases against the entities listed on Schedule 2 that are current

 clients of Kirkland (including entities listed below under the “Specific Disclosures” section of this

 Declaration) unless Kirkland has an applicable waiver on file or first receives a waiver from such

 entity allowing Kirkland to commence such an action. To the extent that a waiver does not exist

 or is not obtained from such entity and it is necessary for the Debtors to commence an action

 against that entity, the Debtors will be represented in such particular matter by conflicts counsel.

          26.     Of the entities listed on Schedule 2, four are portfolio companies and affiliates of

 entities that represented more than one percent of Kirkland’s fee receipts for the twelve-month

 period ending on April 30, 2023. Avalara, Inc. provides services to the Debtors in the ordinary

 course and is a portfolio company of Vista Equity Partners. Vista Equity Partners and its affiliates

 represented more than one percent of Kirkland’s fee receipts for the twelve-month period ending

 on April 30, 2023. Additionally, SailPoint Technologies Inc., Ping Identity Corporation, and

 RealPage Utility Management Inc. are vendors for certain of the Debtors and are portfolio

 companies of Thoma Bravo LP. Thoma Bravo LP and its affiliates represented more than one

 percent of Kirkland’s fee receipts for the twelve-month period ending on April 30, 2023. 13

 Kirkland has not represented, and will not represent, Vista Equity Partners, SailPoint Technologies

 Inc., Ping Identity Corporation, RealPage Utility Management Inc., or Thoma Bravo in connection




      Schedule 2, the term “former client” means an entity listed as a client in Kirkland’s conflicts search system to
      whom time was posted between 12 and 36 months preceding the Petition Date. As referenced in Schedule 2, the
      term “closed client” means an entity listed as a client in Kirkland’s conflicts search system to whom time was
      posted in the 36 months preceding the Petition Date, but for which the client representation has been closed.
      Whether an actual client relationship exists can only be determined by reference to the documents governing
      Kirkland’s representation rather than its potential listing in Kirkland’s conflicts search system. The list generated
      from Kirkland’s conflicts search system is over-inclusive. As a general matter, Kirkland discloses connections
      with “former clients” or “closed clients” for whom time was posted in the last 36 months, but does not disclose
      connections if time was billed more than 36 months before the Petition Date.
 13   Specific percentages will be disclosed to the U.S. Trustee upon request.

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 with these chapter 11 cases. I do not believe that any current or former representation of Vista

 Equity Partners or Thoma Bravo LP precludes Kirkland from meeting the disinterestedness

 standard under the Bankruptcy Code.

        27.     Kirkland’s conflicts search of the entities listed on Schedules 1(a) – 1(w) (that

 Kirkland was able to locate using its reasonable efforts) reveals, to the best of my knowledge, that

 those Kirkland attorneys and paraprofessionals who previously worked at other law firms that

 represented such entities in these chapter 11 cases have not worked on matters relating to the

 Debtors’ restructuring efforts while at Kirkland.

        28.     Based on the conflicts search conducted to date and described herein, to the best of

 my knowledge, neither I, Kirkland, nor any partner or associate thereof, insofar as I have been able

 to ascertain, have any connection with the Debtors, their creditors, or any other parties in interest,

 their respective attorneys and accountants, the United States Trustee for the District of New Jersey

 (the “U.S. Trustee”), any person employed by the U.S. Trustee, or any Bankruptcy Judge currently

 serving on the United States Bankruptcy Court for the District of New Jersey, except as disclosed

 or otherwise described herein.

        29.     Kirkland will review its files periodically during the pendency of these chapter 11

 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

 relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

 identify such further developments and will promptly file a supplemental declaration, as required

 by Bankruptcy Rule 2014(a).

        30.     Generally, it is Kirkland’s policy to disclose entities in the capacity that they first

 appear in a conflicts search. For example, if an entity already has been disclosed in this Declaration

 in one capacity (e.g., a customer), and the entity appears in a subsequent conflicts search in a

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 different capacity (e.g., a vendor), Kirkland does not disclose the same entity again in supplemental

 declarations, unless the circumstances are such in the latter capacity that additional disclosure is

 required.

         31.     From time to time, certain former partners of Kirkland are entitled to compensation

 for a limited period of time following their departure from the firm.

         32.     From time to time, Kirkland has referred work to other professionals to be retained

 in these chapter 11 cases. Likewise, certain such professionals have referred work to Kirkland.

         33.     Certain insurance companies pay the legal bills of Kirkland clients. Some of these

 insurance companies may be involved in these chapter 11 cases. None of these insurance

 companies, however, are Kirkland clients as a result of the fact that they pay legal fees on behalf

 of Kirkland clients.

                                         Specific Disclosures

         34.     As specifically set forth below and in the attached exhibits, Kirkland represents

 certain of the Debtors’ creditors, professionals, vendors, insurance companies or other entities that

 may be parties in interest in ongoing matters unrelated to the Debtors and these chapter 11 cases.

 None of the representations described herein are materially adverse to the interests of the Debtors’

 estates. Moreover, pursuant to section 327(c) of the Bankruptcy Code, Kirkland is not disqualified

 from acting as the Debtors’ counsel merely because it represents certain of the Debtors’ creditors,

 equity security holders, or other entities that may be parties in interest in matters unrelated to these

 chapter 11 cases.

 A.      Connections to Officers and Directors.

         35.     As disclosed below and on Schedule 2, Kirkland currently represents, and in the

 past has represented, certain affiliates, subsidiaries and entities associated with the Debtors’


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 current and recent former officers and directors. I do not believe that Kirkland’s current or prior

 representation of the affiliates, subsidiaries, and entities associated with certain officers and

 directors precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy

 Code.

         36.    Holly Etlin, Chief Restructuring Officer and Chief Financial Officer of Bed Bath

 & Beyond Inc., has served, or may serve from time to time, in various management and director

 capacities of certain Kirkland clients or affiliates thereof. I do not believe that Kirkland’s current

 or prior representation of clients for which Ms. Etlin serves or served in a management or director

 capacity precludes Kirkland from meeting the disinterested standard under the Bankruptcy Code.

         37.     Sue Gove, President and Chief Executive Officer of Bed Bath & Beyond Inc., has

 served, or may serve from time to time, in various management and director capacities of certain

 Kirkland clients or affiliates thereof. I do not believe that Kirkland’s current or prior representation

 of clients for which Ms. Gove serves or served in a management or director capacity precludes

 Kirkland from meeting the disinterested standard under the Bankruptcy Code.

         38.     Jeffrey Kirwan, a current director of Bed Bath & Beyond Inc., serves as an officer

 of OpCapita LLP. Kirkland represents OpCapita LLP in connection with a variety of corporate

 matters. I do not believe that Kirkland’s representation of OpCapita LLP precludes it from meeting

 the disinterested standard under the Bankruptcy Code.

         39.     Pamela Corrie, Carol Flaton, and Jonathan Foster, all current disinterested directors

 of certain of the Debtors, currently serve, have served, or may serve from time to time, in various

 management, director, and/or consultant capacities of certain Kirkland clients or affiliates thereof.

 I do not believe that Kirkland’s current or prior representation of clients for which Ms. Corrie, Ms.




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 Flaton, and Mr. Foster serve or served in a management, director, or consultant capacity precludes

 Kirkland from meeting the disinterested standard under the Bankruptcy Code.

         40.     Marjorie Bowen and Sherman Edmiston, former directors of certain of the Debtors,

 have served, or may serve from time to time, in various management and director capacities of

 certain Kirkland clients or affiliates thereof. I do not believe that Kirkland’s current or prior

 representation of clients for which Ms. Bowen and Mr. Edmiston serve or served in a management

 or director capacity precludes Kirkland from meeting the disinterested standard under the

 Bankruptcy Code.

 B.      Connections to Certain Specified Parties.

         41.     As disclosed below and on Schedule 2, attached hereto, Kirkland currently

 represents and has formerly represented PNC Bank, N.A., Wells Fargo Bank, N.A., Bank of

 Montreal, The Goldman Sachs Group, BB&T, TD Bank N.A., MUFG Union Bank, N.A., Bank of

 America, N.A., UBS, Morgan Stanley, and JPMorgan Chase Bank, N.A., and/or certain of their

 affiliates (collectively, the “Specified Parties”) in a variety of matters.

         42.     The Specified Parties comprise one or more of the following: (a) secured lender to

 the Debtors; or (b) a depository bank to the Debtors. Kirkland has not represented, and will not

 represent, the Specified Parties in connection with matters relating to the Debtors or their chapter

 11 cases. I do not believe that Kirkland’s current or former representations of the Specified Parties

 precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

 C.      Connections to Other Entities.

         43.     As disclosed on Schedule 2, Kirkland currently represents Health Care Service

 Corporation and Caring for Montanans, Inc. (collectively, “HCSC”) and Highmark Inc., Highmark

 BCBSD Inc., Highmark West Virginia Inc., and Highmark Western and Northeastern New York


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 Inc. (collectively, “Highmark”) in opt-out litigation from a multidistrict litigation settlement.

 Debtor Bed Bath & Beyond Inc. is one of the parties that opted out of the multidistrict litigation

 settlement and commenced lawsuits with numerous other entities that also opted out. Kirkland

 will not represent HCSC or Highmark in connection with any of the Debtors’ claims in the opt out

 litigation. Additionally, Kirkland has not represented, and will not represent, HCSC or Highmark

 in connection with any matter in these chapter 11 cases during the pendency of these chapter 11

 cases. I do not believe that Kirkland’s representation of HCSC or Highmark precludes Kirkland

 from meeting the disinterestedness standard under the Bankruptcy Code.

        44.     Additionally, as disclosed on Schedule 2, Kirkland currently represents, and in the

 past has represented, Oak Street Real Estate Capital, LLC (“Oak Street”), and its affiliates,

 including Blue Owl Capital, Inc., in a variety of matters. Kirkland represented Oak Street in a sale

 leaseback transaction of certain of the Debtors’ properties in 2019. Kirkland will not represent

 Oak Street in connection with any matter related to the Debtors or their chapter 11 cases during

 the pendency of these chapter 11 cases. Further, Kirkland has implemented formal screening

 procedures to ensure that (a) any Kirkland attorneys or staff that billed time to the Oak Street

 representation would not work on any matter related to these chapter 11 cases and (b) there is no

 disclosure of confidential information across the two matters. I do not believe that Kirkland’s

 current or prior representation of Oak Street precludes Kirkland from meeting the disinterestedness

 standard under the Bankruptcy Code.

 D.     Other Chapter 11 Professionals.

        45.     As disclosed on Schedule 2, Kirkland currently represents, and in the past has

 represented, certain affiliates, subsidiaries, and entities associated with various professionals that

 the Debtors seek to retain in connection with these chapter 11 cases. Kirkland’s current and prior

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 representations of these professionals have been in matters unrelated to the Debtors or these

 chapter 11 cases. Kirkland has not represented, and will not represent, any such professionals in

 connection with any matter in these chapter 11 cases during the pendency of these chapter 11 cases.

 I do not believe that Kirkland’s current or prior representation of these professionals precludes

 Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

          46.      The Debtors proposed investment banker is Lazard Frères & Co. LLC (“Lazard”).

 As disclosed on Schedule 2, Kirkland currently represents, and in the past has represented, Lazard

 and certain of its direct or indirect affiliates on a variety of matters. Kirkland’s current and prior

 representations of Lazard have been in matters unrelated to the Debtors or these chapter 11 cases.

 Kirkland has not represented, and will not represent, Lazard in connection with any matter in these

 chapter 11 cases. I do not believe that Kirkland’s current or prior representation of Lazard

 precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

          47.    The Debtors’ proposed restructuring advisor is AP Services, LLC (together with

 certain of its affiliates, “APS”). 14 APS will also provide the Debtors with a CRO and CFO and

 certain additional APS personnel to assist the CRO and CFO in the performance of her duties. As

 disclosed on Schedule 2, Kirkland currently represents, and in the past has represented, APS on a

 variety of matters. Kirkland’s current and prior representations of APS have been in matters

 unrelated to the Debtors or these chapter 11 cases. Kirkland has not represented, and will not

 represent, APS in connection with any matter in these chapter 11 cases during the pendency of

 these chapter 11 cases. I do not believe that Kirkland’s current or prior representation of APS

 precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.




 14   APS is an affiliate of AlixPartners, LLP.

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           48.     On April 25, 2023, the Court approved Kroll Restructuring Administration LLC

 (“Kroll”), formerly known as Prime Clerk LLC, as the Debtors’ notice and claims agent. 15 Certain

 former Kirkland attorneys are currently employed by Kroll. Though previously employed by

 Kirkland, any work provided by these former Kirkland attorneys was unrelated to the Debtors or

 these chapter 11 cases. As disclosed on Schedule 2 attached hereto, Kirkland currently represents,

 and in the past has represented, Kroll, and certain of its upstream entities and affiliates, in matters

 unrelated to the Debtors and these chapter 11 cases. I do not believe that Kirkland’s current and

 prior representation of Kroll precludes Kirkland from meeting the disinterestedness standard under

 the Bankruptcy Code.

 E.        Kirkland Attorney and Employee Investments.

           49.     From time to time, Kirkland partners, of counsel, associates, and employees

 personally invest in mutual funds, retirement funds, private equity funds, venture capital funds,

 hedge funds, and other types of investment funds (the “Investment Funds”), through which such

 individuals indirectly acquire an interest in debt or equity securities of many companies, one of

 which may be one of the Debtors, their creditors, or other parties in interest in these chapter 11

 cases, often without Kirkland’s knowledge. Each Kirkland person generally owns substantially

 less than one percent of such Investment Fund, does not manage or otherwise control such

 Investment Fund, and has no influence over the Investment Fund’s decision to buy, sell, or vote

 any particular security. The Investment Fund is generally operated as a blind pool, meaning that

 when the Kirkland persons make an investment in the Investment Fund, he, she, or they do not




 15   See Order Authorizing the Employment and Retention of Kroll Restructuring Administration LLC as Notice and
       Claims Agent for the Debtors [Docket No. 93].

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 know what securities the blind pool Investment Fund will purchase or sell, and have no control

 over such purchases or sales.

        50.     From time to time one or more Kirkland partners and of counsel voluntarily choose

 to form an entity (a “Passive-Intermediary Entity”) to invest in one or more Investment Funds.

 Such Passive-Intermediary Entity is composed only of persons who were Kirkland partners and of

 counsel at the time of the Passive-Intermediary Entity’s formation (although some may later

 become former Kirkland partners and of counsel). Participation in such a Passive-Intermediary

 Entity is wholly voluntary and only a portion of Kirkland’s partners and of counsel choose to

 participate. The Passive-Intermediary Entity generally owns substantially less than one percent of

 any such Investment Fund, does not manage or otherwise control such Investment Fund, and has

 no influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

 Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

 the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

 will purchase or sell, and has no control over such purchases or sales.            And, indeed, the

 Passive-Intermediary Entity often arranges for statements and communications from certain

 Investment Funds to be sent solely to a blind administrator who edits out all information regarding

 the identity of the Investment Fund’s underlying investments, so that the Passive-Intermediary

 Entity does not learn (even after the fact) the identity of the securities purchased, sold, or held by

 the Investment Fund. To the extent the Passive-Intermediary Entity is or becomes aware of the

 identity of the securities purchased, sold, or held by the Investment Funds (“Known Holdings”),

 such Known Holdings are submitted to Kirkland’s conflict checking system.

        51.     From time to time, Kirkland partners, of counsel, associates, and employees

 personally directly acquire a debt or equity security of a company which may be (or become) one

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 of the Debtors, their creditors, or other parties in interest in these chapter 11 cases. Kirkland has

 a long-standing policy prohibiting attorneys and employees from using confidential information

 that may come to their attention in the course of their work, so that all Kirkland attorneys and

 employees are barred from trading in securities with respect to which they possess confidential

 information.

 F.     Other Disclosures.

        52.     Finally, certain interrelationships exist among the Debtors. Nevertheless, the

 Debtors have advised Kirkland that the Debtors’ relationships to each other do not pose any

 conflict of interest because of the general unity of interest among the Debtors. Insofar as I have

 been able to ascertain, I know of no conflict of interest that would preclude Kirkland’s joint

 representation of the Debtors in these chapter 11 cases.

        53.     The spouse of Kirkland partner Helen E. Witt, P.C. is a managing director of

 JPMorgan Chase & Co. JP Morgan Chase Bank, N.A. and certain of its affiliates are among the

 Debtors’ lenders. Out of an abundance of caution, Kirkland has instituted formal screening

 measures to screen Ms. Witt from all aspects of Kirkland’s representation of the Debtors.

        54.     Kirkland currently represents, and formerly has represented, Bank of America,

 N.A. (“Bank of America”) and certain of its affiliates, in a variety of matters. Bank of America is

 a lender in these chapter 11 cases. Kirkland’s representations of Bank of America, in the

 aggregate, accounted for less than one percent of Kirkland’s fee receipts for the twelve-month

 period ending on April 30, 2023. All of Kirkland’s current and prior representations of Bank of

 America have been unrelated to the Debtors and these chapter 11 cases. I do not believe that

 Kirkland’s representation of Bank of America precludes Kirkland from meeting the

 disinterestedness standard under the Bankruptcy Code.

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        55.     James H.M. Sprayregen, a Kirkland partner, worked as an attorney at Kirkland from

 July 1990 until June 2006 and rejoined the firm in December 2008. From June 2006 until

 December 2008, prior to rejoining the firm, Mr. Sprayregen was co-head of the restructuring group

 of Goldman Sachs Americas, where he advised U.S. and international clients in restructuring and

 distressed situations. Certain affiliates of Goldman Sachs are lenders in these chapter 11 cases.

 As described above, Goldman Sachs is a client of the firm and is disclosed on Schedule 1 and

 Schedule 2 attached hereto. I do not believe that Mr. Sprayregen’s prior employment at Goldman

 Sachs precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

        56.     Jonathan S. Henes, a former partner of Kirkland, is the CEO and principal of C

 Street Advisory Group, LLC. C Street is providing services to the Debtors in the ordinary course

 as a communications advisor. Mr. Henes did not work on the Debtors’ cases while at Kirkland. I

 do not believe that this connection precludes Kirkland from meeting the disinterestedness standard

 under the Bankruptcy Code.

        57.     Furthermore, prior to joining Kirkland, certain Kirkland attorneys represented

 clients adverse to Kirkland’s current and former restructuring clients. Certain of these attorneys

 (the “Screened Kirkland Attorneys”) will not perform work in connection with Kirkland’s

 representation of the Debtors and will not have access to confidential information related to the

 representation. Kirkland’s formal ethical screen provides sufficient safeguards and procedures to

 prevent imputation of conflicts by isolating the Screened Kirkland Attorneys and protecting

 confidential information.

        58.     Under Kirkland’s screening procedures, Kirkland’s conflicts department distributes

 a memorandum to all Kirkland attorneys and legal assistants directing them as follows: (a) not to

 discuss any aspects of Kirkland’s representation of the Debtors with the Screened Kirkland

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 Attorneys; (b) to conduct meetings, phone conferences, and other communications regarding

 Kirkland’s representation of the Debtors in a manner that avoids contact with the Screened

 Kirkland Attorneys; (c) to take all measures necessary or appropriate to prevent access by the

 Screened Kirkland Attorneys to the files or other information related to Kirkland’s representation

 of the Debtors; and (d) to avoid contact between the Screened Kirkland Attorneys and all Kirkland

 personnel working on the representation of the Debtors unless there is a clear understanding that

 there will be no discussion of any aspects of Kirkland’s representation of the Debtors.

 Furthermore, Kirkland already has implemented procedures to block the Screened Kirkland

 Attorneys from accessing files and documents related to the Debtors that are stored in Kirkland’s

 electronic document managing system.

                           Affirmative Statement of Disinterestedness

        59.     Based on the conflicts search conducted to date and described herein, to the best of

 my knowledge and insofar as I have been able to ascertain, (a) Kirkland is a “disinterested person”

 within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

 the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

 and (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest,

 except as may be disclosed herein.



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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.

  Dated: May 20, 2023                             Respectfully submitted,

                                                  /s/ Joshua A. Sussberg
                                                 Joshua A. Sussberg
                                                 as President of Joshua A. Sussberg, P.C., as
                                                 Partner of Kirkland & Ellis LLP; and as Partner
                                                 of Kirkland & Ellis International LLP




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                                                Schedule 1

        The following lists contain the names of reviewed entities as described more fully in the
 Declaration of Joshua A. Sussberg in Support of the Debtors’ Application for the Entry of an Order
 Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis
 International LLP as Attorneys for the Debtors and Debtors in Possession Effective as of April 23,
 2023 (the “Sussberg Declaration”). 1 Where the names of the entities reviewed are incomplete or
 ambiguous, the scope of the search was intentionally broad and inclusive, and Kirkland & Ellis
 LLP and Kirkland & Ellis International LLP reviewed each entity in its records, as more fully
 described in the Sussberg Declaration, matching the incomplete or ambiguous name.




 1   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Sussberg
     Declaration.
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                                     SCHEDULE 1
                                     List of Schedules

 Schedule   Category
 1(a)       Debtor
 1(b)       Non-Debtor Affiliate
 1(c)       Director/Officer
 1(d)       Equity Shareholder
 1(e)       Bondholder
 1(f)       Debtor Professional
 1(g)       Depository Banks
 1(h)       Freight Provider
 1(i)       Guarantor
 1(j)       Insurance Provider
 1(k)       Interested Party
 1(l)       Landlord
 1(m)       Lender Advisor
 1(n)       Letter of Credit Beneficiary
 1(o)       Letter of Credit Provider
 1(p)       Litigation
 1(q)       Office of the United States Trustee & Judge
 1(r)       Ordinary Course Professional
 1(s)       Secured Lender
 1(t)       Trade
 1(u)       UCC Lien
 1(v)       Unsecured Noteholder
 1(w)       Utility Provider
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                                    SCHEDULE 1(a)
                                             Debtor

 Alamo Bed Bath & Beyond Inc.                         Buy Buy Baby of Rockville Inc.
 BBB Canada LP Inc.                                   Buy Buy Baby of Totowa Inc.
 BBB Value Services Inc.                              BWAO LLC
 BBBY Management Corp.                                Chef C Holdings LLC
 BBBYCF LLC                                           Decorist LLC
 BBBYTF LLC                                           Deerbrook Bed Bath & Beyond Inc.
 Bed Bath & Beyond Inc.                               Harmon of Brentwood Inc.
 Bed Bath & Beyond of Annapolis Inc.                  Harmon of Caldwell Inc.
 Bed Bath & Beyond of Arundel Inc.                    Harmon of Carlstadt Inc.
 Bed Bath & Beyond of Baton Rouge Inc.                Harmon of Franklin Inc.
 Bed Bath & Beyond of Birmingham Inc.                 Harmon of Greenbrook II Inc.
 Bed Bath & Beyond of Bridgewater Inc.                Harmon of Hackensack Inc.
 Bed Bath & Beyond of California LLC                  Harmon of Hanover Inc.
 Bed Bath & Beyond of Davenport Inc.                  Harmon of Hartsdale Inc.
 Bed Bath & Beyond of East Hanover Inc.               Harmon of Manalapan Inc.
 Bed Bath & Beyond of Edgewater Inc.                  Harmon of Massapequa Inc.
 Bed Bath & Beyond of Falls Church Inc.               Harmon of Melville Inc.
 Bed Bath & Beyond of Fashion Center Inc.             Harmon of New Rochelle Inc.
 Bed Bath & Beyond of Frederick Inc.                  Harmon of Newton Inc.
 Bed Bath & Beyond of Gaithersburg Inc.               Harmon of Old Bridge Inc.
 Bed Bath & Beyond of Gallery Place LLC               Harmon of Plainview Inc.
 Bed Bath & Beyond of Knoxville Inc.                  Harmon of Raritan Inc.
 Bed Bath & Beyond of Lexington Inc.                  Harmon of Rockaway Inc.
 Bed Bath & Beyond of Lincoln Park Inc.               Harmon of Shrewsbury Inc.
 Bed Bath & Beyond of Louisville Inc.                 Harmon of Totowa Inc.
 Bed Bath & Beyond of Mandeville Inc.                 Harmon of Wayne Inc.
 Bed Bath & Beyond of Manhattan Inc.                  Harmon of Westfield Inc.
 Bed Bath & Beyond of Norman Inc.                     Harmon of Yonkers Inc.
 Bed Bath & Beyond of Opry Inc.                       Harmon Stores Inc.
 Bed Bath & Beyond of Overland Park Inc.              Liberty Procurement Co. Inc.
 Bed Bath & Beyond of Palm Desert Inc.                Of a Kind Inc.
 Bed Bath & Beyond of Paradise Valley Inc.            One Kings Lane LLC
 Bed Bath & Beyond of Pittsford Inc.                  San Antonio Bed Bath & Beyond Inc.
 Bed Bath & Beyond of Portland Inc.                   Springfield Buy Buy Baby Inc.
 Bed Bath & Beyond of Rockford Inc.
 Bed Bath & Beyond of St. Louis Inc.
 Bed Bath & Beyond of Towson Inc.
 Bed Bath & Beyond of Virginia Beach Inc.
 Bed Bath & Beyond of Waldorf Inc.
 Bed Bath & Beyond of Woodbridge Inc.
 Bed ‘n Bath Stores Inc.
 Buy Buy Baby Inc.
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                                  SCHEDULE 1(b)
                                  Non-Debtor Affiliate

 BBB Canada Ltd.
 BBB Mexico LLC
 Bed Bath & Beyond Canada LP
 Bed Bath & Beyond Mexico S. de R. de CV
 Harmon of Roxbury Inc.
 Importadora BBBMex S. de RL de CV
 Oak Insurance Co. Inc.
 Servicios BBBMex S. de RL de CV
 Servicios S. de RL de CV
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                                   SCHEDULE 1(c)
                                    Director/Officer

 Andrisano, Toni-Anne
 Bowen, Marjorie
 Corrie, Pamela
 Crossen, Laura
 Danzig, Mark
 Dyer, Greg
 Edelman, Harriet
 Edmiston, Sherman
 Etlin, Holly
 Flaton, Carol
 Foster, Jonathan
 Fratanduono, Camille
 Gove, Sue
 Haddad, Wade
 Kastin, David
 Kim, Susie
 Kirwan, Jeffrey
 Lindblom, Scott
 Lombard, Shelly
 Markoe, Lynda
 Schecter, Joshua
 Shah, Minesh
 Sichel, Bart
 Sirhal, Mara
 Weiss, Andrea
 Wu, Patty
 Yerger, Ann
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                                SCHEDULE 1(d)
                                 Equity Shareholder

 BlackRock Inc.
 Vanguard Group Inc., The
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                                    SCHEDULE 1(e)
                                        Bondholder

 1832 Asset Management LP                      Finlabo SIM SpA
 AllianceBernstein LP                          Flow Traders U.S. LLC
 Alta Capital Management LLC                   Foxhill Capital Partners LLC
 Altrius Capital Management Inc.               Franklin Advisers Inc.
 Ameritas Life Insurance Corp. of New York     GIA Partners LLC
 APG Asset Management US Inc.                  Goldman Sachs Asset Management LP (US)
 AQS Asset Management LLC                      GSO Capital Partners LP
 Aristotle Capital Management LLC              Healthcare of Ontario Pension Plan
 Asset Allocation & Management Co. LLC         Highbridge Capital Management LLC
 Aviary Capital Enterprises Inc.               Hotchkis & Wiley Capital Management
 Banco de Sabadell SA                              LLC
 Bank of America Merrill Lynch Proprietary     HSBC Bank PLC
     Trading                                   International City Management Association
 Barclays Capital Inc.                             Retirement Corp.
 Bivium Capital Partners LLC                   Invesco Advisers Inc.
 BlackRock Advisors LLC                        Invesco Capital Management LLC
 Blackstone Liquid Credit Strategies LLC       JPMorgan Investment Management Inc.
 BlueCrest Capital Management (U.K.) LLP       JPMorgan Securities LLC
 BNP Paribas Asset Management France           KSKJ Life American Slovenian Catholic
 BNP Paribas Securities Corp.                      Union
 BondBloxx Investment Management Corp.         Lawson Kroeker Investment Management
 BVK- Beamtenversicherungskasse des                Inc.
     Kantons Zurich                            LM Capital Group LLC
 Cable Car Capital LLC                         Lombard Odier Asset Management Europe
 California Public Employees Retirement            Ltd.
     System                                    MacKay Shields LLC
 Canal Insurance Co.                           Manhattan Life Insurance
 CapitalatWork - Foyer Group (Belgium)         Manning & Napier Advisors LLC
 Carillon Tower Advisers Inc.                  Marathon Asset Management Ltd.
 CastleKnight Management LP                    Mellon Investments Corp.
 Catholic Family Fraternal of Texas            Millennium Advisors LLC
 Chartwell Investment Partners LLC             Miller Value Partners LLC
 Chicago Capital LLC                           Mirabaud Asset Management Ltd.
 CIGNA Investments Inc.                        Mont Blanc Capital Management AG
 Citigroup Global Markets Inc.                 Morgan Stanley & Co. LLC
 Croatian Fraternal Union of America           Murchinson LP
 CTC Alternative Strategies Ltd.               Muzinich & Co. Inc.
 DBX Advisors LLC                              Napier Park Global Capital (US) LP
 Deutsche Bank Securities Inc.                 New Jersey, State of, Division of Investment
 Diamond Insurance Group Ltd.                  New York, City of (NY), Comptroller’s
 FBL Investment Management Services Inc.           Office
 Fidelity Management & Research Co. LLC        Northern Trust Global Investments Ltd.
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 Northwestern Mutual Investment
     Management Co. LLC
 Nykredit Bank AS
 Oppenheimer Asset Management Inc.
 Pension Reserves Investment Management
     Board
 PFA Asset Management AS
 PGIM Inc.
 Pharus Management SA
 PNC Bank NA
 Russell Investment Management LLC
 Safeway Insurance Group
 Safra Securities LLC
 Seix Investment Advisors LLC
 Selected Funeral & Life Insurance Co.
 SG Americas Securities LLC
 Shlomo Holdings Ltd.
 SMH Capital Advisors LLC
 Squarepoint OPS LLC
 State Street Global Advisors
 SumRidge Partners LLC
 Tennessee Farmers Mutual Insurance Co.
 TOBAM
 UBS Securities LLC
 USA Life One Insurance Co. of Indiana
 Van Eck Associates Corp.
 Verition Fund Management LLC
 Virtus Investment Advisers Inc.
 Western Asset Management Co. LLC
 Zest SA
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                                    SCHEDULE 1(f)
                                    Debtor Professional

 A&G Realty Partners LLC
 AlixPartners LLP
 Cole Schotz PC
 Kroll Restructuring Administration LLC
 Lazard Ltd.
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                                 SCHEDULE 1(g)
                                  Depository Banks

 Banco Popular
 BB&T
 Fifth Third
 First Hawaiian
 JPMorgan
 Key Bank
 Scotia Bank
 SSB/Morgan Stanley
 UBS
 Union Bank
 US Bank
 Wells Fargo
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                              SCHEDULE 1(h)
                                Freight Provider

 Federal Express
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                                   SCHEDULE 1(i)
                                       Guarantor

 BBB Canada LP Inc.
 BBB Canada Ltd.
 BBB Value Services Inc.
 BBBY Management Corp.
 BBBYCF LLC
 BBBYTF LLC
 Bed Bath & Beyond Canada LP
 Bed Bath & Beyond Inc.
 Bed Bath & Beyond of California LLC
 Bed ‘n Bath Stores Inc.
 Buy Buy Baby Inc.
 BWAO LLC
 Chef C Holdings LLC
 Decorist LLC
 Harmon Stores Inc.
 Liberty Procurement Co. Inc.
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                                      SCHEDULE 1(j)
                                      Insurance Provider

 Ace Property & Casualty Insurance Co.
 Affiliated FM Insurance Co.
 AIG
 AIG Insurance Co. of Canada
 AIG Specialty Insurance Co.
 Allianz Global Risks US Insurance Co.
 Allied World Specialty Insurance Co.
 Arch Insurance Co.
 Arch Specialty Insurance Co.
 Argonaut Insurance Co.
 Axis Surplus Insurance Co.
 Berkley Assurance Co.
 Berkshire Hathaway Specialty Insurance Co.
 Certain Underwriters at Lloyd’s - Syndicate 1183 (Validus)
 Continental Insurance Co.
 Endurance American Insurance Co.
 Factory Mutual Insurance Co.
 Federal Insurance Co.
 FM Global de Mexico SA De CV
 General Security Indemnity Co. of Arizona
 Great American Insurance Co.
 Hudson Insurance Co.
 Insurance Co. of the State of Pennsylvania, The
 Insurance Corp. of British Columbia
 Liberty Surplus Insurance Corp.
 Lloyd’s Syndicate 2623 (Beazley Furlonge Ltd.)
 Mercer Insurance Co.
 National Casualty Co.
 National Union Fire Insurance Co. of Pittsburgh PA
 Navigators Insurance Co.
 Ohio Casualty Insurance Co., The
 Old Republic Union Insurance Co.
 Safety National Casualty Corp.
 Safety Specialty Insurance Co.
 Scottsdale Insurance Co.
 Starr Surplus Lines Insurance Co.
 State National Insurance Co. Inc.
 Underwriters At Lloyd’s London
 XL Insurance America Inc.
 Zurich American Insurance Co.
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                                      SCHEDULE 1(k)
                                       Interested Party

 Angelo Gordon
 Ares Management Corp.
 Authentic Brands Group Inc.
 Blue Torch Capital LP
 Centerbridge Partners LP
 Cerberus Capital Management LP
 Citigroup Inc.
 Cohen, Ryan
 CSC Generation Inc.
 Hudson Bay Capital
 Interweave Inc.
 JPMorgan Chase & Co.
 Michaels Stores Inc.
 MidCap Financial LLC
 Putman Investments
 SB360 Capital Partners LLC
 Silver Point Capital LP
 Sleep Country Canada Holdings Inc.
 Sycamore Partners Management LP
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                                   SCHEDULE 1(l)
                                        Landlord

 0509 CC Ocala Joint Venture                  AK-SAR-BEN Village LLC
 0534 Pensacola Cordova Land LLC              Alexander’s Rego Shopping Center Inc.
 101 & Scottsdale LLC                         Alexandria Main Mall LLC
 1019 Central Avenue Corp.                    Almaden Plaza Shopping Center Inc.
 12535 SE 82nd Ave LLC                        Alpine Cherry Creek LLC
 1301 East Gladstone Street Investors LLC     ALTO Northpoint LP
 13555 TTN LLC                                Amherst Crossing AMA Realty Ventures
 168th & Dodge LP                                LLC
 1700 Oxford Drive Partnership                Anna Mscisz Trust
 200-220 West 26 LLC                          Arapahoe Crossings LP
 209-261 Junction Road Madison Investors      Arboretum Retail LLC
    LLC                                       ARC ASANDSC001 LLC
 2180 Kings Highway DE LLC                    ARC BHTVCMI001 LLC
 2200 Lohman Ave. LLC                         ARC CLORLFL001 LLC
 270 Greenwich Street Associates LLC          ARC CLORLFL001 LLC-Lockbox
 271 South Broadway LLC                       ARC CPFAYNC001 LLC
 28th Street Management Co. LLC               ARC PCBIRAL001 LLC
 293-305 Route 22 East LLC                    ARC PRLAWKS001 LLC
 31535 Southfield Road LLC                    ARC SMWMBFL001 LLC
 36 Monmouth Plaza LLC                        ARC SSSEBFL001 LLC
 3600 Long Beach Road, LLC                    ARC TCMESTX001 LLC
 4S Commons Partners LLC                      ARG BBSCHIL001 LLC
 555 9th Street LP                            ARG CCALBNMOO1 LLC
 5737-5848 North Elizabeth Street Holdings    ARG FSBROWI001 LLC
    LLC                                       ARG GFBOGKY001 LLC
 6034 Azle Avenue LLC                         ARG MPLTRAR001 LLC
 675 AOA Owner LLC                            ARG PSALBNM001 LLC
 81 Associates LLC                            ARG SAABITX001 LLC
 A&W Acquisitions LLC                         ARG SPSPRIL001 LLC
 ABAH LLC                                     ARG SSSTRPA001 LLC
 Aberdeen Commons Associates LLC              ARG TTRALNC001 LLC
 ABJ Group Advancement TX LLC                 Arrowhead Palms LLC
 Acadia Realty LP                             A-S 149 Island Gate Plaza LP
 ACS Fort Smith Pavilion AR LLC               A-S 156 HQSC LP
 ACS Town Square Shopping Center IN LLC       Asbury Shops LLC
 AE Holdings I LLC                            ATT OST Marketplace LLC
 AGC Pacific Coast Plaza LLC                  AVR CPC Associates LLC
 Agree 1031 LLC                               B Comm Realty LLC
 Agree Grand Chute WI LLC                     B33 Erie Marketplace II LLC
 Agree LP                                     B33 Maple Grove II LLC
 Airport Plaza LLC                            Barrywoods Holdings LLC
 AJG Enterprises LLC                          Basser-Kaufman Real Estate
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 Bayer Development Co. LLC                   Broadway Belvedere LLC
 Bayshore Mall Partners                      Brookwood Capital Partners LLC
 BBB Plaza Associates Ltd.                   Brown Ranch Properties LP
 BBP Partners LLC                            Burlington Gateway LP
 BCB Group Investments Tramonto              BV Southwind LLC
     Marketplace LLC                         BV Waco Central Texas Marketplace LLC
 BCC II LLC                                  BVA Avenue LLC
 Beatty LP                                   BVA Deerbrook SPE LLC
 Bell Tower Shops LLC                        BVA Towne Square LLC
 Belleclaire Hotel LLC                       BVA Woodhill LLC
 Belz Investco GP                            BVC Oakwood Commons Inc.
 Benchmark-Clarence Associates LLC           BVCV Union Plaza LLC
 Benderson 85-1 Trust                        CAC Atlantic LLC
 Benderson Properties Inc.                   Cafaro Northwest Partnership, The
 Berkshire Merrill Road LLC                  CAL Development LLC
 BG Monmouth LLC                             Caldwell Mooney Partners II LP
 BIT Holdings Sixty-Three Inc.               Camden Village LLC
 BIT Investment Twenty Seven LLC             Candlewood Lake Road LLC
 Bowles Village Center LLC                   Canton Corners Ford Road LLC
 Boyer Spring Creek LLC                      Canton Marketplace Owner LLC
 Bradenton I LLC                             Canyon Park West LLC
 BRE DDR Fairfax Town Center LLC             Caparra Center Associates LLC
 BRE DDR Flatacres Marketplace LLC           Capital Mall Land LLC
 BRE DDR IVA Southmont PA LLC                Capstone Marketplace LLC
 BRE DDR Lake Brandon Village LLC            Carson Valley Center LLC
 BRE/Pearlridge LLC                          Caruth Acquisition LP
 BREIT Bingo Holdings LLC                    Castle Ridge Associates
 Brentwood Plaza LLC                         Casto-Oakbridge Venture Ltd.
 Bridgewater Falls Station LLC               CD 2007-CD5 Ed Noble Parkway LLC
 Brighton Mall Associates LP                 Center Developments Oregon LLC
 Bristol-Warner Investors LLC                Centerra Retail Shops LLC
 Brixmor Arborland LLC                       Centerton Square Owners LLC
 Brixmor GA Coastal Landing (FL) LLC         Central Mall Port Arthur Realty Holding
 Brixmor GA Cobblestone Village at St.          LLC
     Augustine LLC                           Central Shopping Centers CC LLC
 Brixmor GA Delta Center (MI) LLC            Centre at Deane Hill GP, The
 Brixmor GA Fashion Corner LLC               Centre at Deane Hill LLC, The
 Brixmor GA Springdale/Mobile LP             CFH Realty III/Senset Valey LP
 Brixmor GA Westminster LLC                  CFH Realty III/Sunset Valley LP
 Brixmor Hale Road LLC                       Champlain Center South Associates LLC
 Brixmor Holdings 6 SPE LLC                  Chandler Festival SPE LLC
 Brixmor Property Owner II LLC               Chandler Village Center LLC
 Brixmor SPE 1 LLC                           Charter Warwick LLC
 Brixmor/IA Delco Plaza LLC                  Chase Green Mountain LP
 Brixton Beaumont LLC                        Chenal Place Properties LLC
 Brixton Rogue LLC                           Cherry Hill Retail Partners LLC
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 Chico Crossroads LP                         Daly City Serramonte Center LLC
 Christiana Town Center LLC                  Dartmouth Marketplace Associates LLC
 Closter Marketplace (EBA) LLC               Davenport CRG LLC
 CMR LP                                      DC USA Operating Co. LLC
 Coastal Grand CMBS LLC                      DDR Carolina Pavilion LP
 Cobb Place Property LLC                     DDR Creekside LP
 Cole MT Folsom CA LP                        DDR Del Sol LLC SE
 Cole San Marcos TX LLC                      DDR Guilford LLC
 College Plaza Station LLC                   DDR Hendon Nassau Park II LP
 Colonies-Pacific LLC, The                   DDR Southeast Loisdale LLC
 Columbia Square Kennewick LLC               DDR Southeast Snellville LLC
 Columbia Tech Center LLC                    DDR Winter Garden LLC
 Columbiana Station E&A LLC                  DDRA Tanasbourne Town Center LLC
 Columbus Town Center II LLC                 DDRM Shoppes of Ellenwood LLC
 Commons at Issaquah Inc.                    DDRTC Marketplace at Mill Creek LLC
 Commons at Sugarhouse LC, The               DDRTC Village Crossing LLC
 Concord Investment Co.                      De Rito/Kimco Riverview LLC
 Congressional North Associates LP           Decatur Realty LLC
 Congressional Plaza Associates LLC          Dedham Real Estate Development LLC
 Conroe Marketplace SC LP                    Delco LLC
 Coral Sky Retail LLC                        Delta & Delta Realty Trust
 CP Venture Five-AV LLC                      DeMoulas Super Markets Inc.
 CP Venture Two LLC                          Denver West Village LP
 CPC Gateway Plaza LLC                       Dewcom LLC
 CPT Arlington Highlands 1 LP                DFG-BBB Monroe LLC
 CPT Louisville I LLC                        Dickman & Chernotsky
 CR Hagerstown LLC                           Dierbergs Osage Beach LLC
 CR Mount Pleasant LLC                       Dillon Ridge Marketplace III LLC
 CR Oakland Square LLC                       DJD Partners 10 LLC
 CR West Ashley LLC                          Dollinger-Ventura Associates
 Credi Chattanooga LLC                       Dollinger-Westlake Associates
 Creekstone Juban I LLC                      Donahue Schriber Realty Group LP
 Crestview Hills Town Center LLC             Dong Koo Kim & Jong Ok Kim Family
 Crocker Park Phase III LLC                      Trust, The
 Crossing at 288 Phase 2 Ltd., The           Dorcich-Vidovich
 Crossroads Canada LLC                       Dothan Pavilion Group LLC
 Crosswinds St. Pete LLC                     Downey Landing SPE LLC
 Crystal Mall LLC                            Downtown Summerlin
 CSHV Woodlands II LP                        DPEG Fountains LP
 CSM West Ridge Inc.                         Dreamland of Asheville Associates LLC
 CT Center S.C. LP                           DRP Market Heights Property Owner LLC
 CTC Phase II LLC                            DRP Tulsa Hills Property Owner LLC
 CVSC LLC                                    DS Properties 18 LP
 CW Northridge Plaza LLC                     DT University Centre LP
 Dadeland Station Associates                 DTL-SGW LLC
 Daly City Partners I LP                     DTR1C-SGW LLC
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 DTS Properties LLC                          First Real Estate Investment Trust of New
 Duluth (Gwinnett) SSR LLC                       Jersey Inc.
 Durango Mall LLC                            Five Points Revocable Trust
 E&A Northeast LP                            Flagler SC LLC
 Eager Road Associates West LLC              Flemington Retail LLC
 East Chase Properties LLC                   Forest Plaza LLC
 Easton Market LLC                           Forum Lone Star LP
 Eastridge Mall Realty Holding LLC           FR Assembly Square LLC
 Edens Plaza SC Owner LLC                    FR Camelback Colonnade LLC
 Edgewood Retail LLC                         Franklin Park SC LLC
 Edison BRMA001 LLC                          Freedom Group LLC
 Edison BRMA002 LLC                          Frontier Plaza LLC
 Edison DENJ001 LLC                          FW Ridge Rock Ltd.
 Edison EHNJ001 LLC                          G&I IX Kildeer LLC
 Edison NNVA001 LLC                          G&I IX Primrose Marketplace LLC
 EIG Grand Island LLC                        G&I VII Carriage Crossing LLC
 EIG Wanamaker LLC                           G3C Temple LLC
 Elite Development Group LLC                 Gainesville Associates
 Elmsford-119 Associates LLC                 Garfield-Southcenter LLC
 Empire East LLC                             Gateway Center Properties II LLC
 Encinitas Town Center Associates I LLC      Gateway Fairview Inc.
 Enid Two LLC                                GBR Holmdel Plaza LLC
 Epps Bridge Centre Property Co. LLC         GC Ambassador Courtyard LLC
 Equity One (Florida Portfolio) LLC          Germantown E&A LLC
 Equity One (Northeast Portfolio) LLC        GF Valdosta Mall LLC
 Equity One (Southeast Portfolio) LLC        GG Midlothian TC LLC
 EREP Broadway Commons I LLC                 GG REIF I Gateway LLC
 Evergreen -1-10 & Ray LLC                   GGCal LLC
 ExchangeRight Value-Add Portfolio 2         GK Holiday Village LLC
     Master Lessee LLC                       GKT Shoppes at Legacy Park LLC
 F&H Sinclair Properties                     Glacier 400 Wilbur LLC
 Fairview Shopping Center LLC                Glimcher SuperMall Venture LLC
 Family Center at Federal Way LLC, The       GLP Flint LLC
 Farley Realty Associates                    GM Realty of Bangor LLC
 Federal Realty - Barracks Road (500-2070)   Golden Isles Plaza LLC
 Federal Realty - Gratiot S.C. (500-1220)    Golden Spectrum Property
 Federal Realty Investment Trust             Governors SPV LLC
 Federal Realty Investment Trust Property    Governors Square Plaza
     #1180                                   Grand Mesa Center LLC
 Federal Realty Investment Trust Property    Grand Plaza Management LLC
     #1217                                   Grandbridge Real Estate Capital LLC
 Federal Realty Partners LP                  Granite Park Retail LLC
 Federated Associates                        GRE Altamonte LP
 FHS Promenade LLC                           GRE Broadmoor LLC
 Fidelity Totowa Associates LLC              Green Ridge Holdings LLC
 Finmarc Wildewood LLC                       Greendale 14 LLC
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 Greenwich Place Partners LLC                Jefferson Pointe SPE LLC
 Grewe LP, The                               Jeffrey Management Corp.
 Grove Court Shopping Center LLC             Jemal’s Boulevard LLC
 Hamilton Commons TEI Equities LLC           Jess Ranch Brea Retail XVI LLC
 Hamilton Properties                         JG Elizabeth II LLC
 Hamilton TC LLC                             JLP Kentwood
 Hanes M. Owner LLC                          JLP-Harvard Park LLC
 HART Miracle Marketplace                    JLPK-Orange Park LLC
 Hart TC I-III LLC                           JLP-Novi LLC
 Har-Zait LLC                                Joule Las Palmas Owner LLC
 Hastings Village Investment Co. LP          Jubilee - Cranberry Equity LLC
 Hawthorne Investors 1 LLC                   Jubilee LP
 HCL Texas Avenue LLC                        Jubilee Square LLC
 HCP Vista Ridge LLC                         KBC Properties
 Heritage House South LLC                    KDMM LLC
 Heritage Plaza LLC                          Keene MZL LLC
 Herricks Mineola LLC                        KFT Enterprises No. 2 LP
 HGREIT Edmondson Road LLC                   Kiemle & Hagood Co.
 Highland Commons Associates LLC             Kimco Savannah 185 Inc.
 Hill Management Services Inc.               KIR Brandon 011 LLC
 Hingham Launch Property LLC                 KIR Bridgewater 573 LLC
 Hitchcock Plaza LLC                         KIR Montgomery 049 LLC
 HLT Partnership LP                          KIR Pasadena II LP
 Holmdel GT LP                               KIR Soncy LP
 Houma LA LLC                                KIR Tukwila LP
 HRTC I LLC                                  KMO-361 (Paramus) LLC
 IA LaQuinta Pavilion LLC                    Kraus-Anderson Inc.
 IA Matthews Sycamore LLC                    KRG Avondale McDowell LLC
 IA Sarasota Tamiami LLC                     KRG Cool Springs LLC
 Ikea Property Inc.                          KRG Leesburg Fort Evans LLC
 IMI Huntsville LLC                          KRG Livingston Center LLC
 Imperial Legacy Enterprises LLC             KRG Market Street Village LP
 Inland Commercial Real Estate Services      KRG McDonough Henry Town LLC
     LLC                                     KRG Miami 19th Street II LLC
 Inland National Real Estate Services LLC    KRG New Hill Place LLC
 International Speedway Square Ltd.          KRG Plaza Green LLC
 IRC Retail Centers                          KRG Rivers Edge LLC
 IRC University Crossings LLC                KRG Shops at Moore LLC
 Ireland Davie Ltd.                          KRG Southlake LLC
 ISM Holdings Inc.                           KRG Sunland LP
 I-Southport LLC                             KRG Temecula Commons LLC
 ITAC 192 LLC                                KSI Cary 483 LLC
 IVT Highlands at Flower Mound LP            La Frontera Improvements LLC
 IVT Parke Cedar Park LLC                    La Habra Westridge Partners LP
 Jaydor Bleeker Realty Sub II                Lake Success Shopping Center LLC
 JDN Real Estate Hamilton LP                 Lakeline Plaza LLC
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 Lakes Mall Realty LLC                      Midstate Owner LLC
 Lane Avenue 450 LLC                        M-III Olathe Station Property LLC
 LaSalle Shopping Center LLC                Mishorim Gold Houston LLC
 Levin Management Corp.                     Mishorim Gold Properties LP
 LG-BBB LLC                                 Mission Valley Shoppingtown LLC
 Lilac19 LP                                 Mission Viejo Freeway Center
 Lindale Holdings II LLC                    Mississippi ADP LLC
 Lindale Holdings LLC                       ML-MJW Port Chester SC Owner LLC
 Livesey East LLC                           MLO Great South Bay LLC
 Loja WTP LLC                               MM/PG (Bayfair) Properties LLC
 LPC Retail Accounting                      Monroeville SC LP
 LTC Retail LLC                             Mooresville Crossing LP
 Lynchburg (Wards Crossing) LLC             Morris Plains Holding UE LLC
 M&D Real Estate LP                         Mountain Grove Partners LLC
 M&J Big Waterfront Market LLC              MP Northglenn LLC
 M.O.R. Snowden Square Limited              MS Flowood LP
     Partnership                            MSS Millburn Realty Co.
 Macerich Lakewood LP                       NADG/TRC Lakepointe LP
 Mad River Development LLC                  National Retail Properties LP
 Magnolia Commons SC LLC                    New Plan of West Ridge LLC
 Main Street at Exton LP                    Newbridge LLC
 Mall at Gurnee Mills LLC                   Newburgh Mall Ventures LLC
 Mall at Potomac Mills LLC                  NEWKOA LLC
 Manalapan UE LLC                           NewMarket Square Ltd.
 Manhattan Marketplace Shopping Center      News Co. LLC
     LLC                                    Newtown Bucks Associates LP
 Mansell Crossing Retail LP                 North Attleboro Marketplace II LLC
 Marin Country Mart LLC                     North Massepequa LLC
 Marketplace at Vernon Hills LLC            North Park Crossing LC
 Marketplace West Partners LLC              North Village Associates
 Maverick Investors LLC                     Northeast Holdings LLC
 McAllen TX LLC                             Northgate Mall Partnership
 McKinley Mall Realty Holding LLC           Northington Mechanicsburg Investors LLC
 MCS-Lancaster De Holding LP                Northville Retail Center Joint Venture LLC
 MCV23 LLC                                  Northway Mall Properties LLC
 MDC Coastal I LLC                          Northwoods III (San Antonio) LLC
 Medistar Parkwest JV Ltd.                  NP Royal Ridge LLC
 Meridian Kellogg LLC                       NPMC Retail LLC
 Meridian Mall LP                           NPP Development LLC
 Metropolitan Life Insurance Co.            Oak Leaf Property Management LLC
 MFC Longview LLC                           Oak Street Investment Grade Net Lease
 MFS Eastgate-I LLC                            Fund Series 2021-1 LLC
 MGP IX Properties LLC                      Oak Street Investment Grade Net Lease
 MGP XII Magnolia LLC                          Fund Series 2021-2 LLC
 Middletown I Resources LP                  Oakland Iron Works Associates
 Middletown Shopping Center I LP            Oaks Square Joint Venture
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 Ogden CAP Properties LLC                     Prescott Gateway Mall Realty Holding LLC
 Old Bridge Market Place II LLC               Presidential Markets
 Olivet Kom LLC                               Price/Baybrook Ltd.
 OLP Champaign Inc.                           PRLHC Annapolis Town Center Parole
 Onni Burbank Town Center LLC                     162302
 Oracle Plaza LLC                             Promenade Delaware LLC
 Orchard Hill Park                            Promenade D’Iberville LLC, The
 ORF V Sugarcreek Plaza LLC                   PRU/Desert Crossing II LLC
 ORF VII Felch Street LLC                     PTC TX Holdings LLC
 ORF VII Pelican Place LLC                    PT-USRIF Meridian LLC
 Overton Park Plaza Associates LLC            QCM Partners LLC
 Pace - 64 Associates LLC                     Quail Creek Crossing Ltd.
 Pacific Coast Highway Property LLC           R&F Garden City LLC
 Pagosa Partners III Ltd.                     R.E.D. Capital Management LLC
 Palouse Mall LLC                             R.K. Associates VIII Inc.
 Panama City Beach Venture II LLC             R.K. Middletown LLC
 PAPF Dimond LLC                              RAF Jackson LLC
 PAPF Redding LLC                             RAF Johnson City LLC
 Pappas Laguna LP                             RAF Lake Charles LLC
 Paramount JSM at Jenkintown LLC              Rainbow Arroyos Commons LLC
 Paramount Newco Realty LLC Upland            Rainier Colony Place Acquisitions LLC
 Paramount Plaza at Brick LLC                 Rainier Summit Woods Acquisitions LLC
 Park West Village Phase I LLC                Ramco-Gershenson Properties LP
 Parkmall LLC                                 Ramsey Interstate Center LLC
 Parkway Crossing East Shopping Center LP     Ranch Town Center LLC
 Partridge Equity Group I LLC                 Rancho Dowlen LLC
 Patterson Place Durham LLC                   Rancho Texarkana Investors LLC
 Pavilions at Hartman Heritage LLC            Ravid Lake St. Louis II LLC
 Pearland RJR LLC                             RCG-Sparks LLC
 Pergament Mall of Staten Island LLC          Realty Income Properties 27 LLC
 Perrysburg Enterprise LLC                    Redfield Promenade LP
 Petoskey Mall Associates LLC                 Redlands Joint Venture LLC
 PGS Burlington                               Regency Centers LP
 Pinnacle North II LLC                        Regent Shopping Center Inc.
 Pioneer Hills SPE LLC                        Rehoboth Gateway LLC
 Pittsburgh Hilton Head Associates            Revesco (USA) Properties of Bozeman LP
 Pivotal 650 California St. LLC               Richards Clearview LLC
 PL Dulles LLC                                Ridge Park Square LLC
 Pleasant Hill Crescent Drive Investors LLC   Ridgeport LP
 PMAT Waterside LLC                           River Park Properties II
 PMH Properties LLC                           Riverchase Crossings LLC
 Pontiac Mall LP                              Riverdale Center North LLC
 Poughkeepsie Plaza Mall LLC                  Riverview Plaza (E&A) LLC
 PP-Gaston Mall LLC                           Riviera Center Properties HITF
 Premier Centre LLC                           RK Coral Palm Plaza LLC
 Premium Properties LLC                       RK Hialeah LLC
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 RK Pembroke Pines LLC                     Seritage SRC Finance LLC
 RK Southington LLC                        Serota Islip NC LLC
 Rockaway Town Court LLC                   SF WH Property Owner LLC
 Rockwall Crossing Ltd.                    Shadowwood Square Ltd.
 Rogers Retail LLC                         Shelby Corners RE Holdings LLC
 ROIC California LLC                       SHI Owner LLC
 Rolling Hills Plaza LLC                   Shiloh Venture LLC
 Ronald Benderson 1995 Trust               Shoppes at Hamilton Place CMBS LLC,
 Rosedale Commons LP                           The
 Rosemont 2019 LLC                         Shoppes at Wilton LLC, The
 Route 206 Northbound LLC                  Shops at Summerlin South LP, The
 Roxville Associates                       Shops of Tupelo LLC, The
 RPAI Butler Kinnelon LLC                  Shreve Center DE LLC
 RPAI King’s Grant II LP                   Shrewsbury Commons
 RPAI Lakewood LLC                         Siegen Lane Properties LLC
 RPAI San Antonio Huebner Oaks GP LLC      Sigfeld Realty Marketplace LLC
 RPAI Southwest Management LLC             Silvertown Inc.
 RPI Interests II Ltd.                     Simon Property Group LP
 RPT Realty LP                             Simsbury Commons LLC
 RPT Terra Nova Plaza LLC                  SIPOC LLC
 RREEF America REIT II Corp. MM            Sir Barton Place LLC
 Running Hill SP LLC                       Site C LLC
 Ruscio Management LLC                     Skyway Regional Shopping Center LLC
 Rushmore Crossing Associates LLC          SLO Promenade DE LLC
 RXR 620 Master Lessee LLC                 SM Eastland Mall LLC
 S & E Realty Co. Inc.                     South Frisco Village SC LP
 Salmar Properties LLC                     South Town Owner PR LLC
 Sandusky Pavilion                         SOUTHAVEN TOWNE CENTER II LLC
 Santa Fe Mall Property Owner LLC          Southgate Mall Montana II LLC
 Santa Rosa Town Center                    Southridge Plaza LLC
 SanTan MP LP                              SP Bossier LLC
 Santee Trolley Square 991 LP              Sparkleberry Square
 Sanzari 89 Associates LP                  SPG Doral Retail Partners LLC
 Saul Holdings LP                          Spirit VC Victoria TX LLC
 Savi Ranch Group LLC                      Spring Creek Improvements LLC
 Sayville Plaza Development Co.            Spring Ridge LP
 SBLO Barrett Pavilion LLC                 Springfield Plaza LLC
 SCA Tree 1 LLC                            SREIT Palm Beach Lakes Blvd LLC
 Schnitzer Stephanie LLC                   SRK Lady Lake 21 SPE LLC
 Scottsdale Fiesta Retail Center LLC       SRL Crossings at Taylor LLC
 SDC/Pacific/Youngman-Santa Ana            St. Cloud Rainbow Village LLC
 Seaview Acquisition LLC                   Star-West Chicago Ridge LLC
 Sebanc, Allan A.                          Stone Creek Retail LLC
 Sebanc, Beverly M.                        Stop & Shop Supermarket Co. LLC, The
 Section 14 Development Co.                Stram Associates
 SEP Augusta LLC                           Strip Delaware LLC, The
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 Studio City East 93K LLC                  Tyler Broadway/Centennial LP
 Sunbury Gardens Realty Co.                UB Stamford LP
 Sunmark Property LLC                      UE 675 Paterson Avenue LLC
 Sunnybrook Partners LLC                   UE 675 Route 1 LLC
 Sunrise Mills (MLP) LP                    UG2 Solon OH LP
 Sunset & Vine Apartment                   UH US Lynncroft 2019 LLC
 Sunset Hills Owner LLC                    University Mall Realty LLC
 Super LLC                                 University of Louisville Real Estate
 Surprise Marketplace Holdings LLC             Foundation Inc.
 SVAP II Creekwalk Village LLC             Uptown Group LLC
 Sycamore Browns Valley LLC                Urstadt Biddle Properties Inc.
 Taft Corners Associates                   US 41 AND I-285 Co. LLC
 Talisman Towson LP                        US REIF Joliet SC Fee LLC
 Tamarack Village Shopping Center LP       USPP Fischer Market Place LLC
 Target Jefferson Boulevard LLC            UTC LP
 TCSC LLC                                  V & V 224 Ltd.
 Telegraph Marketplace Partners II LLC     V&V Stores Inc.
 TFP Limited Real Estate Development       Valencia Marketplace I LLC
 THF Harrisonburg Crossings LLC            Valley and Plainfield Associates LP
 THF Shawnee Station LLC                   Valley Hills Mall LLC
 THF/MRP Tiger Town LLC                    Valley Square I LP
 Thoroughbred Village LLC                  VAM Ltd.
 TJ Center LLC                             Vestar Best In The West Property LLC
 TKG - Manchester Highlands Shopping       VF Center Associates LP
     Center LLC                            Village Developers
 TKG Biscayne LLC                          W/S Brunswick Properties II LLC
 TKG Coral North LLC                       W/S Hadley Properties II LLC
 TKG Logan Town Centre LP                  W-ADP Harvest Junction OP Owner VIII
 TKG Monroe Louisiana 2 LLC                    LLC
 TKG Mountain View Plaza LLC               Waldorf Shopper’s World
 TKG Paxton Towne Center Development       Wallace Real Estate Co.
     LP                                    Watchung Square Associates LLC
 TKG Woodmen Commons LLC                   Water Tower Square Associates
 TL Street Marketplace NE LLC              Waterford Lakes Town Center LLC
 Totowa UE LLC                             WBP Central Associates LLC
 Tower Burlington LLC                      WCK LC
 Town & Country (CA) Station LP            Weatherford Dunhill LLC
 Town Pointe Associates                    Weingarten Nostat Inc.
 TPC Stonewall Investors I LC              Weingarten Realty Investors - Co. 001
 TPP 207 Brookhill LLC                     West 64th Street LLC
 TPP Bryant LLC                            Westgate Mall CMBS LLC
 Trahwen LLC                               Westminster Crossing East LLC
 TREA NW Forum at Carlsbad Owner LLC       Wethersfield Shopping Center LLC
 Truss Realty Co.                          WF Kingsbury Center LLC
 TSO Winchester Station LP                 White Goose LLC
 Tucson Shopping Center LLC                Whitemak Associates
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 Whitemak Associates & PREIT
 Whitestone Eldorado Plaza LLC
 Widewaters Group Inc., The
 Willowbrook Town Center LLC
 Will-Ridge Associates LLC
 Windsor Park Estates Silverdale LLC
 WM Acquisition Delaware LLC
 WM Associates LP
 WMG Meadows LLC
 Wood Stone Plano Partners LLC
 Woolbright Wekiva LLC
 WR Partners LLC
 WRG Homestead LLC
 WRI Mueller LLC
 WRI/Raleigh LP
 WRI-URS South Hill LLC
 Wutsboro Associates LLC
 ZP No. 171 LLC
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                                 SCHEDULE 1(m)
                                   Lender Advisor

 FTI Consulting Inc.
 M3 Partners LP
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                                   SCHEDULE 1(n)
                               Letter of Credit Beneficiary

 Agua Mansa Commerce Phase I
 American Alternative Insurance (BBB)
 American Alternative Insurance (CTS)
 Arch Insurance Co.
 BHF International Ltd.
 Bissell International Trading
 Breville USA Inc.
 Chubb - Federal Insurance
 CIT Group, The/Commercial Services
 Dyson Canada Ltd.
 Dyson Inc.
 JB Hunt Transport Inc.
 Mattel Inc.
 Milberg Factors Inc.
 Monahan Products LLC
 National Cart LLC
 Newell Brands Inc.
 North American Corp. of Illinois
 RXR 620 Master Lessee LLC
 Safety National Casualty
 Sentry Insurance
 Travelers Casualty & Surety Co.
 Trisura Insurance
 United States Fidelity & Guaranty
 Welspun USA Inc.
 Whirlpool Corp.
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                               SCHEDULE 1(o)
                            Letter of Credit Provider

 Bank of America NA
 JPMorgan Chase Bank NA
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                                       SCHEDULE 1(p)
                                          Litigation

 Abram, Harwick Chya                              Raslavich, Anna
 AML IP LLC                                       Reimer, Ruhi
 Amos, Sadina                                     Richmond, Simon Nicholas
 Anderson, Carol                                  Sawgrass
 APS&EE                                           Schaumburg, Village of (IL)
 Augenbaum, Todd                                  Si, Pengcheng
 Bell, Ema                                        Smith, Patricia
 Blue Cross Blue Shield (Anthem)                  Spalding, James
 Burt-Deasy, Kelly                                SSS Village at West Oaks
 CA 5-15 West 125th LLC                           Systems LLC
 CAC Atlantic LLC                                 Team Worldwide Corp.
 Cahill, Doreen                                   Topalli, Leutrim
 California, State of                             Waite, Joshua
 Cohen, Judith                                    Williams & Frost Specialty Group
 Council for Education & Research on              World Market of Texas LLC
     Toxics
 Davaco Inc.
 Davis, Chuck
 Decatur Mall
 Design Toscano
 Emcor Facilities Services Inc.
 Environmental Health Advocates
 Floriey Industries
 Fox River Commons
 Frederick, Randall
 Freeman, Alan
 Gastelum, Fernando
 Georgiou, Katerina
 Giebe, Michael
 Hayden, Shadi
 Hess, Donald
 Johnson, Jeffrey
 Kelly, Whitney
 Kingston, Donette
 Lopez, Florencia
 Mediant Communications Inc.
 Munday, Janice
 Newburgh Mall Ventures
 Only Kids Apparel LLC
 Padilla, Elizabeth
 Patrick, Jeremy
 Place Services
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                                        SCHEDULE 1(q)
                             Office of the United States Trustee & Judge

 Alfaro, Adela
 Ardelean, Kirsten K.
 Arendas, Francyne D.
 Artis, Michael
 Bielskie, Lauren
 D’Auria, Peter J.
 Fuentes, Neidy
 Gerardi, David
 Green, Tia
 Hildebrandt, Martha
 Kern, Joseph C.
 Kropiewnicki, Daniel C.
 McGee, Maggie
 Nikolinos, Alexandria
 Oppelt, Tina L.
 Ortiz-Ng, Angeliza
 Papalia, Vincent F.
 Schneider, Robert J., Jr.
 Shaarawy, Adam
 Sponder, Jeffrey
 Steele, Fran B.
 Stives, James
 Vara, Andrew
 Ziemer, William J.
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                                     SCHEDULE 1(r)
                                Ordinary Course Professional

 AnyBill
 Avalara
 Crowell & Morning LLP
 Deloitte
 Epstein Becker & Green PC
 Faegre Drinker Biddle & Reath LLP
 Greenspoon Marder LLP
 Hill Ward & Henderson PA
 Huth Reynolds LLP
 Jackson Lewis PC
 KPMG
 Lerner David LLP
 Lester Schwab Katz & Dwyer LLP
 Mackay Law Inc.
 McKool Smith
 Morgan Lewis & Bockius LLP
 Norton Rose Fulbright US LLP
 Osler Hoskin & Harcourt LLP
 Perkins Coie LLP
 PricewaterhouseCoopers International Ltd.
 Pryor Cashman
 Riker, Danzig, Scherer, Hyland & Perretti LLP
 Transaction Tax Resources Inc.
 Vintage Law LLC
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                                       SCHEDULE 1(s)
                                        Secured Lender

 Bank of America NA
 Bank of Montreal
 Capital One NA
 Goldman Sachs Bank USA
 JPMorgan Chase Bank NA
 MUFG Union Bank NA
 PNC Bank NA
 Sixth Street Lending Partners
 Sixth Street Specialty Lending Inc.
 TAO Talents LLC
 TD Bank NA
 Truist Bank
 Webster Bank
 Wells Fargo Bank NA
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                                   SCHEDULE 1(t)
                                        Trade

 Accenture LLP                                  Crossmark Inc.
 Acosta Inc.                                    Crystal of America
 ActionLink Services LLC                        Cuisinart Inc.
 Aden & Anais Inc.                              Cybersource Corp.
 Adobe Systems Inc.                             Data Networks
 Afa Protective Systems Inc.                    Datapipe Inc.
 Akamai Technologies Inc.                       Davaco Inc.
 Apollo Retail Specialists LLC                  Deloitte Consulting LLP
 Applied Predictive                             Design Productions
 Appriss Retail                                 Displaymax Inc.
 Artsana USA Inc.                               DRM Waste Management Inc.
 Assemble Partners                              Dyson Canada Ltd.
 Atlas Sign Industries Inc.                     Dyson Inc.
 Babybjorn Inc.                                 E. Mishan & Sons Inc.
 Bay Island LLC                                 Euro-Line Appliances Inc./CA/VDC
 Beachwaver Co., The                            Evenflo Co. Inc.
 Berkshire Blanket & Home Co. Inc.              Everyday Health Inc.
 Blendjet Inc.                                  Exploramed NC7 Inc.
 Blue Yonder Inc.                               F 3 Metalworx Inc.
 Breville USA Inc.                              Facebook Inc.
 Bridgetree LLC                                 Federal Heath Sign Co. LLC
 Britax Child Safety Inc.                       Federated Service Solutions
 Broadridge                                     First Data Corp. Integrated Pay
 Butterblu LLC                                  Fisher Price Baby Gear
 Caliber Americas LLC                           Fisher Price Toys
 Caraway Home Inc.                              Flexprint LLC
 Carpenter Co.                                  Fridababy LLC
 Carrier Corp.                                  Funder America Inc.
 CCA & B LLC                                    GFA Inc.
 Cella Inc.                                     Gibson Overseas Inc.
 Centric Software Inc.                          Ginsey Industries Inc.
 Chain Store Maintenance Inc.                   Gotham Technology Group LLC
 Cisco Systems Capital Corp.                    Granite Telecommunications LLC
 CitrusAd International Inc.                    Hallmart Collectibles Inc.
 Cleary Gottlieb Steen & Hamilton LLP           Halo Innovations Inc.
 Comfort Revolution                             Halo Innovations Inc./VDC
 Comm Works LLC                                 Hilco Merchant Resources LLC
 Commerce Technologies LLC                      Himatsingka America Inc.
 Commission Junction Inc.                       Holt Construction Corp.
 Continental Web Press Inc.                     Homedics USA LLC
 Copper Pearl Inc.                              Hudson’s Holiday Helpers
 Coway USA Inc.                                 IBM Corp. TR4
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 IDX LLC                                     NCR Corp.
 Inside Edge Commercial Interior Services    Newell Brands Canada ULC/CA/VDC
     LLC                                     Noritake/VDC
 Intelligrated Systems LLC                   North American Corp.
 Intersoft Data Labs Inc.                    NTT America Inc.
 Iron Mountain Records Management            OMI Industries Inc.
     Services                                One Network Enterprises Inc.
 Itential Inc.                               Oracle America Inc.
 JB Hunt Transport Inc.                      Pem America Inc.
 Jonathan Y Designs Inc.                     Philips Consumer Lifestyle BV
 KAZ USA Inc. PUR                            Ping Identity Corp.
 KDM POP Solutions Group                     Pinterest Inc.
 Keeco LLC / Poly-Filled Bed Pillow          Place Services Inc.
 Kepler Group LLC                            Premier Workforce Inc.
 Keurig Green Mountain Inc.                  PRGX USA Inc.
 KitchenAid Portable Appliances              Pros Choice Beauty Care Inc.
 Knot Worldwide Inc., The                    Quantum Metric Inc.
 Kone Inc.                                   Rackspace Hosting Inc.
 KPMG LLP                                    Redwood Supply Chain Solutions
 KPRS Construction Services Inc.             Resource Plus of North Florida Inc.
 Kreber Inc.                                 ReStore Capital LLC
 Krups Rowenta Inc.                          Richards Homewares Inc.
 Lennox National Account Services Inc.       Riskified Inc.
 Levtex LLC                                  RR Donnelley & Sons Co.
 Lifetime Brands Inc.                        Ryder Integrated Logistics Inc.
 Logixal Inc.                                Safavieh Inc.
 M Booth & Associates LLC                    Sailpoint Technologies Inc.
 Madix Inc.                                  Salesforce.Com Inc.
 Manhattan Associates Inc.                   Sama Plastics Corp.
 Marlite Inc.                                SAS Institute Inc.
 MCG Architecture                            SBC Advertising Ltd.
 Merchsource LLC                             Schneider Logistics Inc.
 Merkle Inc.                                 SF Home Decor LLC
 Metro One Loss Prevention Services Group    Sharkninja Operating LLC
     Inc.                                    Simply Mommy LLC/Snuggle Me
 Microsoft Online Inc.                       Skip Hop Inc.
 Million Dollar Baby/VDC                     Spin Master Inc.
 Mirakl Inc.                                 St. George Distribution Corp.
 Mle Development Ltd.                        Storflex Fixture Corp.
 Mobile Mini Texas Ltd.                      Studio Mococo LLC
 Modern Space Pacific Services               Sumologic Inc.
 Morning Consult LLC, The                    Sun Industrial Inc.
 My Move LLC                                 Sunbeam Products Inc./Calphalon
 Narrativ Co. Inc., The                      Swiftwin Solutions Inc.
 National Tree Co.                           Tata Consultancy Services Ltd.
 Navco Security Systems                      Tealium Inc.
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 Technibilt Ltd.
 Tempur-Pedic North America LLC
 Teradata Corp. Inc.
 Testrite Products Corp.
 Tineco Intelligent Inc.
 Tms Construction Inc.
 Toshiba GCS
 Tyco Integrated Security LLC
 Udisense Inc./Nanit
 United Rentals Inc.
 US Maintenance
 VeriFone Inc.
 Verizon Business Network Services Inc.
 Verizon Wireless Services LLC
 Vornado Air LLC
 Walker Edison Furniture Co. LLC
 Wamsutta
 Werner National LLC
 Wesco Services LLC
 William Carter Co.
 Williams & Frost Specialty Group
 Wilton Industries Inc.
 World Distribution Services
 Wunderkind Corp.
 Yard NYC
 Zadro Inc.
 Zemoga Inc.
 Zipline LLC
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                                     SCHEDULE 1(u)
                                        UCC Lien

 American Greetings Corp.
 Dimension Data North America Inc.
 Hallmark Marketing Co. LLC
 JPMorgan Chase Bank NA
 Papyrus-Recycled Greetings Inc.
 Somerset Capital Group Ltd.
 Voxx Accessories Corp.
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                                    SCHEDULE 1(v)
                                  Unsecured Noteholder

 1832 Asset Management LP                      Finlabo SIM SpA
 AllianceBernstein LP (US)                     Flow Traders U.S. LLC
 Alta Capital Management LLC                   Foxhill Capital Partners LLC
 Altrius Capital Management Inc.               Franklin Advisers Inc.
 Ameritas Life Insurance Corp. of New York     GIA Partners LLC
 APG Asset Management US Inc.                  Goldman Sachs Asset Management LP (US)
 AQS Asset Management LLC                      GSO Capital Partners LP
 Aristotle Capital Management LLC              Healthcare of Ontario Pension Plan
 Asset Allocation & Management Co. LLC         Highbridge Capital Management LLC
 Aviary Capital Enterprises Inc.               Hotchkis & Wiley Capital Management
 Banco de Sabadell SA                              LLC
 Bank of America Merrill Lynch Proprietary     HSBC Bank PLC
     Trading                                   International City Management Association
 Barclays Capital Inc.                             Retirement Corp.
 Bivium Capital Partners LLC                   Invesco Advisers Inc.
 BlackRock Advisors LLC                        Invesco Capital Management LLC
 Blackstone Liquid Credit Strategies LLC       JPMorgan Investment Management Inc.
 BlueCrest Capital Management (U.K.) LLP       JPMorgan Securities LLC
 BNP Paribas Asset Management France           KSKJ Life American Slovenian Catholic
 BNP Paribas Securities Corp.                      Union
 BondBloxx Investment Management Corp.         Lawson Kroeker Investment Management
 BVK- Beamtenversicherungskasse des                Inc.
     Kantons Zurich                            LM Capital Group LLC
 Cable Car Capital LLC                         Lombard Odier Asset Management Europe
 California Public Employees Retirement            Ltd.
     System                                    MacKay Shields LLC
 Canal Insurance Co.                           Manhattan Life Insurance
 CapitalatWork Foyer Group SA                  Manning & Napier Advisors LLC
 Carillon Tower Advisers Inc.                  Marathon Asset Management Ltd.
 CastleKnight Management LP                    Mellon Investments Corp.
 Catholic Family Fraternal of Texas            Millennium Advisors LLC
 Chartwell Investment Partners LLC             Miller Value Partners LLC
 Chicago Capital LLC                           Mirabaud Asset Management Ltd.
 CIGNA Investments Inc.                        Mont Blanc Capital Management AG
 Citigroup Global Markets Inc.                 Morgan Stanley & Co. LLC
 Croatian Fraternal Union of America           Murchinson LP
 CTC Alternative Strategies Ltd.               Muzinich & Co. Inc.
 DBX Advisors LLC                              Napier Park Global Capital (US) LP
 Deutsche Bank Securities Inc.                 New Jersey, State of, Division of Investment
 Diamond Insurance Group Ltd.                  New York, City of (NY), Comptroller’s
 FBL Investment Management Services Inc.           Office
 Fidelity Management & Research Co. LLC        Northern Trust Global Investments Ltd.
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 Northwestern Mutual Investment
     Management Co. LLC
 Nykredit Bank AS
 Oppenheimer Asset Management Inc.
 Pension Reserves Investment Management
     Board
 PFA Asset Management AS
 PGIM Inc.
 Pharus Management SA
 PNC Bank NA
 Russell Investment Management LLC
 Safeway Insurance Group
 Safra Securities LLC
 Seix Investment Advisors LLC
 Selected Funeral & Life Insurance Co.
 SG Americas Securities LLC
 Shlomo Holdings Ltd.
 SMH Capital Advisors LLC
 Squarepoint OPS LLC
 State Street Global Advisors
 SumRidge Partners LLC
 Tennessee Farmers Mutual Insurance Co.
 TOBAM
 UBS Securities LLC
 USA Life One Insurance Co. of Indiana
 Van Eck Associates Corp.
 Verition Fund Management LLC
 Virtus Investment Advisers Inc.
 Western Asset Management Co. LLC
 Zest SA
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                                     SCHEDULE 1(w)
                                        Utility Provider

 Aberdeen, Town of (NC)                            Auburn, City of
 Abilene, City of (TX)                             Auburn, Town of
 AES Indiana                                       Augusta Utilities Department
 AES Ohio                                          Aurora Water
 Aiken, City of (SC)                               Austin, City of (TX)
 Alabama Power Co.                                 Autoridad de Acueductos y Alcantarillados
 Albuquerque Bernalillo County                         (Central)
 Alderwood Water & Wastewater District             Avista
 Alectra Utilities                                 Avondale, City of (AZ)
 Alectra Utilities Corp.                           AW Billing Services LLC
 Alexandria, City of (LA)                          Bakersfield, City of (CA)
 Alliant Energy IPL                                Baldwin EMC
 Alliant Energy WP&L                               Bangor Natural Gas
 Alliant Energy WPL                                Bangor Water District
 Altamonte Springs, City of (FL)                   Baton Rouge Water Co.
 Altoona Water Authority                           BC Hydro
 Ameren Illinois                                   BCWSA
 Ameren Missouri                                   Beaches Energy Services
 American Electric Power                           Beaufort Jasper
 American Water & Energy Savers                    Beaumont, City of
 American Water Works Co. Inc.                     Beaverton, City of
 Ammon, City of (ID)                               Bel Air, Town of (MD)
 Ann Arbor, City of (MI), Water Utilities          Belleville, City of (Ontario)
 Antioch, City of                                  Bellingham, City of (WA)
 Appalachian Power                                 Bend, City of (OR), Utilities
 Apple Valley, City of (MN)                        Benton PUD
 APS                                               Berkshire Gas Co.
 Aqua Illinois Inc.                                Beverly Hills Water Department
 Aqua Indiana                                      BGE
 Aqua New Jersey                                   Billings, City of (MT)
 Aqua Ohio Inc.                                    Bismark, City of (ND), Water Department
 Aqua Pennsylvania                                 Black Hills Energy
 Aquarion Water Co. of CT                          Boca Raton, City of (FL)
 Arkansas Oklahoma Gas Corp.                       Boise City Utility Billing
 Arnold Line Water                                 Bossier City Utilities Department
 Asheville, City of (NC)                           Bowling Green Muni Utilities
 Ashwaubenon Water & Sewer Utilities               Boynton Beach, City of (FL)
 ATCO Energy                                       Bozeman, City of (MT)
 Atlanta, City of (GA)                             Bradley, Village of (IL)
 Atlantic City Electric                            Braintree Electric Light Department
 Atmos Energy                                      Braintree Water & Sewer Department
 Auburn Water District                             Brantford Power Inc.
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 Brantford, City of (Ontario)                 Chattanooga Gas
 Brazoria County Mud #6                       Chattanooga, City of (TN)
 Brick Township MUA                           Chesterfield, County of (VA)
 Brighton, City of                            Chicago Ridge, Village of (IL)
 BrightRidge                                  Christiansburg, Town of (VA)
 Bristol Tennessee Essential Service          Chugach Electric Association
 Bristol, City of (TN), Finance Department    Citizens Energy Group
 Brixmor Holdings 11 SPE LLC                  Citizens Westfield Utilities
 Brodhead Creek Regional Authority            City Utilities
 Brookfield, City of (WI), Utilities          City Water, Light & Power
 Broward County Water & Wastewater            Clackamas River Water
     Services                                 Claremont, City of (NC)
 Brunswick Glynn County Joint                 Clark County Water Reclamation District
 Buena Park, City of (CA)                     Clark Public Utilities
 Buford, City of (GA)                         Clarksville Department of Electricty
 Burlington, City of (NC)                     Clarksville Gas & Water
 Burlington, Town of                          Clarksville Wastewater Treatment
 Butler County Water & Sewer Department           Department
 Butler, Borough of (NJ)                      Clearwater, City of
 California Water Service                     Cleco Power LLC
 California Water Service Co.                 Cleveland, City of (OH), Division of Water
 Cambridge, Corporation of the City of        Coachella Valley Water District
     (Ontario)                                Coast EPA
 Canton Township Water Department             Cocoa, City of (FL)
 Cape Coral, City of (FL)                     Coeur d’Alene, City of (ID)
 Cape Fear Public Utility Authority           Cole MT San Marcos TX LLC
 Capital Electric Cooperative Inc.            College Station Utilities
 Carbondale Water & Sewer                     Collier County Utilities
 Carle Place Water District                   Colonie, Village of (NY), Water District
 Carroll Electric Cooperative Corp.           Colorado Springs Utilities
 Cary, Town of (NC)                           Columbia Gas of Kentucky
 Cascade Natural Gas                          Columbia Gas of Maryland
 Caseyville Township Sewer                    Columbia Gas of Ohio
 Cass County Electric Cooperative             Columbia Gas of Pennsylvania
 Cedar Rapids Municipal Utility               Columbia Gas of Virginia
 Centerpoint Energy                           Columbia, City of (MO)
 Central Arkansas Water                       Columbus Water Works
 Central Hudson Gas & Electric Corp.          ComED
 Central Maine Power                          Con Edison
 Chandler, City of (AZ)                       Concord, City of (NH)
 Charles County Government                    Connecticut Natural Gas Corp.
 Charleston Water System                      Connecticut Water Co., The
 Charlotte, County of (FL), Utilities         Conroe, City of (TX)
 Charlottesville, City of (VA)                Conservice
 Charter Township of Chesterfield             Consolidated Edison Co. of NY
 Charter Township of Meridian                 Consolidated Utility District
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 Consolidated Waterworks Dist 1             Dubuque, City of (IA)
 Consumers Energy                           Duke Energy Corp.
 Contra Costa Water District                Duke Energy Corp., Payment Processing
 Coral Springs Improvement District         DuPage County Public Works
 Coralville, City of (IA)                   Duquesne Light Co.
 Core Electric Cooperative                  Durham, City of (NC)
 Corpus Christi, City of (TX)               East Brunswick Township Water Sewer
 Cortlandt, Town of (NY)                    East Hanover, Town of (NJ)
 Coserv                                     East Lampeter, Township of (PA)
 Cowlitz PUD                                Easton Suburban Water Authority (PA)
 CPS Energy                                 Eastward Energy Inc.
 Crystal Lake, City of (IL)                 Edmond, City of (OK)
 Cuivre River Electric Cooperative          El Paso Electric
 Dakota Electric Association                El Paso Water Utilities Inc.
 Dallas, City of (TX)                       Electric City Utilities
 Daly City, City of (CA)                    Elexicon Energy
 Danvers, Town of (MA)                      Elizabethtown Gas Co.
 Danvers, Town of (MA), Water & Sewer       Elizabethtown, City of (KY), Utilities
 Daphne Utilites                            Elmsford, Village of (NY)
 Dartmouth, Town of (MA)                    Enbridge
 Davenport, City of                         Enbridge Gas Distribution Inc.
 Dayton Power & Light Co.                   Enbridge Gas Inc.
 Daytona Beach, City of (FL)                Energie NB Power
 Dedham Westwood Water District             Energy West Montana Inc.
 Delmarva Power                             Energy+ Inc.
 Delray Beach, City of (FL)                 Engie Resources LLC
 Delta, Charter Township of (MI)            ENMAX
 Denton, City of (TX)                       Enstar Group Ltd.
 Denver Water                               Entergy Corp.
 Destin Water Users Inc.                    Entergy Texas Inc.
 Diberbille, CIty of (MS)                   EPB Ltd.
 Dillon, Town of (CO)                       EPCOR Electricity Distribution Inc.
 Direct Energy Business LLC                 EPCOR Inc.
 Direct Energy Regulated Services           Erie, County of (OH), Sewer & Water
 Dixie Electric Cooperative Inc.            Eugene Water & Electric Board
 Dominion Energy Inc.                       Euless, City of (TX)
 Dominion Energy Ohio Inc.                  Eureka, City of (CA)
 Dominion Energy South Carolina Inc.        Evergy Inc.
 Dominion Energy Virginia Inc.              Eversource Energy
 Dothan Utilities                           Fairclough Propane
 Dothan, City of (AL)                       Fairfax Water
 Downers Grove Sanitary District (IL)       Fargo, City of (ND)
 Downers Grove, Village of (IL)             Fayetteville Public Works Commission
 Downey, City of (CA)                       Federal Realty Investment Trust
 DTE Energy Co.                             First Real Estate Investment Trust
 Dublin San Ramon Services District         Flathead Electric Cooperative Inc.
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 Flint Electric Membership Corp.              Greater Peoria Sanitary District
 Florence Utilities Dept.                     Green Mountain Power Corp.
 Florence, City of                            Greenlawn Water District
 Florida City Gas                             Greensboro, City of (NC)
 Florida Power & Light Co.                    Greenville Utilities Commission
 Florida Power & Light Northwest FL           Greenville Water
 Florida Public Utilities Co. Inc.            Greenwood Sanitation Dept.
 Flower Mound, Town of (TX)                   GRI-EQY Presidential Markets LLC
 Flowood, City of (MS)                        Gulf Power Co.
 Fort Bend Co. Water Control &                Gulf Shores, City of (AL)
     Improvement District #2                  Gurnee, Village of (IL)
 Fort Collins Utilities                       Hadley, Town of
 Fort Lauderdale, City of (FL)                Hamilton, Township of (NJ)
 Fort Wayne, City of (IN), Water Utilities    Hardin, County of (KY), Water District #2
 Fort Worth, City of (TX), Water Department   Harker Heights, City of (TX)
 FortisBC Electricity                         Harpeth Valley Utilities District
 FortisBC Natural Gas                         Harrisonburg Electric Commission
 Foxborough, Town of (MA)                     Harrisonburg, City of (VA)
 Frankfort, Village of (NY)                   Hattiesburg, City of (MS)
 Franklin, City of (IN), Board of Public      Hawaiian Electric Co.
     Works                                    Helena, City of (MT)
 Frederick, County of (MD)                    Hempstead, Town of (NY), Department of
 Fredericksburg, City of                          Water
 Fredericton, City of (New Brunswick)         Henrico, County of (VA), Utility
 Fresno, City of (CA)                         Hernando, County of (FL), Utilities
 Frisco, City of (TX)                             Department
 Fruitland Mutual Water Co.                   Hialeah, City of (FL)
 Fruitport, Charter Township of (MI)          Hickory, City of (NC)
 Gainesville Regional Utilities               Hill Management Services Inc.
 Gainesville, City of                         Hillsborough, County of (FL), Board of
 Gas Co., The                                     County Commissioners
 Gastonia, City of (NC)                       Hingham Municipal Lighting Plant
 Geneva, City of                              Hixson Utility District
 Georgia Natural Gas Co.                      Holland Board of Public Works
 Georgia Power Co.                            Holland Charter, Township of (MI)
 Gilbert, Town of (AZ)                        Honolulu, City & County of (HI)
 Glendale, City of (CA)                       Hope Gas
 Glendora, City of (CA)                       Hot Springs, City of (AK), Municipal
 Glenwood Springs, City of (CO)                   Utilities
 Golden State Water Co.                       Houston, City of (TX)
 Gordons Corner Water Co.                     Howard, County of
 Government Services Union                    HRSD
 Grand Chute Utilities                        Huber Heights, City of (OH)
 Grand Island, City of (NE), Utilities        Humble, City of (TX)
 Grand Traverse, County of (MI), Dept. of     Hummels Wharf Municipal Authority
     Public Works                             Huntsville, City of (AL), Utilities
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 Hurst, City of (TX), Utility Billing         Knoxville Utilities Board
 Hyannis Water System                         La Habra, City of (CA)
 Hydro One Networks Inc.                      La Plata Electric Association Inc.
 Hydro Ottawa                                 Lady Lake, Town of (FL)
 Idaho Power                                  Lafayette, City of
 Illuminating Co., The                        Lake Apopka Natural Gas District
 Imperial Irrigation District                 Lake Charles, City of (LA)
 Independence, City of (MO)                   Lake Worth, City of
 Indian River, County of (FL), Utilities      Lake, County of (OH), Department of
 Indiana American Water Co Inc.                  Utilities
 Indianapolis Water Co.                       Lake, County of (OH), Department Public
 Intermountain Gas Co.                           Works
 Iowa American Water                          Lakeland, City of (FL)
 Irving Energy                                Lakewood, City of
 Issaquah, City of (WA)                       Lakewood, City of (FL), Water District
 Ithaca, City of (NY)                         Lansing Board of Water & Light
 IVT Parke Cedar Park LLC                     Las Cruces, City of (NM)
 Jackson County Water & Sewerage              Lawton, City of (OK), Utility Services
     Authority                                LCEC
 Jackson EMC                                  Lee, County of (FL), Utilities
 Jackson Energy Authority                     Lenoir City Utilities Board
 Jackson, City of                             Leominster, City of (MA)
 Jacksonville, City of (FL)                   Lethbridge, City of (Alberta)
 JCP&L                                        Lewisville, City of (TX)
 JEA                                          Lexington Fayette Urban County
 Jersey Central Power & Light                    Government
 JLP Cranberry Equity LLC                     LG&E & KU Energy LLC
 Johnson City Utility System                  Liberty Utilites
 Johnson, County of (KS), Wastewater          Liberty Utilities
 Johnson, County of (KS), Water District 1    Liberty Utilities Co.
 Joliet, City of (IL)                         Liberty Utilities Georgia
 Joplin, City of (MO)                         Liberty Utilities New Hampshire
 Jordan Tax Service Inc.                      Liberty Utilities New York
 Jupiter Town of (FL)                         Lincoln Electric System
 Kalispell, City of (MT)                      Livingston, Town of (NJ)
 Kamloops, City of (British Columbia)         Logan, Township of
 Kansas Gas Service                           London Hydro
 KCP&L                                        Longmont, City of (CO)
 Keizer, City of (OR)                         Longview, City of (WA)
 Kennewick, City of (WA)                      Los Angeles, City of (CA), Department of
 Kentucky American Water                         Water & Power
 Kissimmee Utility Authority                  Los Angeles, County of (CA)
 Kitchener Wilmot Hydro Inc.                  Loudoun Water
 Kitchener, Corporation of the City of        Louisville Gas & Electric
     (Ontario)                                Louisville Water Co.
 Kitsap, County of (WA), Public Works         Loveland, City of (CO)
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 Lubbock, City of (TX)                      Missoula, City of (MT)
 Luma Energy                                Missouri American Water
 LUS                                        Modesto Irrigation District
 Lynchburg, City of (VA), Utility Billing   Monarch Utilities
 Lynnwood, City of (WA)                     Monongahela Power
 Madison Gas & Electric                     Monroe County Water Authority
 Madison Suburban Utility District          Monroe, City of
 Maine Natural Gas                          Monroeville Municipal Authority
 Manatee County Utilities Department        Monrovia, City of (CA)
 Manchester, Town of                        Montana Dakota Utilities Co.
 Mandeville, City of (LA)                   Montgomery Water Wrks & Sewer
 Manhattan, City of (KS)                    Moore, City of (OK)
 Manitoba Hydro                             Morehead City, Town of (NC)
 Mansfield, City of (TX)                    Morgantown Utility Board
 Maple Grove, City of (MN)                  Moscow, City of (ID)
 Marietta Power Water                       Moulton Niguel Water
 Marin Municipal Water District             Mount Laurel MUA
 Marina Coast Water District                Mount Pleasant Waterworks
 Maritime Electric                          MTMSA
 Martin County Utilities                    Municipality of Bethel Park
 Maryland American Water                    Myrtle Beach, City of (FL)
 McKinney, City of (TX)                     Naperville, City of (IL)
 Medicine Hat, City of (Alberta)            Nashua Waste Water System
 Memphis Light Gas & Water Division         Nashville Electric Service
 Mequon, City of (WI)                       National Exemption Service
 Merchantville Pennsauken Water             National Fuel Gas Co.
 Meridian, City of                          National Grid
 Mesa, City of (AZ)                         NB Power
 Mesquite, City of (TX)                     New Jersey American Water
 Metro Water Services                       New London, City of
 Metropolitan Domestic Water Improvement    New Mexico Gas Co.
    District (AZ)                           New York City, City of (NY), Water Board
 Metropolitan St. Louis Sewer District      New York State Electric & Gas Corp.
 Metropolitan Utilities District            Newburgh, Town of (NY)
 Miami Dade Water Sewer Department          Newmarket Tay Power Distribution Ltd.
 Mid Carolina Electric Cooperative          Newport News Waterworks
 Midamerican Energy Co.                     Newport, City of
 Midamerican Energy Services                Newtown Artesian Water Co.
 Middle Tennessee Electric                  Nicor Gas
 Middlesex Water Co.                        Nipsco
 Midland, City of (MI), Water Department    NJ Natural Gas Co.
 Milford Sewer Department                   Noblesville, City of (IN), Utilities
 Milford Water Department                   Normal, Town of (IL)
 Mineola, Village of (NY)                   Norman, City of (OK)
 Minnesota Energy Resources                 North Attleborough Electric Department
 Mishawaka Utilities                        North Attleborough, Town of (MA)
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 North Brunswick, Township of (NJ)           Palmetto Electric Cooperative
 North Little Rock Electric                  Palmetto Utilities Inc.
 North Shore Gas                             Paramount Newco Realty LLC
 North Springs Improvement District          Paramus, Borough of (NJ)
 North Wales Water Authority                 Pasadena Water & Power
 Northeast Ohio Region Sewer District        Pasadena, City of (CA), Water Department
 Northglenn, City of (CO)                    Passaic Valley Water Commission
 Northville Township Water Department        Pearl River Valley EPA
 Northwestern Energy                         Peco Energy
 Northwestern Water & Sewer District         Peco Payment Processing
 Nova Scotia Power Inc.                      Pedernales Electric Cooperative Inc.
 Novec                                       Peel, Regional Municipality of (Ontario)
 Novi, City of (MI)                          Pembroke Pines, City of (FL)
 NV Energy                                   Penn Power
 NW Natural                                  Pennichuck Water
 Oakville Hydro                              Pennsylvania American Water
 Ocala, City of (FL)                         Pennsylvania Electric Co.
 Oceanside, City of (CA)                     Peoples
 Oconee County Water Resources               Peoples Gas
 O’Fallon, City of (MO)                      Peoria, City of (IL)
 OGE                                         Pepco
 Ohio Edison                                 Perrysburg, City of (OH)
 Okaloosa Gas District                       Petoskey, City of (MI)
 Oklahoma Electric Cooperative Inc.          PG&E
 Oklahoma Natural Gas                        PGE
 Oklahoma, City of (OK)                      Pharr, City of (TX)
 Olivenhain Municipal Water District         Phoenix, City of (AZ)
 Olympia, City of (WA)                       Piedmont Natural Gas
 Omaha Public Power District                 Pierce, County of (WA), Sewer
 Opelika Power Services                      Pinellas, County of (FL), Utilities
 Opelika Utilities                           Pittsfield, City of (MA)
 Orange & Rockland                           Plano, City of (TX)
 Orange County Water Resource                Plattsburgh, Town of (NY), Water & Sewer
     Commission                              Plymouth, Town of (MA)
 Orange, City of (FL), Utilities             PNM Resources Inc.
 Orem, City of (UT)                          Port Arthur, City of (TX)
 Orlando Utilities Commission                Portage, City of (IN)
 Osage Beach, City of (MO)                   Portland General Electric Co.
 Ottawa, City of (Ontario)                   Portsmouth, City of (VA)
 Pacific Gas & Electric Co.                  Potomac Edison Co., The
 Pacific Power                               PowerStream Energy Services
 Padre Dam Municipal Water District          PP&L Inc.
 Paducah Power System                        PPL Electric Utilities Corp.
 Paducah Water                               PPL Utilities
 Palm Beach, County of (FL), Water Utility   Prince William County Service Authority
     Department                                  Inc.
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 Promenade Delaware LLC                      Sacramento Municipal Utility District
 PSE&G Co.                                   Sacramento, County of (CA), Utilities
 PSEG Long Island LLC                        Saginaw Charter Township Water
 PSNC Energy                                     Department
 Public Service Co. of North Carolina        Salem, Town of (NH)
 Public Service Co. Of Oklahoma              Salt Lake City, City of (UT), Public Utilities
 Public Utility District 1 Skagit Co.        San Antonio Water System
 Pueblo Board of Waterworks                  San Diego Gas & Electric Co.
 Puget Sound Energy Inc.                     San Dieguito Water District
 Puyallup, City of (WA)                      San Luis Obispo, City of (CA)
 Queen Creek, Town of (AZ)                   San Marcos, City of (TX)
 Quincy, City of (IL)                        Sandpiper Energy Inc.
 Raleigh, City of (NC)                       Sandy, City of (UT)
 Ramsey Board of Public Works                Santa Clara, City of (CA)
 Rancho California Water District (CA)       Santa Cruz, City of (CA), Municipal
 Rapid City, City of (SD), Utility Billing       Utilities
    Office                                   Santa Fe, City of (NM)
 Raynham Center Water District               Santa Margarita Water District
 Realpage Utility Management Inc.            Santa Rosa, City of (CA)
 Red Deer, City of (Alberta)                 Santee Cooper
 Redding, City of (CA)                       Sarasota, County of (FL), Public Utilities
 Redlands, City of (CA)                      Saskatoon, City of (Saskatchewan)
 Redwood City, City of (CA)                  SaskEnergy
 Regina, City of (Saskatchewan)              SaskPower
 Rehoboth Beach, City of (DE)                Savannah, City of (GA)
 Reno, City of (NV), Utilities Department    Sawnee Electric Membership Foundation
 Rhode Island Energy                             Inc.
 Rib Mountain Sanitary District              SCE&G
 Richmond, City of (VA)                      Schaumburg, Village of (IL)
 Riverside Public Utilities                  Schererville, Town of (IN)
 Riviera Utilities                           Seacoast Utility Authority
 Roanoke Gas Co.                             Seal Beach, City of (CA)
 Rochester Gas & Electric Corp.              Seattle, City of (WA)
 Rochester Hills, City of (MI), Water &      Sebring, City of (FL)
    Sewer                                    SECO Energy Corp.
 Rochester Public Utilities                  Selma, City of (CA)
 Rockaway Township Municipal Utility         SEMCO ENERGY Gas Co.
 Rockland Electric Co.                       Shenandoah Valley Electric Cooperative
 Rockwall, City of (TX)                          Inc.
 Rocky Mountain Power Inc.                   Sherman, City of (TX)
 Rosemont Commons Delaware LLC               Shreveport, City of (LA)
 Roseville, City of (CA)                     Silverdale Water District
 Roseville, City of (CA), Water Department   Sioux City (IA)
 Round Rock, City of (TX)                    Sioux Falls Utilities
 Rutland, City of (VT)                       Skokie, Village of (IL)
 Sacramento Municipal Utilities District     Snohomish County Public Utility District
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 Socalgas                                    Tacoma, City of (WA), City Treasurer
 Somerville, City of (MA)                    Tallahassee, City of (FL)
 South Carolina Electric & Gas               Tampa Electric Co.
 South Jersey Gas Co.                        Taunton Municipal Lighting Plant
 Southaven, City of (MS)                     Taylor, City of (MI), Water Department
 Southeast Gas                               TECO Energy Inc.
 Southern California Edison Co.              Teco Peoples Gas
 Southern California Gas Co.                 Temple, City of (TX)
 Southern Connecticut Gas Co., The           TEMUA
 Southern Maryland Electric Cooperative      Tennessee American Water Co.
     Inc.                                    Terrebonne Parish Consolidated
 Southington, Town of (CT)                       Government
 Southington, Town of (CT), Water            Texarkana Water Utilities
     Department, Board of Water              Texas Gas Service Co. Inc.
     Commissioners                           Think Utility Services Inc.
 Southlake, City of (TX), Water Utilities    Thornton, City of (CO)
 Southwest Gas Holdings Inc.                 Thoroughbred Village
 Southwestern Electric Power Co.             Tigard, City of (OR)
 Sparks, City of (NV)                        Toho Water Authority
 Spartanburg Water System                    Toledo Edison Co., The
 Spire Inc.                                  Toledo, City of (OH), Department of Public
 Spotsylvania, County of (VA), Treasurer         Utilities
 Spring, Town of (PA)                        Tombigbee Electric Power Association
 Springfield, City of (MO), Utilities        TOMSA
 SRLLC SG Fort Collins LLC                   Topeka, City Of (KS)
 SRP                                         Toronto Hydro Electric System Ltd.
 St. Johns, County of (FL), Utility          Torranc, City of (CA), Utilities
     Department                              Totowa, Borough of (NJ)
 St. Mary’s County Metropolitan              Tri-county Electric Cooperative Inc.
     Commission                              Troy, City of (MI), Water
 St. Petersburg, City of (FL)                Truckee Meadows Water Authority
 Standard Waste Services                     Tucson Electric Power Co.
 Stark, County of (OH), Metropolitan Sewer   Tucson, City of (AZ), Utility Lockbox
     District                                Tukwila, City of (WA)
 Sterling Heights, City of (MI), Water       Tulsa, City of (OK), Utilities
 Strathcona, County of (Alberta)             Tupelo, City of (MS), Water & Light
 Suffolk County Water Authority Inc.         Tuscaloosa, City of (AL), Water Sewer
 Summit Natural Gas of Missouri Inc.         Twin Falls, City of (ID)
 Summit Township Sewer Authority             TXU Electric Co. Inc.
 Summit Township Water Authority             Tyler, City of (TX)
 Summit Utilities Arkansas Inc.              UGI Central Penn Gas Inc.
 Summit Utilities Oklahoma Inc.              UGI South
 Sunrise, City of (FL)                       UGI Utilities Inc.
 Superior Propane                            United Illuminating Co., The
 Surprise, City of (AZ)                      United Power Inc.
 Tacoma, City of (WA)                        United Water Delaware Inc.
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 Unitil Corp.                                     Wichita, City of (KS)
 UNS Gas Inc.                                     Wildwood, City of (FL), Water Utility
 Upland, City Of (CA)                             Williston, Town of (VT)
 Urstadt Biddle Properties Inc.                   Willowbrook, Village of (IL)
 Utilities Kingston                               Wilmette, Village of (IL)
 Valdosta, City of (CA)                           Wilson, City of (NC)
 Vallejo, City of (CA)                            Wilton, Town of (NY)
 Valparaiso City Utilities                        Winnipeg, City of (Manitoba)
 Vancouver, City of (WA), Utilities               Winston-Salem, City of (NC)
 Veolia Water Delaware                            Winter Garden, City of (FL)
 Veolia Water Idaho                               Wisconsin Public Service Corp.
 Veolia Water New Jersey                          Withlacoochee River Electric Cooperative
 Veolia Water New York                               Inc.
 Veolia Water Pennsylvania                        Woodbury, City of (MN)
 Versant Power                                    Woodlands Water Mud# Metro
 VGS                                              Wright Hennepin Cooperative Electric
 Victor, Town of (NY), Sewer District                Association
 Victoria, City of (TX), Utility Billing Office   WSSC Water
 Virginia Natural Gas Inc.                        Xcel Energy Inc.
 Visalia, City of (CA)                            Yorba Linda Water District
 Waco, City of (TC), Water Office
 Walker, City of (MI)
 Walla Walla, City of (WA)
 Walton Electric Membership Corp., The
 Ward 2 Water District
 Warner Robins, City of (GA), City Hall
 Washington Gas Light Co.
 Washington, City of (UT)
 Water Tower Square Associates
 Wayne, Township of
 We Energies
 Weatherford, City Of (Tx)
 Webster, City of (TX)
 Weir River Water System
 West Des Moines Water Works
 West Harris, County of (TX), Mud 5
 West Melbourne, City of (FL), City Hall
 West Penn Power Co.
 Western Allegheny, County of (PA),
     Municipal Authority
 Western Virginia Water Authority
 Westland, City of (MI), Water Billing
 Westminster, City of (CA)
 White Lake, Township of (MI), Water
     Department
 Wichita Falls, City of (TX)
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                                       SCHEDULE 2

                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                             Status
                                          Entity, that is a K&E Client
   Accenture LLP                       Accenture LLP                        Current
                                       Accenture plc                        Current
   Ace Property & Casualty Insurance   Chubb Bermuda Insurance Ltd.         Current
       Co.
   Chubb - Federal Insurance
   Federal Insurance Co.
   Acosta Inc.                         Acosta, Inc.                         Current
   Aden & Anais Inc.                   Aden & Anais, Inc.                   Closed
   Afa Protective Systems Inc.         Alex E. Washington                   Current
   St. George Distribution Corp.       Konrad A. Salaber                    Current
                                       Nathanael Brown                      Current
                                       Paul H. Peterson                     Current
                                       St. George Distribution Corp.        Current
                                       St. George Logistics                 Closed
                                       STG Holdings LLC                     Closed
                                       STG Logistics Inc.                   Current
                                       Wind Point Advisors LLC              Current
                                       Wind Point Partners                  Current
   AlixPartners LLP                    Ivanhoé Cambridge Inc.               Current
   AlixPartners LLP                    Caisse de dépôt et placement du      Current
                                           Québec
   Eastward Energy Inc.                Énergir, L.P.                        Current
   Green Mountain Power Corp.          Public Sector Pension Investment     Current
                                           Board
   AlixPartners LLP                    Rainier Management Limited           Closed
   AllianceBernstein LP                AB Commercial Real Estate Debt       Current
                                           Series 1-A
   AllianceBernstein LP (US)           AB Commercial Real Estate Debt       Current
                                           Series 1-B
                                       AB Commercial Real Estate Debt       Current
                                           Series 1-C
                                       AB Institutional Series B            Current
                                       AB Institutional Series C            Current
                                       AllianceBernstein L.P.               Current
                                       Brian Sugrue                         Closed




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      Name of Entity Searched                                              Status
                                         Entity, that is a K&E Client
  Allianz Global Risks US Insurance   Allianz Capital Partners GmbH        Closed
      Co.
                                      Pacific Investment Management        Current
                                         Company, LLC
  Alta Capital Management LLC         Guardian Capital Group Limited       Current
  American Greetings Corp.            American Greetings Corp.             Closed
                                      Andrew Campelli                      Current
                                      Brad Flaishans                       Current
                                      Clayton, Dubilier & Rice Fund X      Former
                                          LP
                                      Clayton, Dubilier & Rice LLC         Current
                                      Daniel Glaser                        Current
                                      David A. Novak                       Current
                                      Harsh Agarwal                        Current
                                      John Krenicki                        Former
                                      Kevin Smith                          Current
                                      Nathan Sleeper                       Current
                                      Richard Schnall                      Current
                                      Robert Volpe                         Current
                                      Roberto Quarta                       Current
                                      Russell Fradin                       Current
  Angelo Gordon                       Angelo Gordon Real Estate, Inc.      Current
                                      Angelo, Gordon & Co., L.P.           Closed
                                      Angelo, Gordon Europe LLP            Current
  Appriss Retail                      Appriss Inc.                         Current
                                      Insight Venture Management, LLC      Closed
  Ares Management Corp.               American Capital Equity              Current
                                          Management II, LLC
                                      American Tire Distributors           Current
                                          Holdings, Inc.
                                      AREG USCD Industrial Portfolio       Closed
                                          LLC
                                      Ares Acquisition Corporation         Current
                                      Ares Acquisition Corporation II      Current
                                      Ares Capital Corporation             Current
                                      Ares Capital Management LLC          Current
                                      Ares Commercial Real Estate          Current
                                          Corporation


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      Name of Entity Searched                                            Status
                                      Entity, that is a K&E Client
                                   Ares Corporate Opportunities Fund     Former
                                      V LP
                                   Ares Corporate Opportunities Fund     Former
                                      VI, L.P.
                                   Ares Energy Investors Fund V, L.P.    Closed
                                   Ares Energy Opportunities Fund LP     Former
                                   Ares European Real Estate Fund III,   Former
                                      L.P.
                                   Ares Management Corp.                 Current
                                   Ares Management Limited               Current
                                   Ares Management LLC and its           Current
                                      affiliated funds
                                   Ares Private Markets Fund             Current
                                   Ares Special Opportunities Fund LP    Current
                                   Ares SSG Capital Management Ltd.      Current
                                   Ares Strategic Income Fund            Current
                                   Ares US Real Estate Fund X, L.P.      Current
                                   Ares US Real Estate Opportunity       Current
                                      Fund II, L.P.
                                   Ares US Real Estate Opportunity       Current
                                      Fund III, L.P.
                                   Ares US Real Estate Opportunity       Closed
                                      Parallel Fund III-A, LP
                                   Landmark Equity Advisors, LLC         Current
  Argonaut Insurance Co.           Argo Group International Holdings,    Closed
                                      Ltd.
  Artsana USA Inc.                 Investindustrial Acquisition Corp.    Current
                                   Investindustrial Industries S.A.      Current
  Authentic Brands Group Inc.      Authentic Brands LLC                  Current
                                   Black Rifle Coffee Company LLC        Current
  Avalara                          Adrian R. Alonso                      Current
  Transaction Tax Resources Inc.   Avalara, Inc.                         Current
                                   Cheryl Cecchini Leahy                 Current
                                   Christian B. Sowul                    Current
                                   David A. Breach                       Current
                                   Fund II Foundation                    Current
                                   Greg Myers                            Former
                                   James Morrill Ford                    Former

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                                          Entity, that is a K&E Client
                                       James P. Hickey                      Current
                                       Joshua Niedner                       Former
                                       Justin Cho                           Former
                                       Martin Taylor                        Current
                                       Michael Fosnaugh                     Current
                                       Monti Saroya                         Former
                                       Nadeem Syed                          Former
                                       Nicholas J. Prickel                  Former
                                       Nicolas Stahl                        Current
                                       Rod M. Aliabadi                      Former
                                       Sam C. Payton                        Current
                                       Smith, Robert F.                     Current
                                       Stephen Seelbach                     Former
                                       Syed, Nadeem                         Current
                                       Vincent L. Burkett                   Former
                                       Vista Consulting Group, Inc.         Current
                                       Vista Equity Partners                Current
  Bank of America Merrill Lynch        Banc of America Securities LLC       Current
     Proprietary Trading
  Bank of America NA                   Bank of America Corporation          Current
                                       Bank of America Merrill Lynch        Closed
                                       Bank of America Securities Ltd.      Former
                                       Bank of America, N.A.                Closed
                                       Benjamin Klein                       Current
                                       BofA Securities Inc.                 Current
                                       Graham Mandl                         Current
                                       Merrill Lynch (Asia Pacific)         Closed
                                          Limited
  Bank of Montreal                     BMO Capital Markets                  Current
  Barclays Capital Inc.                Barclays Capital Inc.                Current
                                       Barclays Securities Inc.             Current
  BB&T                                 Alexander C. Berghorst               Current
                                       BB&T Corp.                           Former
                                       BB&T Insurance Holdings, Inc.        Current
                                       SunTrust Banks, Inc.                 Former
                                       Truist Financial Corporation         Current
  Berkley Assurance Co.                W.R. Berkley Corporation             Closed



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                                           Entity, that is a K&E Client
  Berkshire Hathaway Specialty          Berkshire Hathaway Inc.               Current
     Insurance Co.
  Pacific Power                         BHE Renewables, LLC                   Current
                                        BHER Power Resources Inc.             Current
                                        Brilliant National Services, Inc.     Current
                                        FlightSafety International Inc.       Current
  BGE                                   Commonwealth Edison Co.               Closed
  ComED
  Delmarva Power
  Peco Energy
  Peco Payment Processing
  Pepco
  BlackRock Advisors LLC                BlackRock Investment Management       Current
                                            (UK) Limited
  BlackRock Inc.                        BlackRock TCP Capital Corp.           Former
                                            Designated Underwriters
                                            Counsel
                                        BlackRock, Inc.                       Current
                                        Mark B. Florian                       Current
  Blackstone Liquid Credit Strategies   Bilal Khan                            Current
     LLC
  GSO Capital Partners LP               Blackstone Advisors India Pvt. Ltd.   Current
  Napier Park Global Capital (US) LP    Blackstone Alternative Asset          Closed
                                           Management LP
                                        Blackstone Alternative Credit         Current
                                           Advisors LP
                                        Blackstone Alternative Solutions      Closed
                                           LLC
                                        Blackstone Asia                       Current
                                        Blackstone CQP Holdco LP              Closed
                                        Blackstone Energy Partners            Former
                                        Blackstone Family Real Estate         Closed
                                           Partnership (Offshore) VIISMD
                                           L.P.
                                        Blackstone Family Real Estate         Closed
                                           Partnership Europe IV-SMD
                                           L.P.
                                        Blackstone Group International        Closed
                                           Partners LLP, The
                                        Blackstone Growth LP                  Current

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                                    Entity, that is a K&E Client
                                 Blackstone Inc.                      Current
                                 Blackstone Infrastructure Partners   Current
                                    LP
                                 Blackstone ISG-I Advisors LLC        Closed
                                 Blackstone ISG-II Advisors LLC       Closed
                                 Blackstone Life Sciences Advisors    Current
                                    LLC
                                 Blackstone Management Partners       Current
                                    LLC
                                 Blackstone Mortgage Trust Inc.       Current
                                 Blackstone Property Partners         Current
                                    Europe Holdings SARL
                                 Blackstone Property Partners LP      Current
                                 Blackstone Real Estate Advisors      Closed
                                 Blackstone Real Estate Advisors LP   Closed
                                 Blackstone Real Estate Holdings      Closed
                                    (Offshore) VII-NQ L.P.
                                 Blackstone Real Estate Holdings       Closed
                                    (Offshore) Vll-NQ - ESC L.P.
                                 Blackstone Real Estate Holdings       Closed
                                    Europe IV-NQ ESC L.P.
                                 Blackstone Real Estate Investment    Current
                                    Trust
                                 Blackstone Real Estate Partners      Current
                                 Blackstone Real Estate Partners      Closed
                                    (Offshore) Vll.F-NQ L.P.
                                 Blackstone Real Estate Partners       Closed
                                    (Offshore) Vll.TE.1-8-NQ L.P.
                                 Blackstone Real Estate Partners       Closed
                                    (Offshore) Vll-NQ L.P.
                                 Blackstone Real Estate Partners       Closed
                                    Europe IV-NQ L.P.
                                 Blackstone Real Estate Partners      Current
                                    Europe VII
                                 Blackstone Real Estate Partners       Closed
                                    Limited
                                 Blackstone Real Estate Special        Closed
                                    Situations Advisors LLC
                                 Blackstone Singapore Pte. Ltd.       Current

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                                          Entity, that is a K&E Client
                                      Blackstone Strategic Capital         Current
                                          Holdings LP
                                      Blackstone Strategic Opportunity     Current
                                          Fund
                                      Blackstone Strategic Partners        Former
                                      Blackstone Tactical Opportunities    Current
                                          Advisors LLC
                                      Blackstone Tactical Opportunities    Current
                                          Fund LP
                                      David I. Foley                       Current
                                      Edwin H. May                         Former
                                      GSO Capital Partners                 Closed
                                      GSO Capital Partners LP              Closed
                                      John-Paul Munfa                      Former
                                      Kush Patel                           Current
                                      Prakash A. Melwani                   Current
                                      Strategic Partners Fund Solutions    Current
                                      The Blackstone Group International   Current
                                          Partners LLP
                                      Vikram Suresh                        Current
  Blue Torch Capital LP               Blue Torch Capital LP                Closed
  BlueCrest Capital Management        Bluecrest Capital Management         Current
     (U.K.) LLP                           (New York) LP
  BNP Paribas Asset Management        BNP Paribas Securities (Asia) Ltd.   Closed
     France
  BNP Paribas Securities Corp.
  BRE/Pearlridge LLC                  Washington Prime Group Inc.          Current
  Empire East LLC
  Forest Plaza LLC
  Lakeline Plaza LLC
  Rockaway Town Court LLC
  Southgate Mall Montana II LLC
  Waterford Lakes Town Center LLC
  BV Waco Central Texas               Ball Ventures LLC                    Current
     Marketplace LLC
  Carillon Tower Advisers Inc.        Raymond James & Associates, Inc.     Current
  Chartwell Investment Partners LLC
  SumRidge Partners LLC


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                                           Entity, that is a K&E Client
  Carrier Corp.                        Carrier Corp.                            Closed
                                       Carrier Global Corp.                     Current
  Centerbridge Partners LP             Centerbridge Partners Europe LLP         Former
                                       Centerbridge Partners LP                 Current
                                       Jeff Aronson                             Current
  Centerpoint Energy                   CenterPoint Energy, Inc.                 Current
  Centric Software Inc.                Dassault Systemes International          Current
                                           SAS
                                       Dassault Systèmes SE                     Current
  Cerberus Capital Management LP       Cerberus Capital Management LP           Current
                                       Cerberus European Investments            Closed
                                           LLC
                                       Cerberus Global NPL Associates           Current
                                           LLC
                                       Cerberus Global NPL Fund LP              Current
                                       Cerberus Institutional Associates III,   Current
                                           Ltd.
                                       Cerberus Institutional Partners VI       Current
                                           LP
                                       Cerberus Security and Technology         Current
                                           Acquisition Corp.
                                       Cerberus Security and Technology         Current
                                           Holdings LLC
                                       Cerberus Telecom Acquisition             Current
                                           Corp. II
                                       Cerberus Telecom Acquisition II          Current
                                           Holdings LLC
  CIGNA Investments Inc.               Cigna Behavioral Health, Inc.            Closed
                                       Cigna Corporation                        Closed
                                       Cigna Health and Life Insurance Co.      Closed
                                       Cigna Health Corporation                 Closed
                                       CIGNA Insurance Co.                      Closed
  Cisco Systems Capital Corp.          Cisco Consumer Products LLC              Closed
                                       Cisco Systems, Inc.                      Current
                                       Cisco-Linksys LLC                        Closed
  Citigroup Global Markets Inc.        Citigroup Global Markets Asia            Current
                                           Limited
  Citigroup Inc.                       Citigroup Global Markets Europe          Closed
                                           AG
                                       Citigroup Global Markets Inc.            Current

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                                       Entity, that is a K&E Client
                                   Citigroup Inc.                       Current
  Cleco Power LLC                  Cleco Corporate Holdings LLC         Current
  Cole Schotz PC                   Cole Schotz P.C.                     Closed
  Commerce Hub                     Commerce Hub BV                      Current
                                   Commerce Technologies LLC            Current
  Commerce Technologies LLC        Anna May L. Trala                    Current
                                   Ashwin Krishnan                      Current
                                   Benjamin J. Daverman                 Current
                                   Christian B. McGrath                 Former
                                   Constantine S. Mihas                 Current
                                   Craig A. Bondy                       Current
                                   GTCR Investment Holdings             Current
                                       (Blocked) LP
                                   GTCR Investment Holdings             Current
                                       (Unblocked) LP
                                   GTCR LLC                             Current
                                   GTCR Management Holdings LP          Current
                                   GTCR-Ultra Holdings LLC              Current
                                   GTCR-Ultra Intermediate Holdings,    Current
                                       Inc.
                                   James E. Bonetti                     Current
                                   Kalen J. McConnell                   Current
                                   Mark M. Anderson                     Current
                                   Michael S. Hollander                 Former
                                   Sean L. Cunningham                   Current
  Continental Insurance Co.        Continental Casualty Company         Current
                                   Kevin Leidwinger                     Former
  CSC Generation Inc.              CSC Generation Holdings, Inc.        Current
  Cuisinart Inc.                   American Securities LLC              Current
  Data Networks                    Arctic Slope Regional Corporation    Current
  Datapipe Inc.                    AEPF III 34 S.à r.l.                 Closed
  MidCap Financial LLC             Apollo Capital Management, L.P.      Current
  Rackspace Hosting Inc.           Apollo EquityCo L.P.                 Current
                                   Apollo Global Management, Inc.       Current
                                   Apollo Management International      Current
                                       LLP
                                   Apterra Infrastructure Capital       Current
                                   Marc Rowan                           Current

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                                      Entity, that is a K&E Client
  Davaco Inc.                      Crane Worldwide Logistics LLC        Current
  DBX Advisors LLC                 DBX Inc.                             Current
  Deutsche Bank Securities Inc.    Deutsche Bank & Trust Co.            Current
  RPT Terra Nova Plaza LLC         Deutsche Bank AG                     Current
  RREEF America REIT II Corp. MM Deutsche Bank AG, New York             Current
                                      Branch
                                   Deutsche Bank Americas Holding       Current
                                      Corp.
                                   Deutsche Bank Securities Inc.        Current
                                   DWS S.R.L.                           Closed
                                   RREEF America LLC                    Current
  Deloitte                         Deloitte Consulting LLP              Current
  Deloitte Consulting LLP          Deloitte LLP                         Current
                                   Deloitte Tax LLP                     Current
                                   Deloitte USA LLP                     Current
  Dentsu Group Inc.                Dentsu Group Inc.                    Current
  Direct Energy Business LLC       NRG Energy, Inc.                     Closed
  Direct Energy Regulated Services
  Dominion Energy Inc.             Dominion Energy Services, Inc.       Closed
  Dominion Energy Ohio Inc.
  Dominion Energy South Carolina
     Inc.
  Dominion Energy Virginia Inc.
  PSNC Energy
  Public Service Co. of North
     Carolina
  SCE&G
  South Carolina Electric & Gas
  DPEG Fountains LP                AYVAZ Holdings, LLC                  Closed
  DTE Energy Co.                   DTE Energy Company                   Current
  Dyson Inc.                       Dyson Technology Ltd.                Current
                                   Dyson, Inc.                          Current
  Edison BRMA001 LLC               Black Owl Managing LLC               Current
  Edison BRMA002 LLC               Blue Owl Capital UK Limited          Current
  Edison DENJ001 LLC               Blue Owl Capital, Inc.               Current
  Edison EHNJ001 LLC               Blue Owl Finance LLC                 Current
  Edison NNVA001 LLC               Blue Owl Strategic Solutions Fund    Current


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                                         Entity, that is a K&E Client
  Oak Street Investment Grade Net      Dyal Capital Partners                 Current
     Lease Fund Series 2021-1 LLC
  Oak Street Investment Grade Net      Dyal Capital Partners (A) III LP      Former
     Lease Fund Series 2021-2 LLC
                                       Dyal Financing Partners               Current
                                       Marc Zahr                             Current
                                       Oak Street Real Estate Capital, LLC   Current
                                       Owl Rock Capital Advisors LLC         Current
                                       Owl Rock Capital Corp.                Current
                                       Owl Rock Capital Group LLC            Current
                                       Owl Rock Capital Holdings LLC         Current
                                       Owl Rock Capital Partners LP          Current
                                       Owl Rock Technology Advisors          Closed
                                          LLC
  Enbridge                             Maple Power Ltd.                      Current
  Enbridge Gas Distribution Inc.
  Enbridge Gas Inc.
  Enstar Group Ltd.                    Eagle Point Income Company Inc.       Current
  Equity One (Florida Portfolio) LLC   James B. Cherry                       Current
  Equity One (Northeast Portfolio)     One Equity Partners                   Current
     LLC
  Equity One (Southeast Portfolio)     One Equity Partners VIII LP           Current
     LLC
                                       One Equity Partners VIII-A LP         Current
  Facebook Inc.                        Facebook Operations LLC               Current
                                       Facebook Payments, Inc.               Closed
                                       Facebook Services, Inc.               Closed
                                       Facebook Technologies LLC             Current
                                       Meta Platforms, Inc.                  Current
  Federal Heath Sign Co. LLC           Diane M. Hendricks Enterprises,       Former
                                          Inc.
  Florida City Gas                     NextEra Energy Capital Holdings       Current
                                          Inc.
  Gulf Power Co.                       NextEra Energy Constructors LLC       Former
                                       NextEra Energy Inc.                   Former
                                       NextEra Energy Marketing LLC          Former
                                       NextEra Energy Operating Services     Former
                                          LLC



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                                        Entity, that is a K&E Client
                                     NextEra Energy Project               Former
                                         Management LLC
                                     NextEra Energy Resources LLC         Current
                                     NextEra Energy Transmission Asset    Current
                                         Acquisition Holdings LLC
                                     NextEra Energy Transmission LLC      Current
                                     NextEra Energy Transmission          Former
                                         Southwest LLC
                                     NextEra Energy, Inc.                 Current
                                     NextEra Grid Holdings LLC            Current
  Flow Traders U.S. LLC              Flow Traders NV                      Current
  Fridababy LLC                      FridaBaby Holdings LLC               Former
                                     Fridababy LLC                        Former
                                     FridaBaby Ultimate Holdings, LLC     Former
  FTI Consulting Inc.                FTI Consulting Inc.                  Current
                                     John Howard Batchelor                Current
                                     Kenneth Fung                         Current
  Gas Co., The                       Hawaii Gas                           Current
  Socalgas
  Southern California Gas Co.
  TXU Electric Co. Inc.
  Goldman Sachs Asset Management     Goldman Sachs                        Current
     LP (US)
  Goldman Sachs Bank USA             Goldman Sachs & Co. LLC              Former
                                     Goldman Sachs (Asia) LLC             Current
                                     Goldman Sachs Asset Management       Current
                                        International Ltd.
                                     Goldman Sachs Bank Europe SE          Closed
                                     Goldman Sachs Group Inc., The
                                            Current
                                     Goldman Sachs Group, Merchant         Closed
                                        Banking Division
                                     Goldman Sachs International Bank     Former
                                     Goldman Sachs International Ltd.     Current
                                     Goldman Sachs PIA                    Closed
                                     Goldman Sachs Trust Company,         Current
                                        N.A.
  HGREIT Edmondson Road LLC          Hines                                Current


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                                      Entity, that is a K&E Client
                                   Hines Investment Management            Closed
                                      Holdings LP
  Highbridge Capital Management    Andrew Cohen                           Current
     LLC
  JPMorgan Chase & Co.             Highbridge Capital Management,         Current
                                       LLC
  JPMorgan Chase Bank NA           HighBridge Equity Partners LLC         Current
  JPMorgan Investment Management   J.P. Morgan AG                         Closed
     Inc.
  JPMorgan Securities LLC          J.P. Morgan Securities Asia Pacific    Former
                                       Limited
  Summit Natural Gas Of Missouri   J.P. Morgan Securities LLC             Current
     Inc.
  Summit Utilities Arkansas Inc.   JPMorgan Asset Management              Closed
                                       (Australia) Limited
  Summit Utilities Oklahoma Inc.   JPMorgan Asset Management              Current
                                       (Europe) SARL
                                   JPMorgan Asset Management (UK)         Current
                                       Ltd.
                                   JPMorgan Chase & Co.                   Closed
                                   JPMorgan Chase Bank NA                 Former
                                   JPMorgan Funds Limited                 Current
                                   JPMorgan Infrastructure                Current
                                       Investments Fund
                                   JPMorgan Investment Management         Current
                                       Inc. - Global Special Situations
                                   JPMorgan Investment Management         Current
                                       Inc. - Infrastructure Investment
                                       Group
                                   JPMorgan Investment Management         Current
                                       Inc. - Life Sciences Private
                                       Capital
                                   JPMorgan Securities LLC                Closed
                                   JPMorgan Ventures Energy               Closed
                                       Corporation
                                   Kerwin Clayton                         Former
                                   Summit Utilities Inc.                  Former
  Hilco Merchant Resources LLC     BP HH Holdings LLC                     Current
                                   Hilco Australia Pty Limited            Current
                                   Hilco Europe                           Current

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                                          Entity, that is a K&E Client
                                       Hilco Germany GmbH                    Current
                                       Hilco Global                          Closed
                                       Hilco Inc.                            Former
                                       Hilco Industrial LLC                  Closed
                                       Hilco IP Merchant Capital LLC         Former
                                       Hilco Monarch Investments VI LLC      Current
                                       Hilco Netherlands B.V.                Current
                                       Hilco Real Estate LLC                 Closed
                                       Hilco Receivables, LLC                Closed
                                       Hilco Redevelopment Holdings          Current
                                           LLC
                                       Hilco Trading LLC                     Current
                                       Hilco Vision, Inc.                    Current
  HSBC Bank PLC                        HSBC Global Services (UK)             Current
                                           Limited
                                       HSBC Holdings plc                     Closed
  IBM Corp. TR4                        IBM Corp.                             Current
                                       Red Hat, Inc.                         Current
  Imperial Irrigation District         Imperial Irrigation District          Closed
  Intelligrated Systems LLC            Honeywell ASASCO 2 LLC                Closed
                                       Honeywell ASASCO LLC                  Closed
                                       Honeywell Holdings International      Closed
                                           Inc.
                                       Honeywell International Inc.          Current
                                       UOP LLC                               Current
  International Speedway Square Ltd.   KRG Capital Fund IV (FF), L.P.        Current
                                       KRG Capital Fund IV (PA), L.P.        Current
                                       KRG Capital Fund IV, L.P.             Current
                                       KRG Capital Fund IV-A, L.P.           Current
                                       KRG Capital Partners, LLC             Current
  Invesco Advisers Inc.                Invesco Hong Kong Ltd.                Current
  Invesco Capital Management LLC       Invesco International Partnership     Closed
                                           Fund VI LP
                                       Invesco Private Capital, Inc.         Current
                                       Invesco Senior Secured                Former
                                           Management, Inc.
                                       Invesco U.S. Private Equity           Closed
                                           Partnership Fund VI LP


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                                          Entity, that is a K&E Client
                                       Invesco U.S. Venture Partnership      Closed
                                          Fund VI LP
  Keurig Green Mountain Inc.           Keurig Dr Pepper Inc.                 Current
  KitchenAid Portable Appliances       Whirlpool Corporation                 Current
  Whirlpool Corp.
  Knot Worldwide Inc., The             Brian Ruder                           Current
                                       Permira Advisers LLC                  Current
                                       Permira Advisers Ltd.                 Current
                                       Permira Credit Solutions III G.P.     Current
                                           Limited
                                       Permira Holdings Ltd.                 Current
                                       Ryan G. Lanpher                       Current
                                       Thomas Eggemeier                      Current
                                       Thomas Phillip Guinand                Former
  KPMG                                 KPMG (HK)                             Current
  KPMG LLP                             KPMG Auditores, S.L.                  Closed
                                       KPMG International Cooperative        Closed
                                       KPMG International Ltd.               Current
                                       KPMG International Services Ltd.      Current
                                       KPMG Law Firm                         Current
                                       KPMG LLP                              Current
                                       KPMG LLP (Canada)                     Current
                                       KPMG LLP (Singapore)                  Current
  Kroll Restructuring Administration   Duff & Phelps GmbH                    Closed
     LLC
                                       Duff & Phelps LLC                     Closed
                                       Further Global Capital                Current
                                          Management, L.P.
                                       Kroll Associates, Inc.                Current
                                       Kroll International (UK) Ltd          Current
                                       Kroll LLC                             Current
                                       Kroll Restructuring Administration    Current
                                          LLC
  Kroll Restructuring Administration   Duff & Phelps GmbH                    Closed
     LLC
  Rialto Capital Management LLC        Duff & Phelps LLC                     Closed
                                       Kroll Associates, Inc.                Current
                                       Kroll International (UK) Ltd          Current
                                       Kroll LLC                             Current

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                                        Entity, that is a K&E Client
                                     Kroll Restructuring Administration   Current
                                        LLC
                                     Stone Point Capital LLC              Current
  Lazard Ltd.                        Lazard, Freres & Co.                 Current
                                     The Edgewater Funds                  Current
  LG&E & KU Energy LLC               LG&E and KU Energy LLC               Current
  Louisville Gas & Electric
  PP&L Inc.
  PPL Electric Utilities Corp.
  PPL Utilities
  M3 Partners LP                     AF I Originator S.à r.l.             Closed
                                     Christopher J. Vallace               Current
                                     Don Suter                            Current
                                     Evergreen Real Estate Partners LLC   Closed
                                     Garret House                         Current
                                     Thomas D. Conway                     Former
  MacKay Shields LLC                 Apogem Capital LLC                   Current
                                     New York Life Insurance Company      Closed
  Marathon Asset Management Ltd.     Marathon Asset Management, LP        Current
  Mellon Investments Corp.           Alcentra Limited                     Former
  Michaels Stores Inc.               The Michaels Companies, Inc.         Former
  Monarch Utilities                  SouthWest Water Company              Former
  Morgan Stanley & Co. LLC           Metalmark Capital LLC                Closed
  SSB/Morgan Stanley                 Morgan Stanley                       Current
                                     Morgan Stanley Asia Limited          Current
                                     Morgan Stanley Infrastructure Inc.   Current
                                     Morgan Stanley Infrastructure        Current
                                        Partners
                                     Morgan Stanley Investment            Current
                                        Management Limited
                                     Morgan Stanley Real Estate           Current
                                        Investing
                                     Morgan, Stanley & Co.                Current
                                     Prime Property Fund                  Closed
  MUFG Union Bank NA                 Mitsubishi UFJ Financial Group,      Former
                                        Inc.
  US Bank                            MUFG Securities Americas Inc.        Current
                                     MUFG Union Bank, N.A.                Current


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                                         Entity, that is a K&E Client
  National Casualty Co.               Nationwide Mutual Insurance           Closed
                                         Company
  National Fuel Gas Co.               National Fuel Gas Company             Closed
                                      National Fuel Gas Midstream LLC       Closed
                                      Seneca Resources Company, LLC         Current
  Northern Trust Global Investments   50 South Capital Advisors, LLC        Current
     Ltd.
                                      Northern Trust Fiduciary              Current
                                         (Guernsey) Limited
                                      Northern Trust Fiduciary Services     Current
                                         (Guernsey) Ltd.
  Northwestern Mutual Investment      Northwestern Mutual Investment        Current
     Management Co. LLC                  Management Co. LLC
                                      Northwestern Mutual Investment        Current
                                         Services LLC
                                      Northwestern Mutual Wealth            Current
                                         Management Co.
                                      The Northwestern Mutual Life          Current
                                         Insurance Company
  Northwoods III (San Antonio) LLC    CIM Group LLC                         Closed
  NP Royal Ridge LLC                  MV Credit Partners LLP                Current
  NPMC Retail LLC                     CBRE Caledon Capital                  Closed
                                         Management
                                      CBRE Global Investors, Inc.           Closed
                                      CBRE SPA                              Current
                                      CBRE SpA Italy                        Current
                                      CBRE, Inc.                            Current
  NTT America Inc.                    NTT America, Inc.                     Former
  Old Republic Union Insurance Co.    Old Republic International Corp.      Current
                                      Old Republic National Title Holding   Current
                                         Co.
  Oppenheimer Asset Management        Oppenheimer & Co., Inc.               Current
     Inc.
  Oracle America Inc.                 Oracle America Inc.                   Closed
                                      Oracle Corporation                    Current
                                      Oracle International Corporation      Closed
  Pacific Gas & Electric Co.          Pacific Gas and Electric Company      Current
  PG&E

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                                        Entity, that is a K&E Client
  PGE
  PAPF Dimond LLC                    BTIG, LLC                             Current
  PAPF Redding LLC
  Perkins Coie LLP                   Stephanie I. Command                  Closed
  Ping Identity Corp.                Andrew M. Almeida                     Current
                                     Jennifer J. Alper                     Current
                                     Kenneth J. Virnig II                  Current
                                     Orlando Bravo                         Current
                                     Paul Holden Spaht, Jr.                Current
                                     Ping Identity Australia Pty. Ltd.     Current
                                     Ping Identity Australia Pty. Ltd.     Current
                                        New Zealand
                                     Ping Identity Canada, Inc.            Closed
                                     Ping Identity Corporation             Current
                                     Ping Identity France                  Current
                                     Ping Identity Holding Corp.           Current
                                     Ping Identity Holdings Corp.          Current
                                     Ping Identity Holdings GP LLC         Current
                                     Ping Identity Holdings LP             Current
                                     Ping Identity Intermediate Holdings   Current
                                        I LP
                                     Ping Identity Intermediate Holdings   Current
                                        II LP
                                     Ping Identity International, Inc.     Current
                                     Ping Identity Israel Ltd.             Current
                                     Ping Identity Parent GP LLC           Current
                                     Ping Identity Singapore Pte. Ltd.     Current
                                     Ping Identity UK Ltd.                 Current
                                     Ping Identity UK Ltd. Netherlands     Current
                                     Robert Sayle                          Current
                                     Scott Crabill                         Current
                                     Seth J. Boro                          Current
                                     Thoma Bravo Advantage                 Current
                                     Thoma Bravo Europe Fund, LP           Current
                                     Thoma Bravo Fund XII LP               Current
                                     Thoma Bravo Fund XIII LP              Closed
                                     Thoma Bravo Fund XV LP                Current
                                     Thoma Bravo Growth Fund LP            Closed

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                                       Entity, that is a K&E Client
                                    Thoma Bravo LLC                        Current
                                    Thoma Bravo LP                         Current
                                    Thoma Bravo Oasis Fund LP              Current
  Pinterest Inc.                    Bingbai Hou                            Former
  Pleasant Hill Crescent Drive      Seema Khanna                           Former
      Investors LLC
  UBS                               UBS AG, Board of Directors             Current
  UBS Securities LLC                UBS AG, Hong Kong Branch               Closed
                                    UBS AG, London Branch                  Current
                                    UBS Asset Management (Americas)        Current
                                       Inc.
                                    UBS Asset Management Funds             Current
                                       Limited
                                    UBS Business Solutions US LLC          Closed
                                    UBS Hedge Fund Solutions LLC           Current
                                    UBS International Infrastructure       Former
                                       Fund II (A) LP
                                    UBS International Infrastructure       Former
                                       Fund II (B) LP
                                    UBS International Infrastructure       Former
                                       Fund II (C) LP
                                    UBS Investment Bank                    Current
                                    UBS O'Connor LLC                       Current
                                    UBS Securities Hong Kong Ltd.          Closed
                                    UBS Securities LLC                     Current
                                    UBS Warburg                            Current
  PNC Bank NA                       SP Capital Partners LLC                Closed
                                    The PNC Financial Services Group,      Closed
                                       Inc.
  PRGX USA Inc.                     Ardian France SA                       Current
                                    Ardian Investment UK Limited           Closed
  PricewaterhouseCoopers            David Jonas                            Current
      International Ltd.
                                    PricewaterhouseCoopers LLP             Current
                                    PricewaterhouseCoopers LLP             Former
                                        Ontario
  PSE&G Co.                         Public Service Enterprise Group Inc.   Current
  PSEG Long Island LLC

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                                       Entity, that is a K&E Client
  Rainier Colony Place Acquisitions Rainier Partners Fund I, LP            Current
     LLC
  Rainier Summit Woods Acquisitions Rainier Partners Fund I-A LP           Current
     LLC
                                    Rainier Partners, LP                   Current
  Realpage Utility Management Inc.  RealPage Parent, LP                    Current
                                    RealPage Utility Management Inc.       Current
  Redwood Supply Chain Solutions    Joost F. Thesseling                    Current
                                    Timothy Hall                           Current
  Rialto Capital Management LLC     Stone Point Capital LLC                Current
  Russell Investment Management     Reverence Capital Partners LLC         Current
     LLC
                                    Reverence Capital Partners             Former
                                       Opportunities Fund II LP
  Russell Investment Management     TA Associates Management LP            Current
      LLC
  Safety National Casualty          HCC Insurance Holdings, Inc.           Current
  Safety National Casualty Corp.
  Safety Specialty Insurance Co.
  Safra Securities LLC              Safra National Bank of New York        Closed
                                    Safra Securities LLC                   Former
  Sailpoint Technologies Inc.       SailPoint Parent, LP                   Current
                                    SailPoint Technologies Canada, Inc.    Current
                                    SailPoint Technologies GmbH            Current
                                    SailPoint Technologies Holdings        Current
                                        Inc.
                                    SailPoint Technologies Inc.            Current
                                    SailPoint Technologies India Private   Current
                                        Ltd.
                                    SailPoint Technologies Intermediate    Current
                                        Holdings, LLC
                                    SailPoint Technologies Israel Ltd.     Current
                                    SailPoint Technologies Japan G.K.      Current
                                    SailPoint Technologies Korea           Current
                                    SailPoint Technologies Mexico,         Current
                                        S.A. de C.V
                                    SailPoint Technologies Netherlands,    Current
                                        BV
                                    SailPoint Technologies Pte Ltd.        Current

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                                        Entity, that is a K&E Client
                                     SailPoint Technologies SARL           Current
                                     SailPoint Technologies UK Ltd.        Current
                                     SailPoint Technologies United Arab    Current
                                         Emirates
  SAS Institute Inc.                 SAS Institute Inc.                    Current
  SEMCO ENERGY Gas Co.               WGL Holdings, Inc.                    Closed
  Washington Gas Light Co.
  SG Americas Securities LLC         Societe Generale Americas             Closed
  Shops at Summerlin South LP, The   Howard Hughes Corporation, The        Current
                                     Special Committee of the Board of     Current
                                        Directors of The Howard
                                        Hughes Corp.
  Shops of Tupelo LLC, The           BPR REIT Services LLC                 Current
  St. Cloud Rainbow Village LLC      Brookfield Asset Management Inc.      Former
  Superior Propane                   Brookfield Asset Management, LLC      Current
  Valley Hills Mall LLC              Brookfield Business Partners LP       Closed
                                     Brookfield Capital Partners Ltd.      Closed
                                     Brookfield Infrastructure Debt Fund   Current
                                         II LP
                                     Brookfield Properties Development     Current
                                         LLC
                                     Brookfield Renewable Partners LP      Current
                                     Brookfield Special Investments LLC    Current
                                     GFI Energy Group of Oaktree           Current
                                         Capital Management
                                     Jordon Kruse                          Current
                                     Matthew Wilson                        Current
                                     Oaktree Acquisition Corp.             Closed
                                     Oaktree Acquisition Corp. II          Current
                                     Oaktree ATI Investors LP              Current
                                     Oaktree Capital Management LP         Current
                                     Oaktree Lending Partners              Current
                                         Corporation
                                     Oaktree Maritime Finance Holdings     Closed
                                         XI Ltd.
                                     Oaktree Middle-Market Direct          Closed
                                         Lending Unlevered JPN-A 2017
                                         Fund, L.P


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                                        Entity, that is a K&E Client
                                    Oaktree Opportunities Fund XI        Current
                                        Feeder (Cayman) LP
                                    Oaktree Power Opportunities Fund     Current
                                        IV (Parallel) LP
                                    Oaktree Power Opportunities Fund     Current
                                        IV LP
                                    Oaktree Specialty Lending            Current
                                        Corporation
                                    Oaktree Strategic Credit             Closed
                                    Ronald N. Beck                       Former
  Silver Point Capital LP           Silver Point Capital                 Current
                                    Silver Point Capital LP              Current
  Squarepoint OPS LLC               Squarepoint Capital LLP              Current
  SREIT Palm Beach Lakes Blvd       JAWS Estates Capital, LLC            Current
     LLC
                                    SH Group Global IP Holdings LLC      Former
                                    SPT Infrastructure Finance, LLC      Current
                                    Starwood Capital Europe Advisers,    Former
                                        LLP
                                    Starwood Capital Global I LLC        Current
                                    Starwood Capital Group Global I      Current
                                        LLC
                                    Starwood Capital Group Global,       Current
                                        L.P.
                                    Starwood Capital Operations LLC      Current
                                    Starwood Distressed Opportunity      Current
                                        Fund IX Global LP
                                    Starwood Distressed Opportunity      Current
                                        Fund IX-1 International, L.P.
                                    Starwood Distressed Opportunity      Current
                                        Fund IX-1 U.S., L.P.
                                    Starwood Energy Group Global         Current
                                        LLC
                                    Starwood Energy Infrastructure Co-    Closed
                                        Invest Fund, L.P.
                                    Starwood Energy Infrastructure        Closed
                                        Fund, L.P.
                                    Starwood European Finance            Former
                                        Partners Ltd.

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                                         Entity, that is a K&E Client
                                      Starwood International Opportunity    Current
                                          Fund IX Investor L.P.
                                      Starwood Property Trust, Inc.         Closed
                                      Starwood U.S. Opportunity Fund IX     Current
                                          Investor L.P.
  Starr Surplus Lines Insurance Co.   Starr Principal Holdings, LLC         Closed
  State National Insurance Co. Inc.   Markel Corporation                    Closed
                                      Markel Ventures, Inc.                 Closed
  Stop & Shop Supermarket Co. LLC,    Koninklijke Ahold Delhaize N.V.       Current
     The
  SVAP II Creekwalk Village LLC       The Sterling Organization LLC         Current
  Sycamore Partners Management LP     Stefan Kaluzny                        Current
                                      Sycamore Partners Management,         Current
                                          L.P.
  Target Jefferson Boulevard LLC      Stephanie Lundquist                   Closed
                                      Target Corp.                          Current
  Tata Consultancy Services Ltd.      Tata Consultancy Services Ltd.        Current
  TD Bank NA                          TD Securities Inc.                    Current
  Toshiba GCS                         Toshiba Corp.                         Current
  TPP 207 Brookhill LLC               TriGate Capital, LLC                  Current
  TPP Bryant LLC                      TriGate Property Partners III, L.P.   Former
  Vanguard Group Inc., The            The Vanguard Group                    Current
  VeriFone Inc.                       Verifone Systems, Inc.                Current
  Verizon Business Network Services   Verizon Communications Inc.           Current
     Inc.
  Verizon Wireless Services LLC
  Wells Fargo                         Jon Kossow                            Former
                                      Norwest Equity Partners               Current
                                      Wells Fargo Asset Management          Current
                                         (International) Limited
                                      Wells Fargo Asset Management          Current
                                         Luxembourg S.A.
                                      Wells Fargo Bank, N.A.                Current
                                      Wells Fargo Securities LLC            Current
  Welspun USA Inc.                    Welspun Global Brands Limited         Current
                                      Welspun India Limited                 Current
  World Market of Texas LLC           Alexander Wolf                        Current

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                                    Entity, that is a K&E Client
                                 EF Hutton                            Current
                                 Kingswood Capital Management,        Current
                                    LLC
  Zemoga Inc.                    S4 Capital                           Current
  Zipline LLC                    Kinder Morgan Energy Partners LP     Closed
                                 Kinder Morgan, Inc.                  Closed




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                                   Exhibit C

                                Etlin Declaration
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 BED BATH & BEYOND INC., et al.,                              Case No. 23-13359 (VFP)

                                    Debtors. 1                (Jointly Administered)


             DECLARATION OF HOLLY ETLIN IN SUPPORT OF THE
        DEBTOR’S APPLICATION FOR THE ENTRY OF AN ORDER AUTHORIZING
        THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
     AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 23, 2023

          I, Holly Etlin, Chief Restructuring Officer and Chief Financial Officer, of Bed Bath &

 Beyond Inc. being duly sworn, state the following under penalty of perjury:

          1.     I am the Chief Restructuring Officer and Chief Financial Officer, of Bed Bath &

 Beyond Inc. located at 650 Liberty Avenue, Union, New Jersey 07083.

          2.     I submit this declaration (this “Declaration”) in support of the Debtors’ Application

 for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP as

 Attorneys for the Debtors and Debtors in Possession Effective as of April 23, 2023

 (the “Application”). 2 Except as otherwise noted, I have personal knowledge of the matters set

 forth herein.




 1   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
     Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
     Cases is 650 Liberty Avenue, Union, New Jersey 07083.
 2   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
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                                The Debtors’ Selection of Counsel

        3.      The Debtors recognize that a comprehensive review process is necessary when

 selecting and managing chapter 11 counsel to ensure that bankruptcy professionals are subject to

 the same client-driven market forces, scrutiny, and accountability as professionals in

 non-bankruptcy engagements.

        4.      The Debtors drew on their experience working with Kirkland in connection with

 an August 2022 refinancing of certain of the Debtors’ prepetition “first in, last-out” term loan

 facility and chose to continue working with Kirkland in these chapter 11 cases based on their

 positive experience in connection therewith.

        5.      Ultimately, the Debtors retained Kirkland because of its extensive experience in

 corporate reorganizations, both out-of-court and under chapter 11 of the Bankruptcy Code. More

 specifically, Kirkland is familiar with the Debtors’ business operations and many of the potential

 legal issues that may arise in the context of these chapter 11 cases. I believe that Kirkland is both

 well qualified and uniquely able to represent the Debtor in these chapter 11 cases in an efficient

 and timely manner.

                                           Rate Structure

        6.      In my capacity as Chief Restructuring Officer and Chief Financial Officer, I am

 responsible for supervising outside counsel retained by the Debtors in the ordinary course of

 business. Kirkland has informed the Debtors that its rates for bankruptcy representations are

 comparable to the rates Kirkland charges for non-bankruptcy representations. As discussed below,

 I am also responsible for reviewing the statements regularly submitted by Kirkland, and can

 confirm that the rates Kirkland charged the Debtors in the prepetition period are the same as the

 rates Kirkland will charge the Debtors in the postpetition period.


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                                               Cost Supervision

         7.     Pursuant to the DIP Order, 3 professionals proposed to be retained by the Debtors are

 required to provide weekly estimates of fees and expenses incurred in these chapter 11 cases. As

 a retained professional, Kirkland will be subject to those reporting requirements. Moreover, the

 Debtors and Kirkland recognize that in the course of a large chapter 11 case like these chapter 11

 cases, it is possible that there may be a number of unforeseen fees and expenses that will need to

 be addressed by the Debtors and Kirkland.                The Debtors further recognize that it is their

 responsibility to monitor closely the billing practices of their counsel to ensure the fees and

 expenses paid by the estate remain consistent with the Debtors’ expectations and the exigencies of

 the chapter 11 cases. The Debtors will continue to review the statements that Kirkland regularly

 submits.

         8.       As they did prepetition, the Debtors will continue to bring discipline, predictability,

 client involvement, and accountability to the counsel fees and expenses reimbursement process.

 While every chapter 11 case is unique, these budgets will provide guidance on the periods of time

 involved the level of the attorneys and professionals that will work on various matters, and

 projections of average hourly rates for the attorneys and professionals for various matters.



                                    [Remainder of Page Intentionally Left Blank]




 3   “DIP Order” means the Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and
     (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Granting
     Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting
     Related Relief [Docket No. 76].


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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.

  Dated: May 20, 2023                                Respectfully submitted,

                                                  /s/ Holly Etlin
                                                 Name: Holly Etlin
                                                 Title: Chief Restructuring Officer and Chief
                                                 Financial Officer




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